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                                   AND CORRESPONDENTS
                                   OFFSHORE P&I RULES
                                                        THE STANDARD STEAMSHIP OWNERS’ PROTECTION
                                                        & INDEMNITY ASSOCIATION (BERMUDA) LIMITED




                                   11/12
                                                        OFFSHORE P&I RULES
                                                        AND CORRESPONDENTS


                                                                       11/12
W W W.STANDARD-CLUB.COM
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                                           The Standard

             Offshore P&I rules
             for the 2011/12 policy year
             of
             The Standard Steamship Owners’ Protection and Indemnity
             Association (Bermuda) Limited
             and

             The Standard Steamship Owners’ Protection and Indemnity
             Association (Europe) Limited
             Managers
             Charles Taylor & Co. (Bermuda)
             Burnaby Building, 16 Burnaby Street, Hamilton, Bermuda,
             PO Box 1743 HMGX
             Telephone: +1 441 292 7655

             Managers’ London agents
             Charles Taylor & Co. Limited
             Standard House, 12/13 Essex Street, London WC2R 3AA,
             United Kingdom
             Telephone: +44 20 3320 8888
             e: p&i.london@ctcplc.com

             and

             The Standard Steamship Owners’ Protection and Indemnity
             Association (Asia) Limited
             Managers
             Charles Taylor Mutual Management (Asia) Pte. Limited
             140 Cecil Street, #15-00 PIL Building
             Singapore 069540
             Telephone: +65 6506 2896
             e: p&i.singapore@ctcplc.com

             Website: www.standard-club.com
             e: ﬁrstname.lastname@ctcplc.com
             Emergency telephone: +44 7932 113573



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   RULES AND CORRESPONDENTS




   01
          The Standard Steamship Owners’ Protection
          and Indemnity Association (Bermuda) Limited
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         01 The Standard Steamship Owners’ Protection
            and Indemnity Association (Bermuda) Limited
                                                                                                 01


             Directors
             R Menendez Ross, Argentina            B Harinsuit, Thailand
             President and Chairman                The Harinsuit Transport Co Ltd
             Ultrapetrol SA
                                                   E L Johnsen, United States
             The Hon. Sir John W Swan              International Shipholding Corporation
             KBE JP, Bermuda
             Vice-President                        D C C Koo, Hong Kong
                                                   Valles Steamship Co Ltd
             R M Jones, United States
             Deputy Chairman
                                                   A Martinos, Greece
                                                   Minerva Marine Inc
             CSL Group Inc

             C Peraticos, Greece                   J B Rae-Smith, Hong Kong
                                                   Swire Paciﬁc Offshore Ltd
             Deputy Chairman
             Pleiades Shipping Agents SA           J F Reinhart, United States
             N Aksoy, Turkey                       Maersk Line Limited
             Akmar Holding SA                      S S Teo, Singapore
             A Bensler, Canada                     Paciﬁc International Lines (Pte) Ltd
             Teekay Shipping                       W D Thomson, Bermuda
             G Bozzini, Italy                      A J Groom, United Kingdom
             Saipem SpA                            Manager
             R Clarke, Canada                      J S M Rowe, United Kingdom
             British Columbia Ferry Services Inc   Manager
             P Clerici, Italy
             Coeclerici SpA

             M J Cox,
             Maston Navigation Co. Inc.

             L D’Amato, Italy
             Fratelli D’Amato SpA

             C d’Amico, Italy
             D’Amico Societa di Navigazione SpA

             J N Das, India
             The Shipping Corporation of India




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             The Standard Steamship Owners’ Protection
             and Indemnity Association (Europe) Limited



             Directors
             R Menendez Ross, Argentina             A J Groom, United Kingdom
             Chairman                               Manager
             Ultrapetrol SA
                                                    J S M Rowe, United Kingdom
             R M Jones, United States               Manager
             Deputy Chairman
             CSL Group Inc




             The Standard Steamship Owners’ Protection
             and Indemnity Association (Asia) Limited


             Directors
             S S Teo, Singapore                     R M Jones, United States
             Chairman                               Deputy Chairman
             Paciﬁc International Lines (Pte) Ltd   CSL Group Inc

             B Harinsuit, Thailand                  D C C Koo, Hong Kong
             Harinsuit Transport Co. Ltd            Valles Steamship Co Ltd

                                                    R Menendez Ross, Argentina
                                                    Ultrapetrol SA




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   RULES AND CORRESPONDENTS




   02
          The managers’ London agents
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             02 The managers’ London agents


             Charles Taylor & Co. Limited

             John Rowe – Chairman                        o: +44 20 3320 2200
                                                         m: +44 7917 688435
             Alistair Groom – Chief Executive            o: +44 20 3320 8899
                                                         h. +44 1725 519204
                                                         m: +44 7932 113584
                                                                                   02
             Jeremy Grose – Chief Operating Ofﬁcer       o: +44 20 3320 8835
                                                         h: +44 20 8463 9264
                                                         m: +44 7932 113594
             Claims & Legal
             Brian Glover – Director of Claims           o: +44 20 3320 8823
                                                         h: +44 20 8549 8399
                                                         m: +44 7932 113575
             Kieron Moore – Legal Director               o: +44 20 3320 8855
                                                         m: +44 7712 871313
             James Cross – Claims Services Director      o: +44 20 3320 8801
                                                         h: +44 1634 724391
                                                         m: +44 7785 792861
             Andrew Charlton – Director, Occupational    o: +44 20 3320 8818
             Diseases                                    h: +44 1474 744037
                                                         m: +44 7932 113578
             Underwriting & Reinsurance
             John Reily – Director of Underwriting       o: +44 20 3320 8838
                                                         h: +44 1708 445 961
                                                         m: +44 7712 865750
             Stuart Capewell – Director of Reinsurance   o: +44 20 3320 8849
             and Management Services                     m: +44 7981 362254
             Andy Cunningham – Reinsurance Operations o: +44 20 3320 8808
             Manager                                  m: +44 7827 302445

             Business development & Marketing
             Robert Drummond – Business Development      o: +44 20 3220 8942
             Director                                    h: +44 1980 620 553
                                                         m: +44 7712 874482
             Suzie Máté – Marketing Manager              o: +44 20 3320 8839
                                                         m: +44 7747 471148
             Louisa Gallagher – Marketing Executive      o: +44 20 3320 8840
                                                         m: +44 7901 005367


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             Quality management
             Barbara Jennings – Director of Quality        o: +44 20 3320 8830
             Management                                    h: +44 20 8672 5358
                                                           m: +44 7775 515877

             Compliance & Risk management
             Mike Peachey – Chief Risk Ofﬁcer              o: +44 20 3320 2288
                                                           h: +44 20 7978 7629
                                                           m: +44 7712 869565
             Simon Burroughs – Compliance Ofﬁcer           o: +44 20 3260 2247
                                                           m: +44 7932 113580

             Finance & Secretariat
             Stephen Matthews – Chief Financial Ofﬁcer     o: +44 20 3320 8816
                                                           h: +44 20 8341 7960
                                                           m: +44 7932 113592
             Nick Jelley – P&I Finance Director            o: +44 20 3320 8845
                                                           h: +44 1277 354456
                                                           m: +44 7826 552861
             Vicky Hawkins – Secretariat                   o: +44 20 3320 8874
                                                           m: +44 7917 424063

             Safety & Loss Prevention
             Chris Spencer – Director of Loss Prevention   o: +44 20 3320 8807
                                                           h: +44 1314 472 766
                                                           m: +44 7827 352690
             Eric Murdoch – Chief Surveyor                 o: +44 20 3320 8836
                                                           h: +44 1892 537019
                                                           m: +44 7932 113579
             Julian Hines – Senior Surveyor                o: +44 20 3320 8812
                                                           h: +44 1962 772095
                                                           m: +44 7920 135078
             Mark Ford – Senior Surveyor                   o: +44 20 3320 2316
                                                           m: +44 7818 515371
             Yves Vandenborn – Marine Surveyor             o: +65 6506 2852
                                                           m: +65 9879 8606
             David Tilsley – Safety & Loss Prevention      o: +44 20 3320 2311
             Executive                                     m: +44 7818 513648




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                                    Offshore Syndicate
             Robert Dorey – Syndicate Director/Underwriter o: +44 20 3320 8831
                                                           h: +44 20 7498 2287
                                                           m: +44 7775 515878



             Claims
             Sharmini Murugason –                        o: +44 20 3320 8832
             Syndicate Claims Director                   h: +44 20 7289 9890
                                                         m: +44 7775 783194            02
             Fabien Lerede – Claims Director             o: +44 20 3320 8898
                                                         h: +44 20 8785 4807
                                                         m: +44 7825 247770
             Rupert Banks – Claims Executive             o: +44 20 3320 8887
                                                         h: +44 20 8983 9663
                                                         m: +44 7795 336898
             Ursula O’Donnell – Claims Executive         o: +44 20 3320 8813
                                                         m: +44 7824 590271



             Underwriting
             Claire Wheeler – Underwriter                o: +44 20 3320 8880
                                                         h: +44 1708 707153
                                                         m: +44 7795 837940
             John Croucher – Underwriter                 o: +44 20 3320 8879
                                                         h: +44 20 8673 9354
                                                         m: +44 7917 464693
             Eddy Morland – Underwriter                  o: +44 20 3320 8823
                                                         m: +44 7881 798622
             Craig Curtiss – Deputy Underwriter          o: +44 20 3320 8892
                                                         m: +44 7775 020883
             Joseph Divis – Deputy Underwriter           o: +44 20 3320 8806
                                                         h: +44 20 8876 5642
                                                         m: +44 7585 902091
             Laura Reilly – Deputy Underwriter           o: +44 20 3320 8805
                                                         h: +44 1798 875 398
                                                         m: +44 7825 056377




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                                           Syndicate B
              David J. Roberts – Syndicate Director       o: +44 20 3320 8848
                                                          h: +44 1892 616484
                                                          m: +44 7720 285859
              Claims
              James Bean – Syndicate Claims Director      o: +44 20 3320 8811
                                                          m: +44 7917 760820
              Duncan Howard – Syndicate Claims Director   o: +44 20 3320 8946
                                                          h: +44 1892 525814
                                                          m: +44 7825 064819
              Barry Gower – Claims Director               o: +44 20 3320 8826
                                                          h: +44 20 7537 9959
                                                          m: +44 7712 867706
              Chris Doe – Claims Executive                o: +44 20 3320 8820
                                                          h: +44 1256 464672
                                                          m: +44 7900 052194
              Olivia Furmston– Claims Executive           o: +44 20 3320 8858
                                                          m: +44 7584 488175
              Tom Oliphant – Claims Executive             o: +44 20 3320 2345
                                                          m: +44 7879 897164
              Leanne O’Loughlin – Claims Executive        o: +44 20 3320 8900
                                                          m: +44 7825 625661
              Michael Steer – Claims Executive            o: +44 20 3320 8833
                                                          h: +44 1892 231351
                                                          m: +44 7825 247251
              Philip Stephenson – Claims Executive        o: +44 20 3320 8825
                                                          h: +44 20 8944 1994
                                                          m: +44 7827 893194
              David Williams – Claims Executive           o: +44 20 3320 2344
                                                          m: +44 7880 504110


              Underwriting
              Colin Fowles – Underwriter                  o: +44 20 3320 8850
                                                          h: +44 1256 771090
                                                          m: +44 7917 688329
              Mark Collins – Underwriter                  o: +44 20 3320 8851
                                                          h: +44 1206 512917
                                                          m: +44 7712 871315
              Kimberley Holmes – Deputy Underwriter       o: +44 20 3320 8869
                                                          m: +44 7901 007514




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             Piraeus Ofﬁce
             Hunter Smith – Regional Claims Director   o: +30 210 429 0733
                                                       h: +30 212 100 7803
                                                       m: +30 6949 075074
             Anna Doumeni – Claims Executive           o: +30 210 429 0733
                                                       h: +30 210 467 3222
                                                       m: +30 6951 006764
             Kostas Katsoulieris – Claims Executive    o: +30 210 429 0733
                                                       h: +30 210 981 5075
                                                       m: +30 6941 587277
             Christina Soulaki – Claims Executive      o: +30 210 429 0733        02
                                                       m: +30 6948 531613




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                                          Syndicate D
             William Robinson – Syndicate Director      o: +44 20 3320 8861
                                                        h: +44 20 7223 0354
                                                        m: +44 7734 972408

             Claims
             Iain Cassell – Syndicate Claims Director   o: +44 20 3320 8803
                                                        h: +44 20 8325 9642
                                                        m: +44 7810 158800
             Sam Kendall-Marsden – Syndicate Claims     o: +44 20 3320 8876
             Director                                   h: +44 1933 317046
                                                        m: +44 7827 850655
             Hannah Charles – Claims Executive          o: +44 20 3320 8939
                                                        m: +44 7584 393204
             Alex Diakodimitris – Claims Executive      o: +44 20 3320 8952
                                                        m: +44 7825 425792
             Enam Hussain – Claims Executive            o: +44 20 3320 8821
                                                        m: +44 7711 378355
             Peter McNamee – Claims Executive           o: +44 20 3320 2282
                                                        m: +44 7760 999376
             Surani Makuloluwe – Claims Executive       o: +44 20 3320 2314
                                                        m: +44 7825 274827
             Michelle Smalley – Claims Executive        o: +44 20 3320 8860
                                                        m: +44 7920 597726
             Djan Venturim – Claims Executive           o: +44 20 3320 8940
                                                        m: +44 7818 514723



             Underwriting
             Darren Webb – Underwriter                  o: +44 20 3320 8878
                                                        h: +44 20 8524 9558
                                                        m: +44 7712 877235
             Nicholas Frampton – Underwriter            o: +44 20 3320 8881
                                                        m: +44 7717 896170
             Kevin O’Donnell – Deputy Underwriter       o: +44 20 3320 8828
                                                        m: +44 7825 847486
             Samuel Watson – Deputy Underwriter         o: +44 20 3320 8862
                                                        m: +44 7901 006624




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             New York Ofﬁce – Charles Taylor P&I Management (Americas), Inc
             LeRoy Lambert – President              o: +1 212 809 8085
                                                    h: +1 973 378 9243
                                                    m: +1 973 444 2683
             Ryan Puttick – Claims Executive        o: +1 212 809 8085
                                                    m: +1 646 321 1494
             Oliver Hutchings – Claims Executive    o: +1 212 809 8085
                                                    m: +1 917 412 1773


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             The Standard Steamship Owners’ Protection and
             Indemnity Association (Asia) Limited
             Managers

             Charles Taylor Mutual Management (Asia) Pte. Limited
             Tel: +65 6506 2896
             e: p&i.singapore@ctcplc.com


             Directors
             Nick Sansom – Director and General          o: +65 6506 2889
             Manager                                     m: +65 9663 5182
             Alistair Groom – Chairman                   h: +44 1725 519204
                                                         m: +44 7932 113584
             Jeremy Grose – Director                     h: +44 20 8463 9264
                                                         m: +44 7932 113594
             Stephen Matthews – Chief Financial Ofﬁcer   h: +44 20 8341 7960
                                                         m: +44 7932 113592
             Claims
             Gillian Musgrave – Regional Claims Director o: +65 6506 2882
                                                         m: +65 9624 5797
             Edgar Chin – Claims Executive               o: +65 6506 2867
                                                         m: +65 9675 1984
             Probin Das – Claims Executive               o: +65 6506 2880
                                                         m: +65 9298 8387
             Samantha Lee – Claims Executive             o: +65 6506 2857
                                                         m: +65 9661 2510
             Shim Shang Doe – Claims Executive           o: +65 6506 2884
                                                         m: +65 9727 7519
             Jason Wee – Claims Executive                o: +65 6506 2875
                                                         m: +65 9296 5850
             Tjen Soe Ni – Claims Assistant              o: +65 6506 1432




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             Underwriting
             Charles D’Alton – Underwriter          o: +65 6506 2896
                                                    m: +65 9298 3779
             Kevin G Gibbens – Deputy Underwriter   o: +65 6506 2887
                                                    m: +65 8328 3613
             Nick Taylor – Deputy Underwriter       o: +65 6506 2859
                                                    m: +65 9722 0929


             Safety & Loss Prevention                                         02
             Yves Vandenborn – Surveyor             o: +65 6506 2852
                                                    m: +65 9879 8606




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   RULES AND CORRESPONDENTS




   03
          OFFSHORE P&I RULES
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        SECTION A: INSURANCE
                 1.1     These rules, which are subject to the Act and the bye-laws, contain the
                         terms upon which offshore P&I cover is given by the club.
                 1.2     The risks against which a member is insured are set out in rule 3.
                 1.3.1   A member may be insured in respect of risks other than those set out
                         in rule 3, or in respect of risks otherwise excluded, where such risks
                         have been agreed by the managers.
                 1.3.2   Any such risks are covered subject to the terms, conditions, limitations
                         and exclusions of these rules.
                 1.3.3   The managers may reinsure any risk and, in the event that such
                         reinsurance is arranged, the member is entitled to recover from the
                         club only the net amount actually recovered under such reinsurance
                         together with that portion of the risk retained by the club, whether or
                         not the member has notice of such reinsurance, its terms, or the
                         identity of the reinsurers.
                 1.4     No act, omission, course of dealing or forbearance or reimbursement
                         by the club shall be treated as any evidence of a waiver of the club’s
                         rights under these rules.                                                  03
                 1.5     These rules and any contract of insurance between the club and any
                         insured party are governed by and construed in accordance with
                         English law. In particular they are subject to and incorporate the
                         Marine Insurance Act 1906 and any statutory modifications unless
                         such Act or modification may have been excluded by these rules or by
                         any term of such contract.
                 1.6     The terms of entry and the insurance provided by the club do not
                         confer any right or benefit on any third party under the Contracts
                         (Rights of Third Parties) Act 1999, except to the extent provided in
                         rule 6.11.




                                                                                               1
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          SECTION B: SCOPE OF COVER
                  2.1   The liabilities in respect of which a member is insured by the club are
                        set out in rule 3 and must have arisen by reason of the member’s
                        interest in the unit, out of events occurring during the period of the
                        unit’s entry in the club and in connection with the operation of the unit
                        (including activity at one or more supply bases, and transport between
                        the unit and a supply base or a port or an airport in the vicinity of
                        the base). The board may determine whether claims shall be deemed
                        to have arisen out of one or more events and when such events shall
                        be deemed to have occurred.
                  2.2   Where such liabilities would not have arisen but for the terms of any
                        contract or indemnity, the contract or indemnity must either correspond
                        to any specific requirements set out in rule 3, or have been approved
                        by the managers.
                  2.3   A member’s insurance is subject to the warranties, conditions,
                        exceptions, limitations and other terms set out in these rules and the
                        certificate of entry.
                  2.4   A member is not insured for any liabilities incurred by him in a capacity
                        other than that in which he has entered into the contract of insurance
                        with the club.




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        SECTION C: RISKS COVERED
        Crew
        Injury, illness   3.1.1   Liabilities in respect of crew injury, illness or death.
        or death
        Repatriation      3.1.2   Liabilities in respect of crew repatriation.
                                  Exclusion to rule 3.1.2
                                  Liabilities arising out of the termination of any agreement, or the sale
                                  of the unit, or any other act of the member in respect of the unit, unless
                                  the board considers that such termination or other act was necessary
                                  in the interests of the safety of the unit or crew, or the proper running
                                  of the unit.
        Substitute        3.1.3   Expenses necessarily incurred in sending substitutes to replace crew
        expenses                  who have died, are incapacitated or who have been left ashore in
                                  consequence of injury, illness, or desertion. Wages are only
                                  recoverable when payable to substitutes while awaiting and during
                                  repatriation.
        Loss of effects 3.1.4     Loss of crew effects, excluding valuables.
                                                                                                                03
        Shipwreck    3.1.5        Wages or other compensation payable to crew arising out of the actual
        unemployment              or constructive total loss of the unit.
        indemnity
        Port expenses 3.1.6       Port and other charges as set out in rule 3.3 incurred in relation to
                                  crew.
        Third parties     3.2     Liabilities in respect of the injury, illness or death of any person other
                                  than crew.
        Stowaways         3.3     Port and other charges solely incurred for the purpose of landing
        and refugees:             stowaways or refugees, or others saved at sea, or landing or securing
        port charges              the necessary treatment for an injured or sick person, other than crew,
                                  including the net loss to the member in respect of fuel, insurance,
                                  wages, stores and provisions incurred for such purpose.
        Collision         3.4.1   Liabilities arising out of a collision, if and to the extent that such
                                  liabilities are not covered under the hull policies, including that part of
                                  the member’s collision liability which exceeds the sum recoverable
                                  under the hull policies solely by reason of such liability exceeding the
                                  valuation of the unit in those policies. However, the board may
                                  determine the proper value (being the market value of the unit without
                                  commitment) for which the unit should have been insured under the
                                  hull policies, and the club shall pay only the excess of the amount
                                  which would have been recoverable if the unit had been insured
                                  thereunder at such value.
                          3.4.2   There will be no recovery from the club insofar as such collision
                                  liabilities are not recoverable under the hull policies by reason of any
                                  breach of such policies.
                          3.4.3   If the other ship and the unit are both to blame then, unless the liability
                                  of the owners of one or both of them becomes limited by law, claims
                                  shall be settled upon the principle of cross-liabilities.


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          Damage to       3.5     Liabilities for loss of or damage to, delay to, or wreck removal
          other ships             of, a ship or any cargo or other property therein caused other than by
          (other than             collision with the unit.
          by collision)
                                  Exclusions to rule 3.5
                                  (1)      Liabilities in respect of any property owned or leased by the
                                           member.
                                  (2)      Liabilities which are within the scope of cover provided under
                                           rule 3.4.
          Pollution       3.6.1   Liabilities arising out of the discharge or escape of any substance from
                                  the unit, including the costs of any measures reasonably taken for the
                                  purpose of avoiding or minimising any resulting loss, damage or
                                  contamination or cleaning up any resulting pollution, together with
                                  liability for any loss of or damage to property caused by any measures
                                  so taken.
                          3.6.2   The costs of any measures reasonably taken to prevent an imminent
                                  danger of the discharge or escape of any substance from the unit.
                                  Exclusion to rules 3.6.1 and 3.6.2
                                  There shall be no recovery unless the liabilities have arisen under
                                  statute, general law, contract, a voluntary agreement assuming strict
                                  liability, a salvage agreement to compensate salvors for work done or
                                  out of measures taken to prevent or reduce pollution or the risk thereof
                                  by the escape from the unit of any substance.
                          3.6.3   Liabilities incurred after the unit has become a wreck arising from the
                                  discharge or escape from such wreck of any substance.
                          3.6.4   Liabilities in respect of pollution where such liabilities arise under rules
                                  3.4, 3.5, 3.7, 3.8 and 3.11.
                          3.6.5   Fines imposed on the member or upon any other person whom he
                                  reasonably reimburses or is legally liable to indemnify in respect of the
                                  accidental discharge or escape of any substance arising from risks
                                  covered under rules 3.6.1, 3.6.3 and 3.6.4.
                                  Exclusion to rules 3.6.4 and 3.6.5
                                  Unless the board otherwise determines, there shall be no recovery in
                                  respect of any liability incurred more than two years after the unit
                                  became a wreck.
                                  Exclusion to rule 3.6.5
                                  Unless the board otherwise determines, there shall be no recovery in
                                  respect of a fine imposed for or arising out of:
                                  (1)      any personal act or default on the part of the member or his
                                           managers
                                  (2)      wilful misconduct on the part of any person unless the member
                                           has been compelled by law to pay the fine.
                                  Exclusions to rule 3.6
                                  There shall be no recovery in respect of:
                                  (1)      liabilities which are recoverable under the hull policies or any
                                           other insurance
                                  (2)      liabilities including fines and any consequential losses arising
                                           therefrom which arise out of:

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                                       a   pollution from the hole or well or subsea or subsurface
                                           operation in respect of which the unit is employed or utilised
                                           other than pollution from the unit and measures taken to
                                           avert or minimise such liabilities;
                                       b   subsea or subsurface or underground pollution other than
                                           pollution from the unit;
                                       c   the discharge or escape of any substance from any riser,
                                           flowline, umbilical, floating hose, buoyancy float or tank or
                                           mooring system connected to the unit or out of measures to
                                           avert or minimise such liabilities unless such riser, flowline,
                                           umbilical, floating hose, buoyancy float or tank or mooring
                                           system is part of the unit as defined
                                (3)    liabilities, including fines, loss or damage including, without
                                       limitation, liability for the cost of any remedial works or clean-up
                                       operations, arising as a result of the presence in, or the escape
                                       or discharge or threat of escape or discharge from, any land
                                       based dump, site, storage or disposal facility of any substance
                                       previously carried on the unit whether as cargo, fuel, stores or
                                       waste and whether at any time mixed in whole or in part with any
                                       other substance whatsoever, unless the board otherwise                   03
                                       determines
                                (4)    liabilities including fines and any consequential losses arising
                                       therefrom which arise out of any oil pollution incident within the
                                       United States Exclusive Economic Zone, unless otherwise
                                       agreed by the managers.
        Damage to       3.7     Liabilities for loss of or damage to, or interference with rights in relation
        property                to, any property not being a ship or any cargo or other property therein
        (other than             or the cargo or other property intended to be or being or having been
        by pollution)           carried in the unit.
                                Exclusions to rule 3.7
                                (1)    Liabilities in respect of any property owned or leased by the
                                       member.
                                (2)    Liabilities which are within the scope of cover provided under
                                       rule 3.4.
        Wreck           3.8.1   Liabilities for or incidental to the raising, removal, destruction, lighting
        liabilities             or marking of the wreck of the unit. The value of the wreck and all
                                stores and materials saved must be deducted from any reimbursement
                                and only the balance is recoverable.
                        3.8.2   Liabilities resulting from the actual or attempted raising, removal or
                                destruction of the wreck of the unit. Unless the board otherwise
                                determines, a member is not entitled to be reimbursed by the club in
                                respect of any liabilities if:
                                (1)    he has employed independent contractors to perform the
                                       relevant operations and has not taken reasonable measures to
                                       provide that under the terms of the contract the risk of incurring
                                       the relevant liabilities fell upon the contractors; and



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                          (2)   those contractors have not taken out such insurance as was
                                reasonable to insure themselves against such risks. No
                                liabilities insured under a contractor’s policy are recoverable
                                from the club.
                  3.8.3   Liabilities for or incidental to the raising, removal, destruction, lighting
                          or marking of the drill string, blowout preventer, blowout preventer
                          stack, diverter or marine riser or any part thereof owned or leased by
                          the member which has been lost or deposited on the seabed as a
                          result of a casualty and which is not in or connected to any hole or well.
                          Exclusion to rule 3.8.3
                          There shall be no recovery in respect of loss of or damage to any
                          property belonging to or the legal responsibility of any person
                          employing the unit pursuant to any contract and any other party having
                          an owning interest in the concession, prospect or field in respect of
                          which the unit is employed or utilised where the liability arises in
                          connection with a hole or well or subsea or subsurface operation in
                          respect of which the unit is employed or utilised.
                  3.8.4   Liabilities resulting from the presence or involuntary shifting of the
                          wreck of the unit caused by the casualty or event which led to the loss
                          of the unit.
                          Exclusions to rule 3.8
                          (1)   There shall be no recovery if the member has, without the
                                agreement of the managers, transferred his interest in the wreck
                                other than by abandonment, at any time after the unit became a
                                wreck.
                          (2)   There shall be no recovery unless the raising, removal,
                                destruction, lighting or marking of the wreck was compulsory by
                                law or legally recoverable from the member under contract, or
                                was undertaken with the agreement of the managers.
                          (3)   Unless the board otherwise determines, a member is not
                                entitled to reimbursement in respect of any liability unless he
                                took reasonable measures to raise, remove, destroy, light or
                                mark the wreck.
                          (4)   There shall be no recovery for any liabilities for or relating to
                                clean-up of debris, tools, machinery or equipment lost or
                                deposited on the seabed during operations, save to the extent
                                recoverable under rules 3.8.1 to 3.8.4 above.
                          (5)   Unless the board otherwise determines, there shall be no
                                recovery in respect of any liability incurred more than two years
                                after the unit became a wreck.
          Fines   3.9     Fines, other than fines arising from risks covered under rule 3.6,
                          imposed on the member or upon any other person whom he
                          reasonably reimburses or is legally liable to indemnify, but:
                          (1)   only insofar as the board considers the fine to be within the
                                scope of club cover; and




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                          (2)   only to the extent that the member has satisfied the board that
                                he took all such steps as appear to the board to be reasonable
                                to avoid the event giving rise to the fine; and
                          (3)   any amounts claimed in respect of such fine are recoverable
                                only to the extent that the board may determine.
        Enquiry    3.10   Costs and expenses incurred in protecting a member’s interests
        expenses          before a formal enquiry into a casualty to the unit where, in the opinion
                          of the managers, a claim upon the club is likely to arise, or in other
                          cases as the board determines.
        Sue and    3.11   Extraordinary costs and expenses reasonably incurred on or after the
        labour            occurrence of any event liable to give rise to a claim upon the club and
                          incurred solely for the purpose of avoiding or minimising any liability
                          against which the member is insured by the club, but only to the extent
                          that those costs and expenses have been incurred with the prior
                          agreement of the managers, or to the extent that the board
                          determines.
                          Exclusion to rule 3.11
                          Unless the managers or the board otherwise decide, there shall be
                          deducted from such costs and expenses the deductible which would            03
                          have been applicable had the liability or expenditure against which the
                          member is insured by the club been incurred.
        Omnibus    3.12   Any liabilities which the board may determine to be within the scope of
                          club cover, but only to the extent that it decides that the member shall
                          recover from the club.




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          SECTION D: EXCLUDED RISKS
          Risks covered 4.1   Unless otherwise agreed by the managers, there shall be no recovery
          by hull policies    from the club in respect of any liabilities which would be recoverable
                              from hull underwriters if the unit were, at the time of the incident giving
                              rise to such liabilities, fully insured under hull policies on terms
                              equivalent to those of the usual Lloyd’s marine policy with the Institute
                              Time Clauses (Hulls) 1.10.83 attached or on terms approved by the
                              managers; furthermore, unless otherwise agreed by the managers,
                              there shall be no recovery in respect of any franchise or deductible
                              borne by the member under such policies.
          Double        4.2   Unless otherwise agreed by the managers, there shall be no recovery
          insurance           in respect of any liabilities recoverable under any other insurance or
                              which would have been so recoverable:
                              (1)   apart from any terms in such other insurance excluding or
                                    limiting liability on the ground of double insurance; and
                              (2)   if the unit had not been entered in the club with cover for the
                                    risks set out in these rules.
          War risks     4.3   Unless otherwise agreed by the managers, there shall be no recovery
                              in respect of any liabilities, irrespective of whether a contributory cause
                              of the same being incurred was any neglect on the part of the member
                              or his servants or agents, incurred as a result of:
                              (1)   war, civil war, revolution, rebellion, insurrection or civil strife
                                    arising therefrom, or any hostile act by or against a belligerent
                                    power, or any act of terrorism;
                              (2)   capture, seizure, arrest, restraint or detainment (barratry and
                                    piracy excepted) and the consequences thereof or any attempt
                                    thereat;
                              (3)   mines, torpedoes, bombs, rockets, shells, explosives or other
                                    similar weapons of war, save that this exclusion does not apply
                                    to liabilities which arise solely by reason of:
                                    a    the transport of any such weapons whether on board the
                                         unit or not; or
                                    b    the use of any such weapons, either as a result of
                                         government order or with the agreement of the board or the
                                         managers, where the reason for such use was the
                                         avoidance or mitigation of liabilities which would otherwise
                                         fall within the cover given by the club.
                                    In the event of any dispute as to whether or not any act
                                    constitutes an act of terrorism, the decision of the board shall
                                    be final.
                        4.4   Notwithstanding the exclusions in rule 4.3, 4.7 and 4.8, the club will
                              discharge on behalf of the member liabilities arising under a demand
                              made pursuant to the issue by the club on behalf of the member of:
                              (1)   a certificate issued in compliance with Article VII of the
                                    International Conventions on Civil Liability for Oil Pollution
                                    Damage 1969 and 1992 or any amendments thereof; or

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                             (2)   a certificate issued in compliance with Article 7 of the
                                   International Convention on Civil Liability for Bunker Oil
                                   Pollution Damage 2001.
                       4.5   The member shall indemnify the club to the extent that any payment
                             under any such guarantee, undertaking or certificate is not recoverable
                             from the club for any reason whatsoever.
                       4.6   The member agrees that any payment by the club under any such
                             guarantee, undertaking or certificate shall, to the extent of any amount
                             recovered under any policy of insurance or additional cover provided
                             by the club, be by way of loan and there shall be assigned to the club
                             to the extent and on the terms the managers determine to be
                             practicable, all the rights of the member under any other insurance and
                             against any third party.
        Radioactive   4.7    There shall be no recovery in respect of any liabilities, irrespective of
        contamination        whether a contributory cause of the same being incurred was any
                             neglect on the part of the member or his servants or agents, directly or
                             indirectly caused by or arising from:
                             (1)   ionising radiations from or contamination by radioactivity from
                                   any nuclear fuel or from any nuclear waste or from the
                                                                                                          03
                                   combustion of nuclear fuel; or
                             (2)   the radioactive, toxic, explosive or other hazardous or
                                   contaminating properties of any nuclear installation, reactor or
                                   other nuclear assembly or nuclear component thereof; or
                             (3)   any weapon or device employing atomic or nuclear fission
                                   and/or fusion or other like reaction or radioactive force or matter;
                                   or
                             (4)   the radioactive, toxic, explosive or other hazardous or
                                   contaminating properties of any radioactive matter
                             other than liabilities arising out of carriage of ‘excepted matter’ (as
                             defined in the Nuclear Installations Act 1965 of the United Kingdom or
                             any regulations made thereunder) as cargo in the unit, and such
                             further exceptions as the managers may approve.
        Chemical,      4.8   There shall be no recovery in respect of any liabilities directly or
        bio-chemical,        indirectly caused by or contributed to by or arising from:
        electromagnetic      (1)   any chemical, biological, bio-chemical or electromagnetic
        weapons and                weapon;
        computer virus
                             (2)   the use or operation, as a means for inflicting harm, of any
                                   computer virus.
        Unlawful and   4.9   No claim is recoverable if it arises out of or is consequent upon the unit
        hazardous            blockade running or being employed in an unlawful carriage, trade,
        trades               voyage, or operation, or if the board determines that the carriage,
                             trade, voyage or operation was imprudent, unsafe, unduly hazardous
                             or improper.




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           SECTION E: EXCLUDED LOSSES
                          5      Except as provided in this rule or otherwise agreed by the managers,
                                 there shall be no recovery in respect of:
           Hull damage    5.1    Loss of or damage to the unit or any part thereof.
           Equipment      5.2    Loss of or damage to any equipment, containers, lashings, stores, or
           damage                fuel on board the unit to the extent that they are owned or leased by
                                 the member or any associated company.
           Repairs        5.3    The cost of repairs to the unit or any charges or expenses in
                                 connection therewith.
           Loss of hire   5.4    Loss of freight or hire or any proportion thereof in relation to the unit.
           Detention      5.5    Loss arising out of demurrage on, detention of, or delay to the unit or,
                                 except as provided for in rules 3.1.6 and 3.3, running costs of the unit.
           Cancellation   5.6    Loss arising out of the cancellation of any contract or engagement in
                                 relation to the unit.
           Bad debts      5.7    Loss arising out of irrecoverable debts or the insolvency of any person.
           Salvage        5.8    Salvage or other services in the nature of salvage provided to the unit,
                                 and any liabilities in connection therewith, other than such as may be
                                 covered under rule 3.6.
           Specialist     5.9    Liabilities incurred by a member in connection with any claim, including
           operations,           any consequential losses arising therefrom, brought against him
           underwater            arising out of:
           vehicles and          (1)   the failure by the member to perform any work or the fitness for
           divers                      purpose and quality of the member’s work, products or services,
                                       including any defect in the member’s work, products or services;
                                       or
                                 (2)   any loss of or damage to the contract work; or
                                 (3)   the operation by the member of underwater vehicles unless
                                       included within the description of the unit; or
                                 (4)   the activities of professional or commercial divers where the
                                       member is responsible for such activities, other than:
                                       a    activities arising out of salvage operations being conducted
                                            by the unit, where the divers form part of the crew of the unit
                                            (or of diving bells or other similar equipment or craft
                                            operating from the unit), and where the member is
                                            responsible for the activity of such divers; or
                                       b    incidental diving operations carried out in relation to the
                                            inspection, repair or maintenance of the unit or in relation to
                                            damage caused by the unit;
                                       unless otherwise agreed with the managers.
           Pollution      5.10   Liabilities arising out of the actual, or threatened, escape or discharge
                                 of any substance save as provided for in rule 3.6.




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        Blow-out and 5.11     Liabilities arising from or relating to:
        control of well       (1)    the control, or regaining of control, of a hole or well;
                              (2)    loss of or damage to or costs of reinstatement of a hole, well or
                                     reservoir;
                              (3)    blow-out, cratering, or any other uncontrolled flow, discharge or
                                     escape of oil, gas or any other substance from holes, wells or
                                     reservoirs including any flow, discharge or escape thereof from
                                     the unit, other than:
                                     (a) injury, illness or death under rules 3.1 and 3.2
                                     (b) collision liabilities under rule 3.4
                                     (c) wreck liabilities under rule 3.8
                                     (d) enquiry expenses under rule 3.10
                                     unless otherwise agreed by the managers
                              where the incident arises in connection with a hole or well or subsea
                              or subsurface operation in respect of which the unit is employed or
                              utilised.
        Downhole       5.12   Any liabilities or losses in respect of loss of or damage to or recovery
        property              or replacement of any drill string, casing, tubing, cementing or well       03
                              intervention or other downhole equipment, whether or not in the sea,
                              which is in or connected to any hole or well in respect of which the unit
                              is employed or utilised or which is owned by the member, and the
                              consequences thereof.
        Direction of   5.13   The liabilities set out in rule 5 may be recoverable to the extent that
        the board             they may be treated as expenses arising under rule 3.11, or are
                              approved by the board.




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           SECTION F: SCOPE OF RECOVERY AND LIMITS
           Limit of cover   6.1.1   The club’s cover shall be limited to the amount set out in the certificate
                                    of entry.
                            6.1.2   Any limits on the cover provided by the club apply in the aggregate to
                                    all insured parties and affiliated or associated companies.
                            6.1.3   If the claims of all insured parties in respect of liabilities insured by the
                                    club exceed or may exceed in the aggregate any limit of cover set out
                                    in the certificate of entry:
                                    (1)    the member shall be entitled to recover in respect of such claims
                                           in priority to the claims of any other insured parties and any joint
                                           entrants shall be entitled to recover in respect of such claims in
                                           priority to the claims of any co-assureds;
                                    (2)    where the aggregate of the claims of the member exceeds or
                                           may exceed the said limit, the member shall be entitled to
                                           recover in respect of such claims to the exclusion of any claims
                                           of any other insured parties;
                                    (3)    where the aggregate of the claims of any joint entrants exceeds
                                           or may exceed the said limit or any part thereof remaining after
                                           application of rule 6.1.3(1), any joint entrant shall be entitled to
                                           recover in respect of such claims
                                           a   to the exclusion of any claims of any co-assureds; and
                                           b   only such proportion of the remaining part of the limit as the
                                               claim of that joint entrant bears to the total of all claims of all
                                               joint entrants;
                                    (4)    where the aggregate of the claims of any co-assureds exceeds
                                           or may exceed the said limit or any part thereof remaining after
                                           the application of rules 6.1.3(1) and (3), any co-assured shall be
                                           entitled to recover in respect of such claims only such proportion
                                           of the remaining part of the limit as the claim of that co-assured
                                           bears to the total of all claims of all co-assureds.
                            6.1.4   If in the opinion of the managers the claims of all insured parties in the
                                    aggregate exceed or may exceed any limit set out in the certificate of
                                    entry, the managers may defer payment of a claim or any part thereof.
           Net loss         6.2     If a member incurs any of the liabilities set out in rule 3, he is entitled
                                    to recover the net amount of such liabilities, deducting any costs and
                                    expenses which would have been incurred in any event together with
                                    any savings accruing to him and any recoveries made by him, unless
                                    otherwise agreed by the managers.
           Limits of        6.3     Unless and to the extent the board otherwise determines, under no
           recovery                 circumstances shall the recovery by any person exceed:
                                    (1)    the amount to which the member is entitled to limit his liability,
                                           or would have been so entitled under any relevant law had he
                                           so petitioned;
                                    (2)    if less than the full tonnage of the unit is entered in the club,
                                           such proportion of the amount referred to in rule 6.1 as the
                                           entered tonnage bears to the full tonnage of the unit;

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                               (3)   any other limit contained in these rules or set out in the
                                     member’s certificate of entry.
        Waiver of      6.4     Where a charterer or other party is named as a joint entrant or co-
        subrogation            assured and a waiver of subrogation is required under a contract,
                               rights of subrogation against such joint entrant or co-assured are
                               waived only where the managers have agreed such a waiver; any such
                               waiver applies only in respect of those liabilities which are borne by the
                               member or other joint entrant under the terms of the relevant contract
                               and not to any liabilities which are to be borne by the charterer or other
                               party unless otherwise agreed by the managers.
                       6.5     The club shall not be liable to any insured party in respect of any
                               liabilities except to the extent of the funds which the club is able to
                               recover from the members or other persons liable for the same.
        Member’s       6.6     If a claim arises following a collision involving two units or ships
        property               belonging to the same member, he is entitled to recover from the club,
                               and the club has the same rights, as if the units or ships had belonged
                               to different owners.
                       6.7     If a claim arises under rule 3.5 following loss of or damage to any ship,
                               or any cargo or other property therein belonging to the member in
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                               respect of whose unit the claim arose, the member is entitled to
                               recover from the club, and the club has the same rights, as if such
                               ship, cargo or property lost or damaged had belonged to a third party,
                               but only to the extent that such loss or damage is not recoverable
                               under any other insurance upon the said ship, cargo or property.
        Amounts        6.8     The club is not liable to make any payment in respect of any claim
        owing to               while any sum is due from the member, or due in respect of a unit or
        the club               ship entered under the same group rating agreement; however, if any
                               payment is made, the club may deduct any sum which is due from a
                               member relating to any policy year.
        Interest       6.9     In no case is interest payable on sums due from the club.
        Pay to be paid 6.10    Unless the managers otherwise determine, it is a condition precedent
                               of a member’s right to recover in respect of any liabilities that he must
                               have first discharged or paid the same out of funds belonging to him
                               unconditionally and not by way of loan or otherwise.
        Crew claims    6.11.1 Notwithstanding rule 6.10, where a member has failed to discharge a
                              legal liability to pay damages or compensation for crew injury, illness
                              or death, the club shall discharge or pay such claim on the member’s
                              behalf directly to such crewmember or dependant thereof.
                       6.11.2 There shall be no recovery unless the crewmember or dependant has
                              no enforceable right of recovery against any other party and would
                              otherwise be uncompensated.
                       6.11.3 Subject to rule 6.11.4 below, the amount payable by the club shall
                              under no circumstances exceed the amount which the member would
                              have been able to recover from the club under these rules and his
                              terms of entry.




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                         6.11.4 Where the club is under no liability to the member by virtue of rule
                                17.3, the club shall nevertheless discharge or pay that claim to the
                                extent only that it arises from an event occurring prior to the date of
                                cancellation, but as agent only of the member, and the member shall
                                be liable to reimburse the club for the full amount of such claim.
           Deductibles   6.12    Any sum recoverable shall be subject to such deductible as has been
                                 agreed by the managers. Unless otherwise agreed, deductibles shall
                                 apply any one event.
                         6.13    The club may undertake the defence of a member or institute legal
                                 proceedings on his behalf in respect of any amount not recoverable by
                                 reason of any deductible for ascertaining the legal position of the
                                 member. Although the club may pay the costs of such legal
                                 proceedings, the member shall bear any damages therein adjudged or
                                 awarded against him.
           Wilful        6.14    Unless the board otherwise decides, no claim is recoverable in respect
           misconduct            of any liabilities which in its opinion have been incurred owing to the
                                 privity or wilful misconduct of an insured party.
           Obligation to 6.15    A member must at all times take all reasonable steps to avoid or
           sue and labour        minimise any loss, damage or liability in respect of which he may be
                                 insured by the club. If a member is in breach of this obligation, the
                                 board may reject any claim by the member for reimbursement or
                                 reduce the sum payable by the club.
           Sanctions     6.16    The member shall in no circumstances be entited to recovery from the
                                 club that part of any liabilities, costs and expenses which is not
                                 recovered by the club under any reinsurance(s) because of a shortfall
                                 in recovery from reinsurers thereunder by reason of any sanction,
                                 prohibition or adverse action against them by a state or international
                                 organisation or the risk thereof if payment were to be made by such
                                 reinsurers. For the purposes of this rule 6.16 “shortfall” includes any
                                 failure or delay in recovery by the club by reason of the reinsurers
                                 making payment into a designated account in compliance with the
                                 requirements of any state or international organisation.




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        SECTION G: OBLIGATIONS WITH REGARD TO CLAIMS
        Notification   7.1   A member must promptly notify the managers in writing:
                             (1)   of every matter; and
                             (2)   of every claim made by a third party against him
                             which may lead to a claim for recovery.
                       7.2   A member must submit his claim for reimbursement of any liabilities
                             within 12 months of discharging or settling them, and must produce in
                             support of each claim all information the managers may require.
        Documentation 7.3    A member must notify the managers of any information or
                             documentation in his power, custody, control or knowledge relevant to
                             any matter and must, as soon as requested by the managers, give to
                             the club and/or to the experts or lawyers appointed to act on his behalf
                             all such documentation and allow it to be inspected and copied.
                       7.4   A member must allow the managers, or the appointed experts or
                             lawyers, to interview any person employed by the member whom the
                             managers consider may have knowledge of the matter. If any such
                             person is required to give evidence at any legal proceedings relating
                                                                                                        03
                             to a matter, the member will use his best endeavours to make sure he
                             attends.
        Developments 7.5     A member must keep the managers fully informed of the progress of
                             any matter which will or may cause the member to incur liabilities for
                             which he may be insured by the club, including any costs and
                             expenses, and of any action proposed in relation to such matter.
        Settlement     7.6   A member must not settle, compromise or admit liability for any matter
                             for which he may be insured by the club without the approval of the
                             managers or without complying with any requirements of the
                             managers for making provision for any costs or expenses incurred by
                             the club. If he does so, he will be liable to pay by way of indemnity to
                             the club such sum as the managers may determine against the costs
                             and expenses it may have been put to in respect of such matter.
        Recovery       7.7   Where a member has made a claim against another party and has
                             become entitled to a recovery there shall be credited and paid to the
                             club from such recovery an amount corresponding to the sum paid by
                             the club, including any interest and costs, or such lesser sum as the
                             managers may determine.
                       7.8   A member who incurs any costs or expenses without the agreement of
                             the managers, or without the matter being conducted by an expert or
                             lawyer appointed or previously approved by the managers, will not be
                             entitled to reimbursement of such costs or expenses by the club
                             without the approval of the managers.
        Evidence       7.9   A member must not withhold any evidence which it is or may be
                             relevant to disclose, or make any false statement. If such evidence is
                             withheld or concealed any liabilities already incurred or reimbursed by
                             the club must be repaid by the member.




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           Powers of the 8.1     The managers have the right to control or direct the conduct of any
           managers              matter or legal proceedings relating to any liabilities in respect of which
           relating to the       the member is or may be insured in whole or in part, and in particular
           handling of           to direct the member to use a particular expert or lawyer.
           claims          8.2   The managers have the right to require the member to settle,
                                 compromise or otherwise dispose of any matter or proceeding in such
                                 manner as they see fit.
                           8.3   The managers may at any time on notice to the member withdraw their
                                 approval of any expert or lawyer appointed to act on behalf of the
                                 member; in such circumstances the member will have no further
                                 entitlement to reimbursement of any of the costs or expenses of
                                 that expert or lawyer unless and to the extent the board otherwise
                                 determines.
                           8.4   The managers may at any time appoint, on behalf of a member at the
                                 expense of the club, experts or lawyers to deal with any matter which
                                 may result in liabilities in respect of which the member may be covered
                                 under these rules.
           Effect of non   8.5   If a member fails to comply with any requirement under rules 7 and 8,
           compliance            the club shall not be under any obligation to reimburse him unless the
                                 board otherwise determines.
           Security        9.1   The club is under no obligation to provide security on behalf of a
                                 member, but where it is provided it shall be on such terms as the
                                 managers consider appropriate and shall not constitute any admission
                                 of liability by the club for the claim in respect of which it is given.
                           9.2   A member on whose behalf the club has provided security, with or
                                 without the member’s express authority, shall on demand replace the
                                 security or pay to the club a sum corresponding to the amount of such
                                 security whether or not such amount may be recoverable in whole or
                                 in part from the club.
                           9.3   In no case shall the club be liable for the detention of the unit, or for
                                 any other detention or attachment of a member’s assets, or for any
                                 damage whatsoever caused to a member by reason of the provision
                                 or non-provision of security.
                           9.4   A member shall upon demand reimburse the club such sum or sums
                                 as the club has paid on his behalf or under security provided by the
                                 club to the extent that such payment is, in the opinion of the managers,
                                 in respect of liabilities not recoverable from the club.




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        SECTION H: APPLICATION AND ENTRY
        Application    10.1   The applicant must provide the managers with all material particulars
                              and information together with any additional particulars and
                              information as the managers may require.
                       10.2   The applicant warrants on his own behalf and on behalf of any other
                              person that he has provided all material information and that all such
                              information is, so far as he knows or could with reasonable diligence
                              ascertain, true and complete, and will remain so throughout the period
                              of insurance. The information so provided forms the basis of the
                              contract of insurance between the applicant and the club.
                       10.3   The managers may, without giving any reason, refuse any application
                              for the entry of a unit or ship in the club.
        Entry          11.1   Unless the managers otherwise decide, each person whose entry has
                              been accepted under these rules becomes a member of the club.
                              Whenever the managers accept an entry by way of reinsurance, the
                              insurer reinsured by the club or person insured by such an insurer
                              may, if the managers agree, become a member.
        Immediate      11.2   The member is obliged to disclose any change in any material                 03
        termination           information relating to an entry including, but not limited to, change of:
                              management, flag, classification society, nationality of crew, trading or
                              operating area or nature of trade or operation. Upon such disclosure
                              the managers may amend the member’s premium or terms of entry, or
                              terminate the entry in respect of the unit.
                       11.3   The member is bound by and must observe and perform the
                              obligations under these rules, and must provide the managers with
                              electronic and postal addresses for service of notices.
                       11.4   The member warrants that he is, in relation to the unit:
                              (1)   her owner or charterer; or
                              (2)   a manager or operator having control of her operation and
                                    employment; or
                              (3)   any other person in possession and control of her.
        Certificates   12.1   The managers will send the member a certificate of entry stating the
        of entry              date of commencement of cover and the terms and conditions on
                              which the unit has been accepted for insurance.
                       12.2   If at any time there is a variation in the terms of entry, the managers
                              will send the member an endorsement stating the terms of such
                              variation and the date from which such variation is to be effective.
                       12.3   Every certificate of entry issued is conclusive evidence as to its terms;
                              if the managers believe that such documentation contains any error or
                              omission they may issue a new certificate or endorsement which will
                              be conclusive as aforesaid.
        Joint entrants 13.1   The managers may accept an application from a member for another
                              person or persons to become joint entrants in respect of that member’s
                              entry. Each joint entrant has an independent right of recovery from
                              the club.


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                          13.2    Unless otherwise agreed by the managers, the member and all joint
                                  entrants are jointly and severally liable to pay all amounts due to the
                                  club in respect of such entry.
                          13.3    The member and each joint entrant warrants that the joint entrant is, in
                                  relation to the unit:
                                  (1)   interested in her operation, management or manning; or
                                  (2)   the holding company or the beneficial owner of the member or
                                        of any person interested in her operation, management or
                                        manning; or
                                  (3)   a mortgagee; or
                                  (4)   the charterer.
                          13.4    The member warrants that he has at all times full power and authority
                                  to act in the name of and/or on behalf of all joint entrants.
           Co-assureds    13.5    The managers may accept an application from a member for another
                                  person or persons to become co-assureds in respect of that member’s
                                  entry.
                          13.6    The liability of the club to a co-assured only extends insofar as he may
                                  be found liable to pay in the first instance for liabilities which are
                                  properly the responsibility of the member which, if the member has
                                  entered into a contract with the co-assured, means those liabilities
                                  which are to be borne by the member under such contract. Cover does
                                  not extend to any amount which would not have been recoverable from
                                  the club by the member had the claim been made or enforced against
                                  him or to any liabilities to be borne by any of the co-assureds under the
                                  said contract.
                          13.7    Once the club has indemnified a co-assured it shall not be under any
                                  further liability to any person in respect of that claim.
           Insured parties 13.8   The receipt by an insured party of any sums paid by the club in respect
                                  of such an entry is sufficient discharge by the club for the same.
                          13.9    Any provision of these rules by which an insured party ceases either
                                  to be insured or to be entitled to recover from the club is deemed to
                                  apply to all insured parties. Failure by an insured party to comply with
                                  any of the obligations under these rules is deemed to be the failure of
                                  all insured parties.
                          13.10   Conduct of an insured party which would have entitled the club to
                                  decline to indemnify it is deemed to be the conduct of all insured
                                  parties.
                          13.11   The content of any communication between an insured party and the
                                  club is deemed to be within the knowledge of all insured parties.
                          13.12   The cover provided to joint entrants does not extend to any liabilities
                                  or disputes either among such joint entrants or with the member.
           Charterer     13.13    a     Unless otherwise agreed by the managers, where a charterer is
           named as                     named as a joint entrant or co-assured, all insured parties,
           joint entrant                including such charterer, warrant that the charterer is either:
           or co-assured
                                        (1) an affiliated or associated charterer; or


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                                       (2) has contracted with the member or a joint entrant for the
                                           provision of services to or by the unit and that contract has
                                           been approved by the managers
                                 b     Any charterer named as a co-assured in accordance with rule
                                       13.13 a (2) above is only covered for liabilities which are to be
                                       borne by the member or other joint entrant under the terms of
                                       the relevant contract and would, if borne by the member or that
                                       joint entrant, be recoverable by either from the club.
        Group entries    13.14   The managers may accept an entry on the basis that the unit is part of
                                 a group rating agreement and assess premiums accordingly.
                         13.15   The member or a joint entrant must be designated group principal and
                                 any communication from or on behalf of the club to the group principal
                                 is deemed to be within the knowledge of all insured parties in the group
                                 and any communication from and action taken by the group principal
                                 is deemed conclusively to be made with the full approval of any and all
                                 insured parties within that group.
                         13.16   All persons entering units or ships under a group rating agreement and
                                 the group principal remain jointly and severally liable to pay all
                                 amounts due to the club in respect of any and all units or ships in the        03
                                 same group.
        Affiliated and   13.17   In the case of a claim which would be recoverable from the club being
        associated               enforced against an affiliated or associated company of a member, but
        companies                not of a joint entrant or a co-assured, such company shall, if the
                                 member so requires in writing, be entitled to recover such sum from
                                 the club but only to the extent to which the member would have been
                                 entitled to recover if the claim had been enforced against him.
        Breach of        13.18   In the event of any breach of the warranties set out in rules 10.2, 11.4
        warranty                 and 13.4, all insured parties’ insurance shall terminate automatically
                                 from the time of the breach. In such circumstances the member shall
                                 be, and remain, liable for all premiums up to the time of the breach.
                         13.19   In the event of any breach by a joint entrant or co-assured of the
                                 warranties set out in rules 13.3 and 13.13, the joint entrant’s or co-
                                 assured’s insurance shall terminate automatically from the time of the
                                 breach. If a joint entrant is in breach, he shall be, and remain, liable for
                                 all premium up to the time of the breach.
        Assignment       14.1    No insurance given by the club and no interest under these rules or
                                 under any contract between the club and any member may be
                                 assigned without the agreement of the managers. Any assignment
                                 made without such agreement shall, unless the managers otherwise
                                 determine, be of no effect and the assignee shall have no rights
                                 against the club.
                         14.2    In the event that the managers agree, the club is entitled in settling any
                                 claim presented by the assignee to deduct or retain such amount as
                                 the managers may then estimate to be sufficient to discharge any
                                 actual or potential liabilities of the assignor to the club.




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           SECTION I: UNIT STANDARDS AND SURVEYS
           Classification   15.1   Unless otherwise agreed by the managers, the following are
           and condition           conditions of the insurance of every unit:
           of units                (1)   The unit must be and remain fully classed with a classification
                                         society approved by the managers.
                                   (2)   Any matter in respect of which the classification society might
                                         make recommendations about action to be taken must be
                                         promptly reported to the society.
                                   (3)   The member must comply with all the rules, recommendations
                                         and requirements of the classification society within the time or
                                         times specified by that society.
                                   (4)   The managers may inspect any document, and/or obtain any
                                         information relating to the maintenance of the unit's class, in the
                                         possession of any classification society with which the unit is or
                                         at any time has been classed, and the member authorises such
                                         society to disclose such documents and/or information to the
                                         managers for whatever purposes they may consider necessary.
                                   (5)   The member must comply with all statutory requirements of the
                                         unit’s flag state and/or any state exercising jurisdiction over the
                                         unit relating to the construction, adaptation, condition, fitment,
                                         equipment, manning and operation of the unit and must at all
                                         times maintain the validity of such statutory certificates as are
                                         required or issued by or on behalf of the unit’s flag state and/or
                                         any state exercising jurisdiction over the unit, including those in
                                         respect of the ISM and ISPS codes.
                            15.2   Unless and to the extent the board otherwise decides, a member is not
                                   entitled to any recovery in respect of any liabilities arising during a
                                   period when any of the conditions in rule 15.1 have not been complied
                                   with.
           Entry surveys 15.3      The managers may, as a condition of acceptance or renewal of entry
                                   in the club, appoint a surveyor to inspect an applicant’s or member’s
                                   unit. In the light of such survey, the managers may decline the
                                   application, refuse to renew the entry or impose conditions on the
                                   terms of entry as they see fit.
           Routine or    15.4      The managers may at any time, or following an incident which will or
           claim surveys           may cause the member to incur liabilities for which he may be insured
           and reviews             by the club, appoint a surveyor to inspect the unit or undertake a
                                   review of the member’s operations within a specified period. If the unit
                                   is not made available for survey, or the review does not take place,
                                   within such period, no claim for recovery as a result of any incident
                                   arising after the expiry of such period will be allowed unless the board
                                   otherwise determines.




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        Surveys         15.5   In the event that a member has laid the unit up for more than 90
        following              consecutive days he must, unless otherwise agreed by the managers,
        lay-up                 notify them of his intention to operate the unit at least seven days
                               before she resumes operating. The managers may then require the
                               member to have the unit inspected by a surveyor appointed by them.
                               In the event that the member does not notify the club of his intention
                               to operate the unit, no claim for recovery will be allowed unless the
                               board otherwise determines.
        Effect on      15.6    In the light of a survey or review the managers may:
        terms of entry         (1)   terminate the member’s entry; or
                               (2)   amend, vary or impose conditions on the terms of entry as they
                                     see fit.
        Effect of non   15.7   Any recommendations made by the managers or a surveyor following
        compliance             any survey or review must be carried out within the time specified
                               by, and to the satisfaction of, the managers and no recovery shall
                               be allowed in respect of any incident arising after any such
                               recommendations have been made until they have been complied
                               with to the satisfaction of the managers, unless the board otherwise
                               determines.
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           SECTION J: PERIOD OF INSURANCE
           Policy year    16.1   Unless otherwise agreed at the time of entry or set out in these rules,
                                 the insurance provided by the club begins at the time stated in the
                                 member’s certificate of entry, and continues until noon GMT on the
                                 following 20 February, and thereafter, unless terminated in accordance
                                 with these rules, from policy year to policy year.
                          16.2   If a member does not wish to continue the insurance in respect of the
                                 unit he must give notice in writing to the managers not later than 30
                                 days before the expiry of the period of insurance.
                          16.3   The unit may not be withdrawn at any other time or in any other
                                 manner except with the consent of the managers.
           Managers'      16.4   The managers may, in respect of the unit, at any time and without
           notice                giving any reason:
                                 (1)   give to a member seven days’ notice that he is not entitled to
                                       any recovery in respect of any claim arising during the period
                                       from expiry of that notice until such further time as the managers
                                       specify; or
                                 (2)   terminate the entry on 30 days’ notice in writing given not later
                                       than 30 days before the expiry of the period of insurance.
           Pro-rata       16.5   A member is only liable for premium in respect of the unit for the
           premium               current policy year pro-rata for the period from the time stated in the
                                 member’s certificate of entry until noon GMT:
                                 (1)   on the day ownership was legally transferred; or
                                 (2)   on the day the unit became an actual or constructive total loss
                                       or such later date as the managers may determine; or
                                 (3)   on the date of cessation of insurance.
           Cessation of   17.1   A member shall cease to be insured by the club in respect of any and
           insurance             all units and ships entered by him if:
                                 (1)   being an individual, he dies, becomes of unsound mind, or
                                       bankrupt or makes any arrangement with his creditors
                                       generally; or
                                 (2)   being a company, a resolution is passed for its voluntary
                                       winding-up or an order is made for its compulsory winding-up or
                                       it is dissolved or seeks protection from its creditors under any
                                       applicable bankruptcy or insolvency laws or any similar event
                                       occurs in any applicable jurisdiction.
                          17.2   A member shall cease to be insured by the club in respect of any unit
                                 entered by him if:
                                 (1)   he sells or assigns the whole or any part of his interest in the
                                       unit, unless the managers have agreed to such assignment and
                                       to an assignment of the relevant insurance by the club pursuant
                                       to rule 14.1; or
                                 (2)   the unit becomes, or is accepted by hull underwriters as, an
                                       actual or constructive total loss, or there is a compromise
                                       reached with hull underwriters, or the managers decide that the

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                                    unit can be considered or deemed to be an actual or
                                    constructive total loss, except as regards liabilities flowing
                                    directly from the casualty which gave rise to the actual or
                                    constructive loss of the unit, or such later date as the managers
                                    may determine; the managers may, however, agree to extend
                                    the period of insurance on such terms as they think fit; or
                              (3)   notice is given under rules 16.2 to 16.4 and is not withdrawn by
                                    agreement before the expiry of the period of insurance; or
                              (4)   the entry is terminated or ceases in accordance with rules 15 or
                                    16.4; or
                              (5)   the unit is employed by the member in a carriage, trade or
                                    operation or on a voyage which will thereby in any way
                                    howsoever expose the club to the risk of being or becoming
                                    subject to any sanction, prohibition or adverse action in any form
                                    whatsoever by any state or international organisation, unless
                                    the managers shall otherwise determine.
        Cancellation   17.3   If a member fails to pay when due and demanded by the managers
        of insurance          any sum owing from him to the club including any sum for which he is
                              liable under rule 13.16:
                                                                                                           03
                              (1)   unless and to the extent the board otherwise decides, a member
                                    will not be entitled to any recovery in respect of any claim arising
                                    from the date of such failure until the date such sum owing to the
                                    club is paid in full; and
                              (2)   his insurance will be cancelled, whether or not it may already
                                    have ceased for some other reason, if after service on him of a
                                    notice stating that there are sums owing and requiring payment
                                    by a specific date he fails to pay any sum in full on or before
                                    such date.
                       17.4   The managers may, but are not obliged to, specify the amount
                              outstanding; any inaccuracy in the demand as to the amount stated to
                              be owing shall not invalidate the notice unless there is no sum owing
                              at all.
        Effect of      17.5   When a member ceases to be insured in respect of any unit or at all
        cessation of          (‘the date of cessation’), then:
        insurance             (1)   such member and his successors are, and remain, liable for all
                                    premium in respect of that part of the policy year for which the
                                    unit was on risk, and previous policy years, unless otherwise
                                    agreed pursuant to rule 19; and
                              (2)   the club remains liable for all claims arising out of any event
                                    occurring before the date of cessation, but is under no liability
                                    for anything occurring after the date of cessation.
                       17.6   When a member ceases to be insured by virtue of rule 17.2(2), he
                              continues to be insured by the club in respect of wreck liabilities in
                              accordance with rules 3.6.3 and 3.8, and on such other terms as may
                              be agreed by the managers.
        Effect of      17.7   When a member’s insurance is cancelled under rule 17.3 the club
        cancellation          ceases to be liable for any claims in respect of any units and ships
        of insurance          entered by such member:
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                      (1)   which may arise by reason of any event occurring after the date
                            of cancellation; or
                      (2)   which have accrued or arisen during a policy year for which
                            sums remained owing but unpaid by the member in full or in part
                            at the date of cancellation; or
                      (3)   which may have accrued or arisen in any year other than one
                            referred to in (2) above, whether or not the club may have
                            admitted liability for such claims or may have known, at the date
                            of cancellation, that a claim was likely to accrue.




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        SECTION K: PREMIUM
        Premium      18.1   A member who has a unit entered in the club shall pay a fixed premium
                            in an amount agreed between the member and the managers.
                     18.2   Where, for any reason, a return of premium is due, then unless a
                            member notifies and submits his claim for reimbursement in writing
                            within three months, no allowance or return shall be made unless the
                            managers otherwise determine.
        Payment      19.1   Any premium or other sums due shall be designated in such currency,
                            and be payable in such manner and at such time, as the managers
                            may specify. If any sum due is not paid on the specified date, time
                            being of the essence, such member shall pay interest on the amount
                            outstanding from that date until the date of payment at such rate as the
                            board determines. The managers may, however, waive payment of
                            interest in whole or in part.
        Lien         19.2   The club is entitled to, and the member grants, a lien on the unit in
                            respect of any amount owed by the member to the club.
        Reserves     19.3   The board may:
                            (1)   establish and maintain such reserves or other accounts as it         03
                                  thinks fit;
                            (2)   transfer any sum standing to the credit of any policy year to any
                                  reserve;
                            (3)   apply the sums in any reserve for any purpose and may at any
                                  time transfer sums from one reserve to another.
        Investment   19.4   The funds of the club may be invested in any way the board may
                            determine.
                     19.5   Unless the board otherwise determines, all funds relating to any policy
                            year or reserve shall be pooled and invested as one fund.
                     19.6   The board may apply investment returns to any policy year or reserve
                            as it thinks fit.




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           SECTION L: GENERAL TERMS AND CONDITIONS
           Powers of      20.1   Whenever any power under these rules is:
           board and             (1)   vested in the board, it may be delegated to any subcommittee
           managers                    of the board or to the managers;
                                 (2)   conferred or imposed upon the managers, or is delegated to
                                       them under rule 20.1(1), it is exercisable by the managers, or by
                                       any authorised employee or agent.
                          20.2   Any power referred to in rule 20.1 is exercisable in the board’s, or the
                                 managers’, absolute discretion. The board and the managers are not
                                 required to give reasons for any decision or determination.
                          20.3   Whenever the managers’ agreement or approval is required by these
                                 rules, it must be given in writing, and no agreement or approval shall
                                 be of any effect in the absence of such written agreement.
           Notices        21.1   All notices and documents required by these rules to be given to the
                                 club or to the managers must be in writing and addressed to the
                                 managers.
                          21.2   All notices and documents required by these rules to be served on a
                                 member may be served as the managers decide either personally, or
                                 by post, fax or e-mail to him:
                                 (1)   at his address as recorded by the managers; or
                                 (2)   at any other address he has notified the managers as being his
                                       address for service; or
                                 (3)   at any address of a broker or agent through whom any unit has
                                       been entered in the club.
                          21.3   Every notice and document served personally is deemed served on
                                 the day of service; if served by post, fax or e-mail is deemed served on
                                 the second day after posting or sending. Proof of posting is sufficient
                                 proof of service by post, while the managers’ record of any electronic
                                 communication is sufficient proof of service by other means.
           Website        21.4   The managers may send or supply any notice or document to
                                 members by making it available on the club’s website, and it is deemed
                                 delivered when the relevant members are notified that it is available on
                                 the website.
           Law and        22.1   All insured parties submit to the jurisdiction of the English courts in
           jurisdiction          respect of any action brought by the club to recover any sums which
                                 the managers may consider to be due from an insured party. However
                                 the club is entitled to commence and maintain any action to recover
                                 any sums which the managers may consider to be due from an insured
                                 party in any jurisdiction.
                          22.2   If any other dispute between an insured party and the club arises out
                                 of or in connection with these rules, it must first be referred to the
                                 board notwithstanding that the board may have already considered the
                                 matter which has given rise to the dispute, and such reference shall be
                                 on written submissions only.



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                 22.3   No insured party is entitled to maintain any legal proceedings against
                        the club unless and until the matter has been submitted to the board
                        and the board has given its decision.
                 22.4   If, after the dispute has been referred to the board in accordance with
                        rule 22.2, an insured party does not accept the decision of the board,
                        the parties will attempt to settle it by mediation in accordance with the
                        CEDR model mediation procedure. Unless otherwise agreed between
                        the parties, the mediator will be nominated by CEDR. The mediation
                        will take place in London and in English. The mediation agreement
                        shall be governed by the substantive law of England. The English
                        courts shall have exclusive jurisdiction to settle any claim, dispute or
                        difference which may arise out of, or in connection with, the mediation.
                 22.5   If the dispute is not settled by mediation within 14 days of
                        commencement of the mediation or within such further period as the
                        parties may agree in writing, the dispute shall be referred to and finally
                        resolved by arbitration in London before two arbitrators, one to be
                        appointed by each of the parties, and an umpire to be appointed by the
                        two arbitrators. The submission to arbitration and all the proceedings
                        therein shall be subject to the Arbitration Act 1996 and any statutory
                        modifications thereof.                                                       03




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           SECTION M: DEFINITIONS
           23 In these rules the following words and expressions have the following meanings:
           The rules: the Offshore P&I rules of the club for the time being in force.
           The Act: The Standard Steamship Owners’ Protection and Indemnity Association (Bermuda)
           Limited Consolidation and Amendment Act 1994 and every modification thereof for the time
           being in force.
           The Bye-laws: the bye-laws for the time being of the club.
           The club: The Standard Steamship Owners’ Protection and Indemnity Association (Bermuda)
           Limited.
           Applicant: any person seeking to enter a unit on his own or another’s behalf or on whose behalf
           an application is made.
           Affiliated or associated charterer: where both the member or a joint entrant and the charterer
           are under common ownership or the member or a joint entrant or the charterer respectively
           either owns at least 50% of the shares in and voting rights of the others or owns a minority of
           the shares in the others and can procure that it is managed and operated in accordance with its
           wishes.
           Board: the directors for the time being of the club or, as the context may require, a quorum of
           directors present at a duly convened meeting of the board.
           Certificate of entry: a document issued pursuant to rule 12, including any endorsement thereto.
           Contract work: includes but is not limited to materials, components, parts, machinery, fixtures,
           equipment and any other property which is or is destined to become a part of the completed
           project which is the subject of the contract under which the unit is working, or to be used up or
           consumed in the performance or completion of such project.
           Crew: any person employed as part of the unit’s complement under the terms of a crew
           agreement or other contract of service or employment to serve on board the unit, whether or not
           on board that unit.
           Demise or bareboat charterer: a charterer who has sole possession of the unit and sole control
           of her management and crew.
           Effects: includes clothes, documents, navigation and other technical instruments and tools, but
           does not include valuables.
           Fines: includes penalties and other impositions similar in nature to fines.
           Group rating agreement: any agreement whereby the premium of the unit is assessed by
           reference to the record of any other units and ships which are or were entered through the group
           in the club, whether the units are in the same registered or beneficial ownership or not.
           Hull policies: the policies covering the hull and machinery of the unit, including excess liability
           policies.
           Insured party: the member, any joint entrant and any co-assured in respect of an entry.
           Liabilities: liabilities, costs and expenses incurred by a member.
           Managers: the managers for the time being of the club.
           Member: every owner or other person who becomes and is for the time being a member of the
           club.
           Owner: includes an owner, owners in partnership, owners holding separate shares in severalty,
           part owner, trustee, mortgagee, a demise or bareboat charterer, operator or manager, builder,
           insurer or reinsurer who enters the unit in the club or who is a joint entrant or co-assured.

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        Policy year: the year from noon GMT on the 20 February to noon GMT on the following 20
        February.
        Premium: includes any premium or other sums which may be due from an insured party.
        Ship: any ship or vessel or mobile or temporarily fixed craft other than the unit.
        Tonnage: the gross tonnage of the unit as stated in the Certificate of Registry or other official
        document relating to the registration of the unit, or as agreed by the managers.
        Underwater Vehicles: includes but is not limited to submarines, mini-submarines, remotely
        operated vehicles, untethered underwater vehicles, autonomous underwater vehicles, sea-
        ploughs, scarabs, diving bells, and similar equipment.
        The unit: a mobile offshore production or drilling unit which has been entered in the club for
        insurance, including the risers, flowlines and umbilicals (provided such risers, flowlines and
        umbilicals are not separated from the unit by any wellhead or well control equipment), floating
        hoses, buoyancy floats or tanks and mooring systems, or any other description of unit noted in
        the certificate of entry, but always excluding any wellhead, well control equipment, downhole
        equipment, or any part thereof whether or not on board or connected to the unit and any property
        below the drill floor or rotary table. For the purpose of club cover a drilling unit shall end
        immediately below the drill floor or rotary table, and any other unit shall end at the unit side of
        the point of connection with the wellhead or the well control equipment closest to the unit.
        Valuables: money, negotiable securities, gold, silverware, jewellery, ornaments or works of art.      03
        Well: includes wellheads and well control equipment.
        Wellhead: any wellhead, Christmas Tree, template, flowbase, manifold, or any other wellhead
        structure, wherever situated.
        Well control equipment: any blowout preventer, blowout preventer stack, diverter, control
        device, subsurface isolation valve or any other equipment used for control of well, wherever
        situated.
        Wilful misconduct: an act intentionally done or a deliberate omission by an insured party with
        knowledge that the performance or omission will probably result in injury or loss, or an act done
        or omitted in such a way as to allow an inference of a reckless disregard for the probable
        consequences.


        References to the masculine gender shall include the feminine gender.

        References to singular numbers shall include plural numbers and vice versa.

        References to persons shall include corporations.

        References to rule numbers shall include any sub-paragraphs of that rule.

        Headings and sub-headings are for reference only and do not affect the construction of any rule.




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           The Standard Steamship Owners’ Protection and Indemnity Association
           (Europe) Limited
           The Standard Steamship Owners’ Protection and Indemnity Association
           (Asia) Limited
           Offshore P&I rules
           The Offshore P&I rules of The Standard Steamship Owners’ Protection and Indemnity
           Association (Europe) Limited and The Standard Steamship Owners’ Protection and Indemnity
           Association (Asia) Limited shall be the same as the Offshore P&I rules of The Standard
           Steamship Owners’ Protection and Indemnity Association (Bermuda) Limited amended and
           varied as follows:
           Unless the context otherwise requires ‘the club’ means The Standard Steamship Owners’
           Protection and Indemnity Association (Europe) Limited or The Standard Steamship Owners’
           Protection and Indemnity Association (Asia) Limited as appropriate and references to ‘the Act’
           and/or ‘the bye-laws’ shall be references to the Memorandum and Articles of Association of the
           appropriate club.




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        The additional covers which follow do not form part of any member’s insurance unless
        and to the extent that they are expressly agreed and incorporated into the member’s
        certificate of entry.


        Offshore P&I war risks clause 2011
        Cover           1.1     Such liabilities as would be covered by the club and the member’s
                                terms of entry but for the exclusion of war risks in rule 4.3.
                        1.2     This clause shall only operate in respect of the standard risks in the
                                rules and shall not operate in respect of any special risks.
        Excluded areas 2.1      At any time or times before, or at the commencement of, or during the
                                policy year, the managers may determine that any places or areas be
                                excluded from the cover hereunder.
                        2.2     Unless otherwise agreed by the managers the cover shall cease in
                                respect of the places or areas so determined in accordance with
                                paragraph 2.1 upon the expiry of seven days from midnight on the
                                day notice of such determination is given by the managers to
                                the members.
        Cancellation    3       Cover may be cancelled by either the club or the member giving seven
                                days notice (such cancellation becoming effective upon the expiry of
                                seven days from midnight on the day on which notice is issued by or
                                to the club). The club agrees however to reinstate cover subject to
                                agreement with the member prior to the expiry of such notice as to
                                new terms of entry.
        Automatic       4       Whether or not such notice of cancellation has been given, cover shall
        termination             terminate automatically:
        of cover        4.1     upon the outbreak of war (whether there be a declaration of war or
                                not) between any of the following:
                                the United Kingdom, the United States of America, France, the
                                Russian Federation, the People’s Republic of China;
                        4.2     in respect of any unit if it is requisitioned either for title or use.
        Five powers     5       This cover excludes
        war and         5.1     loss, damage, liability or expense arising from:
        nuclear
                        5.1.1   the outbreak of war (whether there be a declaration of war or not)            05
        exclusions
                                between any of the following:
                                the United Kingdom, the United States of America, France, the
                                Russian Federation, the People’s Republic of China;
                        5.1.2   requisition either for title or use;
                        5.2     liabilities (irrespective of whether a contributory cause of the same
                                being incurred was any neglect on the part of the member or his
                                servants or agents) when the loss or damage, injury, illness or death
                                or other accident in respect of which such liability arises or cost or
                                expense is incurred, was directly or indirectly caused by or arises
                                from:
                                (i)   ionising radiations from or contamination by radioactivity from
                                      any nuclear fuel or from any nuclear waste or from the
                                      combustion of nuclear fuel; or

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                                    (ii)    the radioactive, toxic, explosive, or other hazardous or
                                            contaminating properties of any nuclear installation, reactor or
                                            other nuclear assembly or nuclear component thereof; or
                                    (iii)   any weapon or device employing atomic or nuclear fission
                                            and/or fusion or other like reaction or radioactive force or matter;
                                            or
                                    (iv)    the radioactive, toxic, explosive or other hazardous or
                                            contaminating properties of any radioactive matter,
                                    other than liabilities arising out of carriage of 'excepted matter' (as
                                    defined in the Nuclear Installations Act 1965 of the United Kingdom or
                                    any regulations made thereunder) as cargo in the unit.
           Chemical,        6       This paragraph 6 overrides anything contained in this insurance
           biological,              inconsistent therewith.
           bio-chemical,    6.1     In no case shall this insurance cover loss damage liability or expense
           electromagnetic          directly or indirectly caused by or contributed to by or arising from:
           weapons and
                            6.1.1   any chemical, biological, bio-chemical or electromagnetic weapon;
           computer virus
           exclusion clause 6.1.2   the use or operation, as a means for inflicting harm, of any computer
                                    virus.
           Maintenance      7       Where the unit is entered by the member as an owner’s entry the
           of standard              member will maintain standard hull war risks cover with P&I inclusion
           hull war risks           clauses attached for not less than the hull value of the unit and this
           cover                    cover will respond only in excess of claims recoverable thereunder.
           Deductible       8       The deductible shall be that set out in the member’s certificate of
                                    entry.
           Limit            9       The limit of club cover shall be that set out in the certificate of entry or
                                    US$150 million, any one event or series thereof in the aggregate,
                                    whichever is the lesser.




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        Offshore bio-chemical risks inclusion clause 2011
        Cover          1.1   The liability of the member:
                             (1)   to pay damages, compensation or expenses arising out of crew
                                   injury, illness or death (including deviation expenses,
                                   repatriation and substitute expenses and shipwreck
                                   unemployment indemnity),
                             (2)   for the legal costs and expenses incurred solely for the purpose
                                   of avoiding or minimising any liability or risk insured by the club
                       1.2   where such liability is not recoverable under the cover provided by the
                             club for such liabilities and losses as would be covered under the
                             Offshore P&I rules of the club
                       1.3   solely by reason of the operation of an exclusion of liabilities and
                             losses directly or indirectly caused by or contributed to by or arising
                             from
                             (1)   any chemical, biological, bio-chemical or electromagnetic
                                   weapon
                             (2)   the use or operation, as a means for inflicting harm, of any
                                   computer virus,
                       1.4   other than liabilities and losses arising from:
                             (1)   explosives or the methods of the detonation or attachment
                                   thereof
                             (2)   the use of the unit or its cargo as a means for inflicting harm,
                                   unless such cargo is a chemical, biological or bio-chemical
                                   weapon
                             (3)   the use of any computer, computer system or computer
                                   software programme or any other electronic system in the
                                   launch and/or guidance system and/or firing mechanism of any
                                   weapon or missile.
        Excluded areas 2.1   Unless and to the extent the board may otherwise decide, there shall
                             be no recovery in respect of any liabilities and losses directly or
                             indirectly caused by or contributed to by or arising out of any event
                             within the places or areas or during such period as may be specified
                             from time to time.
                       2.2   At any time or times before, or at the commencement of, or during the
                                                                                                         05
                             policy year, the club may by notice to the member change the places
                             or areas and periods specified in paragraph 2.1 from a date and time
                             specified by the club not being less than 24 hours from midnight on
                             the day the notice is given to the member.
        Cancellation   3     Cover may by notice to the member be cancelled by the club from a
                             date and time specified by the managers, not being less than 24 hours
                             from midnight on the day notice of cancellation is given to the member.
        Deductible     4     The deductible shall be that set out in the member’s certificate
                             of entry.




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           Limit of cover   5.1   Subject to paragraph 5.2 the limit of club cover under this extension in
                                  respect of all claims shall be in the aggregate US$10 million each unit
                                  any one event or series thereof arising from any one event.
                            5.2   In the event that there is more than one entry by any person for
                                  bio-chemical risks cover as provided herein in respect of the same
                                  unit with the club, the aggregate recovery in respect of all liabilities
                                  and losses arising under such entries shall not exceed the amount
                                  stipulated in paragraph 5.1 and the liability of the club under each
                                  such entry shall be limited to such proportion of that amount as the
                                  claims arising under that entry bear to the aggregate of all such claims
                                  recoverable from the club.




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        Offshore liability extension clause 2011
        Scope of cover 1.1      Liabilities incurred by the member set out hereunder subject to the
                                terms, conditions, limitations and exceptions of the Offshore P&I rules
                                of the club to the extent that they are not inconsistent herewith and
                                which have arisen by reason of the member’s interest in the unit out
                                of events occurring during the period of entry of the unit in the club.
                        1.2     The exclusions to rule 3.6 set out in paragraphs (2) a and c, to rule 3.8
                                set out in paragraph (4), and set out in rule 5.9 paragraphs (3) and (4)
                                and rule 5.11 paragraph (3) shall not apply.
        Risks covered   2
        Property        2.1.1   Liabilities arising out of loss of or damage to any property not owned,
                                chartered, hired or leased by the member or by any company affiliated
                                to or associated with the member.
                        2.1.2   Liabilities incurred under indemnities given by the member in respect
                                of property on board or being used from the unit.
        Personnel       2.2.1   Liabilities arising out of the death or illness of or injury to any person
                                employed by the member where such death, injury or illness occurs in
                                the course of that person’s work, including attendance on safety and
                                other work-related courses, visits or temporary assignment to other
                                offshore installations and vessels, and travel and rest periods
                                necessary to perform such work.
                        2.2.2   Liabilities arising out of the death or illness of or injury to any other
                                person.
        Chartered ships 2.3.1   Liabilities arising out of operations carried out on behalf of the member
                                or an associated or affiliated company as charterer or hirer of ships to
                                support the operations of the unit;
                        2.3.2   Liabilities incurred by the member his capacity as charterer or hirer of
                                ships to support the operations of the unit.
                                Exclusions to paragraph 2.3
                                There shall be no recovery under paragraph 2.3:
                                (1)   for liabilities which do not fall within the standard risks set out in
                                      rule 3 of the P&I rules of the club, including liabilities which arise
                                      under the terms of an indemnity or contract falling outside the
                                      standard rule 3 cover;                                                   05
                                (2)   in respect of liabilities which would have been recoverable
                                      under the chartered or hired ship’s P&I entry had it been fully
                                      entered for standard P&I risks with a member of the
                                      International Group of P&I clubs;
                                (3)   if the relevant charterparty or contract of hire does not contain
                                      a knock-for-knock provision as defined in Section N of the P&I
                                      rules of the club, unless otherwise agreed by the managers.




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           Pollution      2.4.1   Liabilities under the terms of any contract in respect of remedial
                                  measures and/or personal injury and/or death and/or loss of, damage
                                  to or loss of use of property, caused directly by seepage, pollution or
                                  contamination from any hole or well in respect of which the unit is
                                  employed or utilised.
                          2.4.2   Liabilities in respect of removing, nullifying, or cleaning up seeping,
                                  polluting, or contaminating substances emanating from any hole or
                                  well in respect of which the unit is employed or utilised, including the
                                  cost of containing and/or diverting the substances and/or preventing
                                  the substances reaching the shore, provided always that liability for
                                  such seepage, pollution or contamination is incurred by the member
                                  by reason of his fault or negligence and results from an event taking
                                  place during the period of cover under this clause.
           Clean-up costs 2.5     Liabilities in connection with the clean-up of debris, tools, machinery
                                  or equipment lost or deposited on the sea-bed as a result of a
                                  casualty.
           Sue and labour 2.6     Extraordinary costs and expenses reasonably incurred on or after the
                                  occurrence of any event liable to give rise to a claim upon the club and
                                  incurred solely for the purpose of avoiding or minimising any liability
                                  against which the member is insured by the club, but only to the extent
                                  that those costs and expenses have been incurred with the prior
                                  agreement of the managers, or to the extent that the board
                                  determines.
                                  Exclusion to paragraph 2.6
                                  Unless the managers or the board otherwise decide, there shall be
                                  deducted from such costs and expenses the deductible which would
                                  have been applicable had the liability or expenditure against which the
                                  member is insured by the club been incurred.
           Legal costs    2.7     Legal costs and expenses relating to any liabilities which in the
                                  opinion of the managers are likely to result in a claim covered by this
                                  extension, but only to the extent that such legal costs and expenses
                                  have been incurred with the agreement of the managers.
           Exclusions     3       There shall be no recovery for liabilities:
                                  (1)   for which the member would be covered if the unit were entered
                                        in the club with full unlimited cover under the Offshore P&I rules;
                                  (2)   which do not arise out of operations or activities for which the
                                        member is legally liable either as owner, operator or charterer of
                                        the unit or as employer of personnel performing operations or
                                        activities relating to the unit, unless otherwise agreed by the
                                        managers;
                                  (3)   which could reasonably have been avoided by the use of the
                                        unit, or of the member’s own equipment or personnel;
                                  (4)   relating to the loss of or damage to or replacement, recovery,
                                        removal or clean-up of any tool, machinery or equipment or part
                                        thereof whilst below the surface of the seabed in any hole or
                                        well in respect of which the unit is employed or utilised;



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                           (5)   arising out of wear and tear, gradual deterioration, latent defect,
                                 mechanical or electrical breakdown or failure, corrosion or other
                                 atmospheric damage, or extremes of temperature;
                           (6)   arising out of loss of or damage to any ship chartered or hired
                                 by the member or an associated or affiliated company to support
                                 the operations of the unit;
                           (7)   arising out of the use, ownership or possession of motor
                                 vehicles on public highways compulsorily insurable by
                                 legislation or for which the government or other authority has
                                 accepted responsibility;
                           (8)   arising out of the death or illness of or injury to any person
                                 recoverable under any applicable state scheme or collective
                                 agreement, including such liabilities which are not recoverable
                                 under such scheme or agreement by reason of a breach of the
                                 relevant terms or conditions;
                           (9)   arising out of an interest as owner, operator or charterer, or by
                                 reason of an agreement for the lease, rental or hire, of any
                                 aircraft and/or helicopter.
        Scope of
        recovery and
        limits
        Net loss       4   If a member incurs any of the liabilities set out in paragraph 2, he is
                           entitled to recover the net amount of such liabilities, after deduction of
                           any costs and expenses which would have been incurred in any event
                           together with any savings accruing to him and any recoveries made or
                           additional revenue earned by him, unless otherwise agreed by the
                           managers.
        Deductible     5   The applicable deductible and limit of club cover shall be that set out
        and limit          in the member’s certificate of entry
        of cover




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   RULES AND CORRESPONDENTS




   06
          OIL SPILLS IN THE UNITED STATES
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             Any oil pollution incident in the United States must be reported
             immediately to LeRoy Lambert at the managers’ New York ofﬁce:

             Charles Taylor P&I Management (Americas), Inc
             80 Broad Street
             32nd Floor
             New York
             New York 10004
             Tel: +1 212 809 8085
             Fax: +1 212 968 1978
             After hours:
             LeRoy Lambert    h: +1 973 378 9243
                              m: +1 973 444 2683
                              e: leroy.lambert@ctcplc.com
             Ryan Puttick     m: +1 646 321 1494
                              e: ryan.puttick@ctcplc.com
             Oliver Hutchings m: +1 917 412 1773
                              e: oliver.hutchings@ctcplc.com




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   RULES AND CORRESPONDENTS




   07
          MAPS AND CORRESPONDENTS
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                The correspondent listing is regularly updated
                and can be found on the club’s website:

                www.standard-club.com




                The emergency telephone is manned
                on a 24 hour basis and should be used when
                notifying the club of new matters arising
                outside normal ofﬁce hours.


                +44 7932 113573




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                                                                                                                                              MURMANSK




     REYKJAVIK




                                                                                                                                                               ARKHANGELSK



                                                             MAALOY     AAHEIM




                                                    MONGSTAD
                                                       BERGEN
                                                                                                                  HELSINKI
                                                                           OSLO
                                                                                                                                         ST. PETERSBURG
                                                                                         STOCKHOLM
                                                                                                                        TALLINN


                                                                                   GOTHENBURG
                                                                      AALBORG                                   VENTSPILS

                                                                        AARHUS      HELSINGBORG                         RIGA
                                                                                            KARLSHAMN         LIEPAJA
                                                                                     COPENHAGEN
                                                                           ESBJERB                             KLAIPEDA                                   MOSCOW
                                                                   CUXHAVEN            MALMO
                                                               BREMERHAVEN KIEL LÜBECK
                                                                                               GDYNIA      KALININGRAD
                                                              NORDENHAM
                                                          WILHELMSHAVEN              ROSTOCK          GDANSK
                   DUBLIN                                                      HAMBURG
                                                  GRONINGEN EMDEN                          SZCZECIN
                                     FLUSHING                              BREMEN
                                    ZEEBRUGGE         IJMUIDEN                                                                    KIEV
                                                                           BRAKE
                 CORK                  OSTEND                              DELFZIJL
                                      DUNKIRK                 AMSTERDAM
                                                                           EEMSHAVEN
                                      LONDON                 ROTTERDAM
                                               CALAIS
                                                            ANTWERP
                                         BOULOGNE
                                                     GHENT
                                CHERBOURG          DIEPPE TERNEUZEN
                                        LE HAVRE    ROUEN

                        BREST
                                       ST MALO       PARIS
                            LORIENT
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                               MONTOIR     DONGES
                               ST. NAZAIRE   NANTES                                                                                                                               NYKOLAYEV
                                                                                                      PORTO NOGARO                                                   ODESSA                        ZHDANOV
                                           LESSABLES D’OLONNE                                                                                                                       KHERSON
                                                                   PORT ST. LOUIS-DU-RHONE              MONFALCONE                                                                              MARIUPOL
                                                                                  GENEVA                  TRIESTE                                                  RENI     ILYICHEVSK
                           LA ROCHELLE-PALLICE                       FOS-SUR-MER
                                                                                            VENICE            RIJEKA
                                                                                                                                                               GALATZ IZMAIL
                                                                      PORT                          KOPER                                                             BRAILA
                                                   BORDEAUX           DE-BOUC        GENOA                                                       BUCHAREST
                                                                             SAVONA                                                                                                                   NOVOROSSIISK
                                                                                        LA SPEZIA                 ZADAR
                                                                         IMPERIA                   RAVENNA
                                                                                                                      SIBENIK                           CONSTANTZA                                        TUAPSE-PORT
                       AVILES                   BAYONNE       SETE                           LIVORNO
                                GIJON                                           MONACO
                                               PASAJES                      TOULON                ANCONA          SPLIT                                   VARNA
          LA CORUNA                 BILBAO                                              BASTIA                                DUBROVNIK         SOFIA
                                                    PORT-LA-NOUVELLE MARSEILLES                                                                        BOURGAS
                   VIGO                                                                CALVI
                                                                             AJACCIO                 CIVITAVECCHIA                  BAR                                                                            POTI
                                                       PALAMOS                                                                                                                                             BATUMI
          LEIXOES                                BARCELONA                                                                           DURRES
                    OPORTO                                                                       GAETA      NAPLES        BARI                              ISTANBUL
                                                                      PORTO TORRES                                                        THESSALONIKI
                                                                                          OLBIA
           AVEIRO                                                                                      SALERNO                 PORT OF
                   FIGUEIRA DA FOZ                            PALMA DE                                             TARANTO BRINDISI
                                                              MALLORCA
                                          VALENCIA                                     CAGLIARI
                                                                                                     TERMINI
                 LISBON                                                                 SARROCH      IMERESE MILAZZO
                                                                      SAINT ANTIOCO                                      CROTONE
                                         ALICANTE                                                PALERMO                                    PIRAEUS             IZMIR
                                                                                      TRAPANI                        MESSINA
                   SINES                                                                                            RIPOSTO
                                                                                            MARSALA                             CATANIA
                                                                                  BIZERTE
                 HUELVA        MALAGA                                     ANNABA                                   AUGUSTA                                                               MERSIN
                                            ALMERIA       ALGIERS                                                               SYRACUSE
                       CADIZ                                                                                  GELA
                                                                        SKIKDA             TUNIS                                                                                                 ISKENDERUN
                                GIBRALTAR                                                                  LICATA
                    ALGECIRAS                                                                                                                                                        FAMAGUSTA
                     TANGIER CEUTA          ORAN                                     SOUSSE         PORTO        VALETTA                                                         KYRENIA        LATTAKIA
                                                                                                    EMPEDOCLE                                                                    NICOSIA          BANIAS
                                   MELILLA                                                                                                                                                       TARTOUS
                                                                                                                                                                              LIMASSOL LARNACA
                                                                                              SFAX
                                                                                  GABES
                                                                                                                                                                                              BEIRUT
                    CASABLANCA                                                            ZUARA                                                                                               HAIFA
                                                                                                  TRIPOLI     MISURATA                                                             TEL AVIV
                                                                                                                                  BENGHAZI                                                   AMMAN
                                                                                                                                                                     DAMIETTA            ASHDOD
                                                                                                                                                          ALEXANDRIA             PORT SAID

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                                                                                                                                                                                                             JEDDAH




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                                                                                    GROS CACOUNA




     ANCHORAGE


                         SKAGWAY
                          JUNEAU


                            KETCHIKAN
                 SITKA




                                                                                                                               BAIE COMEAU
                                                                                                                                   PORT CARTIER
                                      VANCOUVER                                                                  PORT ALFRED
                                                                                                                   QUEBEC           GASPE
                                      SEATTLE                                                                                  RIMOUSKI           ST. JOHN'S
                                      TACOMA                               DULUTH
                                                                                                         MONTREAL                SAINT JOHN
                                    PORTLAND                                                           TORONTO                        HALIFAX
                                                                                                                         PORTLAND
                                                                             MILWAUKEE       DETROIT
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                                                                                CHICAGO             CLEVELAND
                                                                                          TOLEDO                NEW YORK
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                                                                                                           BALTIMORE
                                   SAN FRANCISCO
                                                                                                           NORFOLK
                                                                                                           PORTSMOUTH
                                      LOS ANGELES                                       FERNANDINA
                                                                     LAKE CHARLES                         WILMINGTON
                                         LONG BEACH                                 BATONROUGE
                                                                                                      CHARLESTON
                                          SAN DIEGO                               NEW ORLEANS                                    HAMILTON
                                                                                                    SAVANNAH
                                           ENSENADA                                    MOBILE      BRUNSWICK
                                                                 BEAUMONT
                                                               HOUSTON                            JACKSONVILLE
                                                                                      PENSACOLA
                                                                            FREEPORT                  PORT EVERGLADES
                                                                GALVESTON
                                                      CORPUS CHRISTI                     TAMPA        FORT LAUDERDALE
                                                                               PORT CANAVERAL          FREEPORT
                                                        BROWNSVILLE                          MIAMI
                                                                                                        NASSAU
                                                                                                                                                               se 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 84 of 2
                                                           GUAYMAS PUERTO CORTES                                                 PORT AU PRINCE
                                                                     SAN PEDRO SULA                                              SANTO DOMINGO
                                                 LA PAZ    MAZATLAN         PROGRESO
                                                                                        HAVANA CAYMAN ISLANDS
                                                                                                                                 SAN JUAN
                                                                 VERACRUZ               BLUEFIELDS KINGSTON                      ST. THOMAS
                    HONOLULU                 PUERTO  VALLARTA              CLUDAD
                                                           MEXICO CITY     DEL
                                                                           CARMAN
                                  LAZARO CARDENAS                              BELIZE    PERTO
                                                    MANZANILLO      ACAPULCO             CASTILLA    CARTAGENA
                                     PUERTO BARRIOS
                                         CHAMPERICO                                         CRISTOBAL BARRANQUILLA      POINTE-A-PITRE
                                              SAN JOSE                                       SAN                ARUBA         BARBADOS
                                                                                             ANDRES             CURACAO
                                         GUATAMALA CITY                                      ISLAS              BONAIRE                                           PUERTO CABELLO
                                                 ACAJUTLA                                                                                                         LA GUAIRA
                                              SAN SALVADOR                                                                    PORT OF SPAIN                       CARACAS
                                                      LA UNION
                                                                                                             LA CEIBA              PUERTO LA CRUZ
                                                PUERTO SANDINO                                                                     PUERTO ORDAZ
                                                          MANAGUA                        BALBOA             MARACAIBO
                                                                                                    CALI
                                                            CORINTO                                         BOGOTA
                                                      SAN JUAN DEL SUR                    TURBO                                     PARAMARIBO
                             For all                            SAN JOSE                                   SANTA MARTA
                                                              PUNTARENAS                                                        GEORGETOWN
                         Mexican Ports                        PUERTO LIMON
                                                                                        TUMACO                BUENA
                         See Mexico City                                                                      VENTURA
                                                                                                                                        BELEM            ITAQUI
                                                                                   GUAYAQUIL
                                                                                                                               MANAUS         SAO LUIS
                                                                               PUERTO BOLIVAR                                                                      FORTALEZA
                                                                                                                                                              NATAL
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                                                                                           CALLAO                                                                    ARACAJU
                                                                                                     LIMA
                                                                                                                                                                    SALVADOR



                                                                                                        ARICA                                                     TUBARAO
          PAPEETE                                                                                     IQUIQUE                                                     VITORIA

                                                                                                                                                       RIO DE JANEIRO
                                                                                                ANTOFAGASTA                                        SANTOS
                                                                                                   CHANARAL                       ASUNCION       PARANAGUA
                                                                                                                 CALDERA


                                                                                                    COQUIMBO                                   PORTO ALEGRE

                                                                                                                                              RIO GRANDE
                                                                                                  VALPARAISO         ROSARIO
                                                                                                                                      MONTEVIDEO
                                                                                                                    BUENOS AIRES
                                                                                                    LIRQUEN
                                                                                                               BAHIA BLANCA        NECOCHEA

                                                                                                PERTO MONTT




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                                                                                                                                                                                    se 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 85 of 2
                                                                                                                                                             BANDAR ANZALI




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                                                                                                                                                          TEHRAN
                                                                                                                                          BAGHDAD
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                                   FUNCHAL                                                                                                  ABADAN
     AZORES                                                                                                                                         BANDAR IMAM KHOMEINI
                   PONTA DELGADA                                                                                                                      BANDAR BUSHIRE
                                             AGADIR                                                                                        BASRAH
                                                                                                                                                                   BANDAR ABBAS
                                                                                                                                           KUWAIT
                     SANTA CRUZ                                                                                                                           SHARJAH  RAS AL KHAIMAH
                                    LAS PALMAS                                                                                         KHORRAMSHAHR                FUJEIRA
                                                                                                                                         RAS TANURA BAHRAIN
                                                                                                                                                                   RUWI BANDAR CHABAHAR
                                                                                                                                             DAMMAM
                                                                                                                                                                                  KARACHI
                                                                                                                                                    DOHA            MINA AL FAHAL
                                                                                                                                                                    MUSCAT                                              DHAKA
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                                                                                                                                                                                   MUMBAI
                                    NOUAKCHOTT
     ST. VINCENT                                                                                                          MASSAWA                                                              MORMUGOA
                                                                                                                                           SALEEF
                                                                                                                           ASMERA           HODEIDAH
                        DAKAR                                                                                                                                                     NEW MANGALORE
                                                                                                                                      MOCHA
                         BANJUL                                                                                                                ADEN                                                        CHENNAI
                                                                LOME                                                                 ASSAB                                                MANGALORE
                          BISSAU
                                                                COTONOU                                                             DJIBOUTI
                                                        ACCRA                                                                                   BERBERA                                      COCHIN
                            CONAKRY
                                                        TEMA     APAPA
                            FREETOWN
                                                   TAKORADI
                                MONROVIA                           LAGOS                                                                                                                         COLOMBO
                                                                 WARRI   CALABAR
                                      SAN PEDRO
                                                           PORT HARCOURT            DOUALA                                                        MOGADISHU
                                                 ABIDJAN
                                                                       LIBREVILLE
                                                                                    OWENDO
                                                                 PORT GENTIL

                                                                        POINTE NOIRE          KINSHASA
                                                                                                                                      MOMBASA
                                                                            CABINDA    BOMA                                          TANGA
                                                                              BANANA MATADI                                           DAR-ES-SALAAM                   MAHE

                                                                              LUANDA
                                                                                                                                       MTWARA

                                                                              LOBITO




                                                                                                                            BEIRA                                            PORT LOUIS
                                                                                                                                                                      POINTE DES GALETS/PORT REUNION
                                                                             WALVIS BAY


                                                                                                                      MAPUTO

                                                                                                                    RICHARDS BAY
                                                                                                          DURBAN


                                                                                                              EAST LONDON
                                                                                     CAPE TOWN
                                                                                                         PORT ELIZABETH
                                                                                                                                                                                                                                se 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 86 of 2
                                                                               NAKHODKA

                                      BEIJING
                                         TIANJIN           DALIAN
                                                              INCHON     SEOUL
                                               QINGDAO                    ULSAN              TOKYO
                                                                               KOBE
                                       LIANYUNGANG               YOSO    PUSAN               YOKOHAMA
                                                                         MOJI  OSAKA
                                                                                          NAGOYA
                                                                    NAGASAKI
                                                   SHANGHAI
                                                      NINGPO




                                                      KEELUNG
                                                                TAIPEI
                                   GUANGZHOU
          CHITTAGONG                                            KAOHSIUNG
                                      HONG KONG
                         HAIPHONG



                 RANGOON

                                                                  MANILA
                          BANGKOK


                                      HO CHI MINH CITY
                                                                                                     GUAM


               PENANG                   KOTA KINABALU
                                                              SANDAKAN
               PORT KELANG                   MIRI
                                                          TAWAU
                                        BINTULU
                                               SIBU
                       SINGAPORE    KUCHING




                                     JAKARTA

                                                   SURABAYA

                                                                                                            PORT MORESBY




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58
                                                   DARWIN

                                                                                   WEIPA




                                                                                                     CAIRNS
                                                                                                                                                                                      LAUTOKA
                                 BROOME                                                                                                                                                         SUVA
                                                                                                     TOWNSVILLE

                                PORT HEDLAND
             DAMPIER
                        PORT WALCOTT                                                                MACKAY
                                                                                                               HAY POINT                           NOUMEA

                                                                                                                  GLADSTONE
                                                                                                                                                                                         PAGO PAGO




                                                                                                                       BRISBANE



     GERALDTON


          PERTH
                  FREMANTLE
                                                                                                                NEWCASTLE
                                                            THEVENARD
                  BUNBURY
                                       ESPERANCE                                                              SYDNEY

                       ALBANY                                           ADELAIDE                          PORT KEMBLA
                                                    PORT LINCOLN


                                                                                                      EDEN                                                                  AUKLAND
                                                                         PORTLAND      MELBOURNE                                                                              MOUNT MAUNGANUI

                                                                             GEELONG                                                                                              GISBORNE
                                                                                                                                                         NEW PLYMOUTH
                                                                                                                                                                             NAPIER

                                                                              BURNIE       DEVONPORT                                                                     WELLINGTON
                                                                                             LAUNCESTON

                                                                                           HOBART
                                                                                                                                            CHRISTCHURCH
                                                                                                                                                                LYTTELTON
                                                                                                                                                 TIMARU

                                                                                                                                                         PORT CHALMERS
                                                                                                                                  INVERCARGILL      DUNEDIN
                                                                                                                                                 BLUFF
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                                                                                                 M                                                                                                                              Z                       A                                                                         H                                                     M
                                                                                                                                                                                                           P                                                                                                  F*
                                                                                                                     W                                                                                                  O                                                  C                                                                                                  L
                                                                                                         M*                                                                                                                                                                             D                                                                                                     M*
                                                                                                                              W           U           S                                                                                                                                                                           H               I*
                                                                                                                                                                              Q                                                                             B                                                                                                 K                   L*
                                                                                                  M                                                                                                                             Z                                                                                                                                             *
                                                                                                                                                                                          P                                                                                                                                                                               K             M

                                                                                                                                                                                                                                                                                                                                                               K
                                                                                                                                                                                                                                                                                                                                                                                                                     WORLD MAP OF TIME ZONES




                                                                                                                                                                                                  Q                                            Standard Time = Universal Time + value from table
                                                                                                                STANDARD TIME ZONES                                                                                                 h m                        h m                      h m                      h m                          h m
                                                                                                                                                                                                                                                                                                                                                                              M
                                                                                                                                                                                                               O




                 Map kindly supplied by HM Nautical Almanac Ofﬁce at
                                                                                                                         Zone boundaries are approximate                                                                Z         0                E*       + 5 30         K        +10             N        -1              T        -7
                                                                                                                                                                                                                        A       +1                 F        +6             K*       +10 30          O        -2              U        -8
                                                                                                              Daylight Saving Time (Summer Time),                                                                       B       +2                 F*       + 6 30         L        +11             P        -3              U*       - 8 30
                                                                                                             usually one hour in advance of Standard                                                                    C       +3                 G        +7             L*       +11 30          P*       - 3 30          V        -9




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                                                                                                                   Time, is kept in some places                                                                         C*      + 3 30             H        +8             M        +12             Q        -4              V*       - 9 30
                                                                                                                                                                                                                        D       +4                 I        +9             M*       +13             R        -5              W        -10
                                                                                                               Map outline © Mountain High Maps                                                                         D*      + 4 30                                     M†       +14             S        -6              X
                                                                                                                                                                                                                                                   I*       + 9 30                                                                    -11
                                                                                                            Compiled by HM Nautical Almanac Office                                                                      E       +5                                                                                           Y        -12                          ‡
                                                                                                                                                                                      P                                                                         ‡ No Standard Time legally adopted

                                                                                      180°                                   150°W            120°W               90°W                    60°W                     30°W                   0°                   30°E                 60°E                    90°E             120°E                        150°E                        180°




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                                  E-mail:           ccvhp88@hotmail.com
                                  Contact:          Ms C. Van Helden          2273 5116
                                                                              7883 2553 (Mobile)
                                                                              van.helden@integra.com.sv

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                                  Telephone:        4524792
                                  Facsimile:        4525117
                                  Address:          c/o REMASUR SA CV
                                                    Operation Building Cepa
                                                    First Floor, Acajutla
                                                    El Salvador
                                  E-mail:           remasur@navegante.com.sv
                                  Contact:          Mr M. Guillen           4523447
                                                                            8534140 (Mobile)
                                                                            ops-ajt@navegante.com.sv

      ACAPULCO Mexico                                                                  See Mexico City
      Charles Taylor Consulting
      Mexico S.A. de C.V.

      ACCRA Ghana                                                                      See Tema

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      Bayside Shipping Services   Area code:        (61-2)
      Pty Ltd.                    Telephone:        9918 8306
                                  Facsimile:        8324 6486
                                  Address:          P.O. Box 692, Avalon, Sydney, NSW 2107
                                  E-mail:           steve@baysideshipping.com
                                  Contact:          S. Robertson               420 982411 (Mobile)
                                  (In case of communication difficulty, please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                  Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)

      Wallmans                    Area code:        (61-8)
      (Lawyers)                   Telephone:        8235 3000
                                  Facsimile:        8232 0926
                                  Address:          173 Wakefield Street
                                                    Adelaide, S.A. 5000
                                  Contact:          Mr Ian Maitland                    8388 5543
                                                                                       (0407) 297 067 (Mobile)
                                                                                       ian.maitland@wallmans.com.au




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     ADEN Yemen, Republic of
     The Hodeidah Shipping &   Area code:   (967-2)
     Transport Co. S.Y.C.      Telephone:   246 010/019/021
                               Facsimile:   246 013/246 014
                               Address:     P.O. Box 5106
                                            Maala, Aden
                               Website:     www.hodship.aden.com.ye
                               Contact:     Mr N. Chevriot          240 883
                                                                    733762001 (Mobile)
                                                                    pni-aden@hodship.aden.com.ye
                                            Capt. M. Atoofa         242690
                                                                    733264001 (Mobile)
                                            Capt. A. A. Ali         203237
                                                                    733762504 (Mobile)

     Gulf Agency Co. (Yemen)   Area code:   (967-2)
     Ltd.                      Telephone:   247161/247162
                               Facsimile:   247163
                               Address:     P.O. Box 5202
                                            Ma’alla, Plaza, Madram Road, Aden
                               E-mail:      yemen@gac.com
                               Website:     www.gac.com
                               Contact:     Mr H. Al Saqaf            349096
                                                                      777176131 (Mobile)
                                                                      hisham.saqaf@gac.com
                                                                      733218919 (Mobile)
                                            Mr R. George              777176135 (Mobile)
                                            Mr S. Warrier             240279
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     AGADIR Morocco                                                     See Casablanca

     AJACCIO Corsica                                                    See Marseille

     ALBANY Australia                                                   See Perth

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                               Facsimile:   481 5600/496 2000
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                                            Alexandria Port, Gate No. 14
                                            Alexandria 21534
                               E-mail:      mail@eldibpandi.com
                               Website:     www.eldibpandi.com
                               Contact:     Mr A. Fahmy                  484 6509
                                                                         (12) 214 3213 (Mobile)
                                            Mr A. Metwally               545 6154
                                                                         (12) 327 3624 (Mobile)
                                            Mr M. Hassan                 534 7265
                                                                         (12) 327 3603 (Mobile)



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se 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 99 of 2
      ALEXANDRIA Egypt continued
      Middle East Survey and       Area code:   (20-3)
      Control Office               Telephone:   486 1445/485 4001/2
                                   Facsimile:   487 4435
                                   Address:     7 Saad Zaghloul Square
                                                Alexandria
                                   E-mail:      mesco@mescoalex.com
                                   Contact:     Mr A. El Sabbagh          (12) 213 0799 (Mobile)
                                                Mr I. Hamza               (12) 319 9155 (Mobile)
                                                Mr R. Farouk              (10) 091 6071 (Mobile)

      ALGECIRAS Spain
      Marinsur                     Area code:   (34-956)
                                   Telephone:   58 96 38
                                   Facsimile:   66 46 86
                                   Address:     c/Alfonso XI, 5 – 4°B
                                                11201 Algeciras
                                                Cadiz, Spain
                                   E-mail:      info@marinsur.com
                                   Website:     www.marinsur.com (under construction)
                                   Contact:     Mr Felix Patino          634 347
                                                                         (609) 83 15 82 (Mobile)
                                                                         fpatino@marinsur.com
                                                Mr Jose Carlos Colomina 570 345
                                                                         (609) 83 15 92 (Mobile)
                                                                         jcolomina@marinsur.com

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      ‘Seamar’ Societe d’Etudes    Area code:   (213-21)
      Juridiques et d’Assistance   Telephone:   56 48 26/56 48 27/56 48 49
      Maritime                     Facsimile:   44 93 26
                                   Address:     Residence Des 102 Logts Tour Sidi Yahia
                                                Cage A BT 01 Logt
                                                N.9 Saïd Hamdine
                                                Bir Mourad Raïs Alger
                                   E-mail:      seamar99@yahoo.fr
                                   Contact:     Mr R. Francis             69 10 61/69 11 44
                                                                          61 53 52 09/
                                                                          336 122 18 100 (Mobile)

      ALICANTE Spain                                                      See Valencia

      ALMA-ATA Kazakhstan
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                                   Telephone:   274 4025
                                   Facsimile:   269 5438
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                                                Timiryazev Street 42, Almaty
                                   E-mail:      almaty@cispandi.com
                                   Contact:     Mr I. Seidakbarov          7 701 746 0515 (Mobile)

      ALMANAMAH Bahrain                                                   See Sitra




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 100 of
     ALMERIA Spain
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                                              Puerto de Almeria
                                              04002 Almeria
                                 E-mail:      harl@larural.es
                                 Contact:     E. V. P. Williamson        (658) 791414 (Mobile)

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     Charles Taylor Consulting
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                                 Address:     P.O. Box 194
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                                 E-mail:      amman@telstarmaritime.com
                                 Contact:     Mr S. A. Khreino        816 367
                                                                      akhreino@telstarmaritime.com

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                                              Suite 650, AK, 99501
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                                                                        229 4218 (Mobile)
                                              Mr H. H. Ray Jr.          272 2543
                                                                        229 4217 (Mobile)

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     Services srl                Telephone:   501011
                                 Facsimile:   56752
                                 Address:     Via E Ciaidini 57
                                              P.O. Box 382
                                              60122 Ancona
                                 E-mail:      radinsur@yahoo.it
                                 Contact:     Mr Alessandro Archibugi 36082
                                                                      (335) 715 6149 (Mobile)
                                              Ms N. Fabbietti         (333) 784 3570 (Mobile)
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      ANCONA Italy continued
      Mauro Consultants S.r.l.   Area code:         (39-071)
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                                 Facsimile:         250 99 14
                                 Address:           Via Primo Maggio, 150/B
                                                    1-60131 Ancona(AN)
                                 E-mail:            Info@mauroconsultants.it
                                 Contact:           Ms L. Innocenti          (338) 299 9835 (Mobile)
                                                    Mr M. Mauro              (348) 560 0688 (Mobile)
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      ANNABA Algeria                                                                    See Algiers

      ANTOFAGASTA Chile                                                                 See Valparaiso

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                                 Telephone:         (0)3206 0050
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                                                    Belgium
                                 E-mail:            antwerp@dupi.com
                                 Website:           www.dupi.com
                                 Contact:           Capt. J-L. Tack                     (0)475 745 445 (Mobile)
                                                    Ms M. Lardot                        (0)3663 0023
                                                                                        (0)478 989806 (Mobile)
                                                    Ms S. Van Wijnendaele               (0)473 755 923 (Mobile)

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                                 Facsimile:         232 8824
                                 Address:           115 Frankrijklei
                                                    B-2000 Antwerp
                                 E-mail:            mail@langlois.be
                                 Contact:           Mr P. Goossens                      (2) 767 3407
                                                                                        (0)475 404 582 (Mobile)
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                                                    Mr F. Morel                         458 4257
                                                                                        (0)477 487 704 (Mobile)
                                                                                        frank.morel@langlois.be
                                                    Mr K. Van Coppenolle                (0) 475 719 560 (Mobile)
                                 (24 Hours duty mobile 447 349410)

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      T.C.I. (Africa) Lagos      (In case of communication difficulty, please contact the Managers in Marseilles (33-4) 9114 0460
                                 or consult website www.eldvedtosullivan.com for full emergency nos. London liaison contact:
                                 J. Woodward (33) 6 0958 0695)




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     APAPA Nigeria continued
     Africa Marine Services      Area code:        (234-1)
     (Nigeria)                   Telephone:        587 2882/545 8709
                                 Facsimile:        587 2882/545 8709
                                 Address:          22 Kofo Abayomi Avenue
                                                   P.O. Box 2363
                                                   Apapa, Lagos
                                 E-mail:           africamarinelos@aol.com
                                 Contact:          Mr T. Iduimuida         802 304 7328 (Mobile)
                                                   Capt. C. Handley        803 321 8030 (Mobile)
                                                   Mr Allen Hardcastle     +44 788 181 1982 (Mobile)
                                 (24 Hour London Contact No. +44 (0) 207 613 0131, E-mail: africamarine@aol.com)

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     Telstar Maritime Agencies   Area code:        (962-3)
     (Jordan) Plc                Telephone:        2013 678/9
                                 Facsimile:        2012 679
                                 Address:          P.O. Box 8
                                                   Aqaba
                                 E-mail:           aqaba@telstarmaritime.com
                                 Contact:          Mr T. A. Zeid            314 730
                                                                            tabouzeid@telstarmaritime.com
                                                   Mr T. Odeh               314 268

     ARACUJA Brazil                                                                   See Recife

     ARICA Chile                                                                      See Valparaiso

     ARKHANGELSK Russia                                                               See St. Petersburg

     ARUBA Aruba
     NV v/h Firma C.S. Gorsira   Area code:        (297-85)
     J.P. Ez                     Telephone:        24124
                                 Facsimile:        25988
                                 Address:          Frankrijkstraat 1
                                                   P.O. Box 533
                                                   Oranjestad
                                 E-mail:           anveder@setarnet.aw
                                 Contact:          Mr H. Bronswinkel                  993 0973

     ASHDOD Israel
     M. Dizengoff & Co. Ltd.     Area code:        (972-8)
                                 Telephone:        856 5779
                                 Facsimile:        856 4931
                                 Address:          P.O. Box 4092
                                                   Port Area, Ashdod 77190
                                 E-mail:           ash@dizrep.co.il
                                 Contact:          Mr A. Toledano                     855 6055
                                                                                      (972-50) 774 9259 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 103 of
      ASHDOD Israel continued
      A. Rosenfeld Shipping Ltd.   Area code:          (972-8)
                                   Telephone:          853 1211
                                   Facsimile:          853 1213
                                   Address:            Agents Building, No. 2, Suite 102
                                                       P.O. Box 4098
                                                       Ashdod 77100
                                   E-mail:             ashdodport@rosenfeld.net
                                   Contact:            Z. Rosenfeld                 544 660 090 (Mobile)
                                   (All contacts should be made through Haifa office)

      ASMARA Eritrea
      Multi Cargo International    Area code:          (291-1)
      Trading & Services (MCI)     Telephone:          201371
                                   Facsimile:          125715
                                   Address:            P.O. Box 359
                                                       Asmara
                                   E-mail:             multicar@gemel.com.er
                                   Contact:            Mr G. Michael                        711 3503
                                                       Capt. H. Ghebremicael                552915
                                                       Mr G. Bemane                         552110
                                                       Capt. V. Menon                       552002
                                                                                            88 216 214 461 84 (Satellite No.)
                                   (In case of difficulty communications should be directed via the GAC office in Dubai)

      ASSAB Eritrea                                                                         See Asmara

      ASUNCION Paraguay
      Chadwick Weir Navigacion     Area code:          (595-21)
      c/o Sudatlantica s.r.l.      Telephone:          497 933
                                   Facsimile:          495 159
                                   Address:            Benjamin Constant 593-10D
                                   E-mail:             amancio.bogado@smi.com.py
                                   (All communications should be made through Montevideo office)

      AUCKLAND New Zealand
      P & I Services Ltd.          Area code:          (64-9)
                                   Telephone:          303 1900
                                   Facsimile:          308 9204
                                   Address:            Floor 11
                                                       2 Commerce Street, P.O. Box 437
                                                       Auckland
                                   E-mail:             pandiak@clear.net.nz
                                   Contact:            Mr N. Wheeler             579 5902
                                                                                 (0274) 921 975 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 104 of
     AUGUSTA Italy
     S.W. Garbutt & Son          Area code:   (39-090)
                                 Telephone:   46977
                                 Facsimile:   51012
                                 Address:     c/o Cardile Bros.
                                              Via E. Millo 1
                                              96011 Augusta
                                 Contact:     Mr S. Garbutt             393 034
                                                                        (347) 685 4837 (Mobile)
                                                                        (347) 330 4042 (Mobile)
                                                                        garbutt@carboymessina.com
                                              Capt. F. Luca             222 407
                                                                        (348) 476 8551 (Mobile)

     Tagliavia & Co. s.r.l.      Area code:   (39-091)
                                 Telephone:   587 377
                                 Facsimile:   322 435
                                 Address:     Via C. Colombo 24
                                              96011 Augusta
                                 E-mail:      info@tagliaviapandi.it
                                 Website:     www.tagliaviapandi.it
                                 Contact:     Mrs A. Rowell             (348) 601 7621 (Mobile)
                                                                        ann.rowell@tagliaviapandi.it
                                              Mr G. Tagliavia           (348) 601 7625 (Mobile)
                                              I. Tagliavia              (338) 294 5912 (Mobile)
                                              J. Hawthorne              (339) 808 9130 (Mobile)

     AVEIRO Portugal                                                    See Leixoes

     AVILES Spain                                                       See Gijon

     AZORES Portugal                                                    See Ponta Delgada

     BAGHDAD Iraq
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                                 Telephone:   541 3829/542 4876
                                 Facsimile:   541 3101
                                 Address:     Al-Mansour, Amirat Street, Dist 601
                                              Road 12, Bldg 57
                                              Baghdad
                                              Iraq
                                 E-mail:      sadiq-ishe1937@yahoo.com
                                              kms_1944@yahoo.com
                                 Contact:     Mr S. Jaafar                542 1863
                                                                          541 4353
                                                                          7903194278 (Mobile)
                                                                          +44 7973 293 003 (UK Mobile)
                                                                          +962 79 665 5175
                                              B. Al Jashami               7904408464 (Mobile)
                                              H. Al Baghdadi              7901302242 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 105 of
      BAHIA BLANCA Argentina
      Agencia Maritima Walsh (E.   Area code:          (54-291)
      Burton) s.r.l                Telephone:          457 3064/457 3080/457 3144
                                   Facsimile:          457 3072
                                   Address:            Grecia 13 – 8103 Ing. White
                                                       Bahia Blanca
                                   E-mail:             walsh@walsh.com.ar
                                   Contact:            Mr H. P. Heiling            452 7458
                                                       Mr H. M. J. Heiling         451 5423
                                                                                   (9291) 571 5632 (Mobile)
                                                       Mr E. Heiling               (9291) 571 2627 (Mobile)

      BAHRAIN Bahrain
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                                   Facsimile:          735 284
                                   Address:            P.O. Box 828
                                                       Majlis Al Ta’awon Highway
                                   E-mail:             ISSBahrain@iss-shipping.com
                                   Website:            www.ISS-Shipping.com
                                   Contact:            Capt. M. S. Wadhwa        941 7047 (Mobile)
                                                       Mr D. Whysall             960 3951 (Mobile)

      Gulf Agency Co. (Bahrain)    Area code:          (973-17)
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                                   Facsimile:          827 928/827 922
                                   Address:            P.O. Box 412
                                                       Building 21
                                                       GLS Premises, Road 20, Muharraq 224,
                                                       Manama, Kingdom of Bahrain
                                   E-mail:             bahrain@gac.com
                                                       claims.dubai@gac.com
                                   Contact:            Mannath Pillai           39675748 (Mobile)
                                                       Capt. P. Gronberg        39694074 (Mobile)

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                                   Facsimile:          432 3114
                                   Address:            S.Mehdiyev 93 “Azeraqrartikinti”
                                                       9 -cu mertche, Baku AZ 1141
                                                       Azerbaijan
                                   E-mail:             Baku@akayasurvey.com
                                   Website:            www.akayasurvey.com
                                   Contact:            Mr S. Erdogan              (90533) 6221199 (Mobile)
                                   (In case of difficulty contact liaison office in Istanbul Tel +90 212 472 5600 Mr E Erdebil +90 533
                                   2598768 mobile)




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     C. Fernie & Co. S.A.         Area code:         (507)
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                                  Facsimile:         211 9450
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                                                     Balboa, Ancon
                                                     P.O. Box 0843-00191
                                  E-mail:            ferniepi@cfernie.com
                                  (All communications to be directed to Cristobal office – After hours duty mobile phone 6614 0554)

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     Inc                          Facsimile:         968 1978
                                  Address:           80 Broad Street, 32nd Floor
                                                     New York, New York 10004
                                  E-mail:            p&i.newyork@ctcplc.com
                                  Contact:           Mr L. Lambert               (973) 444 2683 (Mobile)
                                                     Mr O. Hutchings             (917) 412 1773 (Mobile)
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     Ober, Kaler, Grimes &        Area code:         (1-410)
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                                                                               370 0680 (Mobile)
                                                                               mhwhitman@ober.com
                                                     Mr G. S. Tobias           410 215 5203 (Mobile)
                                                     Mr R. B. Hopkins          443 562 2390 (Mobile)

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                                  Facsimile:         33 33400
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                                                     Khomeni St
                                                     Postal Code 79149
                                                     Bandar Abbas
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                                                     H. Fasejoula            917 361 1782 (Mobile)
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                                  Telephone:         3224648
                                  Facsimile:         3224638
                                  Address:           No. 274, in front of Maskan Bank
                                                     Motahhari Ave.
                                  Contact:           Mr M. Shirinzaban           911 183 4394 (Mobile)
        76                        (Contact via Head Office in Tehran is preferable. Mobile No. +98 912 359 6539 Ms M. Golavar)
e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 107 of
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      Iran Group of Surveyors   Area code:         (98-771)
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                                Facsimile:         2521364
                                Address:           No. 36 Burazjani Building
                                                   Vali-Asr Cross Roads
                                                   Bushire
                                Contact:           Mr A. Ahmadi                        917 171 1867 (Mobile)
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                                Telephone:         2222514
                                Facsimile:         2222514
                                Address:           Hafez Conjunction
                                                   Next to Talaii Supermarket
                                Contact:           Mr Ghanavati               915 145 1081 (Mobile)
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      BANDAR IMAM KHOMEINI Iran
      Iran Group of Surveyors   Area code:         (98-651)
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                                Facsimile:         2224111
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                                                   Sarbandar
                                                   P.O. Box 194
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                                                   P. Pourhasan               916 151 5665 (Mobile)
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                                Facsimile:         237 2583/267 1051
                                Address:           311/2-8 Surawongse Road
                                                   Kwaeng Suriyawongse
                                                   Khet Bangkok
                                                   Bangkok 10500
                                E-mail:            surveyor@loxinfo.co.th
                                Contact:           Mr H. M. J. Bent        752 0747
                                                                           (6681) 922 6964 (Mobile)
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                                                                           (6681) 685 3892 (Mobile)
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      BANIAS Syria                                                                     See Lattakia




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     BANJUL The Gambia
     T.C.I. (Africa) c/o Interstate   Area code:         (220)
                                      Telephone:         4225 895/4229 388
                                      Facsimile:         4224 733/4229 347
                                      Address:           43 Buckle Street
                                                         P.O. Box 1714
                                                         Banjul
                                      E-mail:            interstate@gamtel.gm
                                      Contact:           Mr B. Sagnia                          4460 944 (Tel/Fax)
                                                                                               4463 559 (Tel/Fax)
                                                                                               9961 144 (Mobile)
                                                                                               7761 144 (Mobile)
                                                                                               6961 144 (Mobile)
                                      (Please copy all correspondence to TCI Dakar office and in case of difficulty contact Managers Eltvedt
                                      & O’Sullivan in Marseille (33-4) 9114 0460. After office hours: R. Godfrey (33) 613 621 389 or consult
                                      website www.eltvedtosullivan.com for full details of emergency nos.)

     BAR Serbia and Montenegro
     Jadroagent                       Area code:         (382-30)
                                      Telephone:         315 996
                                      Facsimile:         312 342
                                      Address:           Obala 13
                                                         Jula 2
                                                         85000 Bar
                                      E-mail:            jadroa@jadroagentbar.com
                                      Website:           www. jadroagentbar.com
                                      Contact:           Mr D. Radovic            (69) 379 709 (Mobile)
                                                         Ms M. Batricevic         (69) 379 700 (Mobile)

     Samer & Strugar Shipping         Area code:         (382-30)
     d.o.o.                           Telephone:         317 350
                                      Facsimile:         311 447
                                      Address:           St. M. Tita D-5
                                                         85000 Bar
                                                         Montenegro
                                      Contact:           Ms D. Strugar                         69 031125 (Mobile)
                                                                                               samer.strugar@cg.yu

     BARBADOS West Indies
     Cariconsult International        Area code:         (1-246)
     Limited                          Telephone:         423 6412/231 2196 (Mobile)
                                      Facsimile:         423 0985
                                      Address:           Castle Close, Sam Lord’s Castle
                                                         St. Philip
                                                         Barbados
                                      E-mail:            cconsult@caribsurf.com
                                      Website:           www.steers.com.bb
                                      Contact:           Mr R. Steer                423 6551




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      BARCELONA Spain
      Pandi Claims Services      Area code:   (34-93)
      Spain, S.L                 Telephone:   343 6992
                                 Facsimile:   302 0913
                                 Address:     Ronda Sant Pere, 19-21, 6-1
                                              08010 Barcelona
                                              Spain
                                 E-mail:      pandi@pandispain.com
                                 Contact:     Mr E. Lippo                661 819 944 (Mobile)
                                              Ms A. Santos               7929 325
                                                                         651 809 843 (Mobile)

      Hispania P&I               Area code:   (34-93)
      Correspondents             Telephone:   268 1853
                                 Facsimile:   268 4175
                                 Address:     C/Bruc, 3pral 1a
                                              08010 Barcelona
                                 E-mail:      barcelona@pandihispania.com
                                 Website:     www.pandihispania.com
                                 Contact:     Ms R. Velasco            670 458642 (Mobile)
                                              Mr J. Mckinnell          670 458646 (Mobile)
                                              Ms A. Escanilla          637 217151 (Mobile)

      BARI Italy
      Nicola Girone              Area code:   (39-080)
                                 Telephone:   534 17 36/534 03 99
                                 Facsimile:   534 17 86/534 01 19
                                 Address:     Via Massaua, 1/E
                                              70123 Bari
                                 Contact:     Capt. G. de Tullio          (335) 532 4141 (Mobile)
                                              Capt. F. P. Bavaro          631 684
                                                                          (333) 255 9509 (Mobile)

      BARRANQUILLA Colombia
      A&A Multiprime             Area code:   (57)
                                 Telephone:   314 284 4799/315 333 5072 (24 Hours)
                                 Address:     Carrera 52 No76-167 of. 201
                                              edif. Atlantic Center, Barranquilla
                                 E-mail:      barranquilla@aamultiprime.com
                                 Contact:     Eng. Manuel Calderon

      A1 Aquamar Pandiservices   Area code:   (57-5)
      Ltda.                      Telephone:   664 8796/660/2545/660 0413
                                 Facsimile:   664 8986 (24 Hours)
                                 Address:     Calle de la Inquisicion Con Sta. Teresa Esq
                                              No. 3-04 P.2
                                              Cartagena
                                 E-mail:      a1aquamarpandi@gmail.com
                                              aquamarpandi@gmail.com
                                 Contact:     J. L. Cordoba                665 0494
                                                                           (57315) 344 6999 (Mobile) (24 Hours)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 110 of
     BASRAH Iraq
     Sadiq Jaafar & Associates    Area code:         (964)
                                  Telephone:         4061 7618/4061 2566/8737 63225727
                                  Facsimile:         4061 4932/8737 63225729
                                  Address:           Twiessa Dist. 110 St. 47 H 8
                                                     Basrah
                                  Contact:           Capt. Fadhil Jabir           40623639
                                                                                  7801012912 (Mobile)

     Inchcape Shipping Services   Area code:         (965)
                                  Telephone:         243 4493/243 4752
                                  Facsimile:         240 3963
                                                     88216 888 40186 (Sat. phone)
                                  Address:           TDA Camp
                                                     Basrah International Airport
                                  E-mail:            inchcape.iraq@iss-shipping.com
                                  (Umm Qasr office may also be contacted)

     BASTIA Corsica                                                                       See Marseille
     McLeans

     BATON ROUGE Louisiana, U.S.A.                                                        See New Orleans

     BATUMI Georgia
     Vitsan Interservices Ltd.    Area code:         (995-222)
                                  Telephone:         76153
                                  Facsimile:         76154
                                  Address:           Khuloiskaya Street No.3
                                                     Batumi
                                  Contact:           Mr T. Kirtskhalia                    70154
                                                                                          (99) 91 36 67 (Mobile)
                                  (All correspondence to Istanbul Office, Mr Selim Bilgisin Tel: 90 212 252 0600, Fax: 90 212 249 4434,
                                  Mobile 00 90 532 2111248)

     BAYONNE France                                                                       See Bordeaux

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     Management (Americas),       Telephone:         840 1642 (24 Hours)
     Inc                          Facsimile:         840 8030
                                  Address:           2100 West Loop South
                                                     13th Floor, Houston, Texas 77027
                                  E-mail:            p&i.houston@ctcplc.com
                                  Contact:           Ms S. Smith                 202 5576 (Mobile)

     Stevens Baldo Freeman        Area code:         (1-409)
     and Lighty L.L.P.            Telephone:         835 5200
                                  Facsimile:         838 5638
                                  Address:           550, Fannin, Suite 700
                                                     Beaumont, Texas 77701
                                  Website:           www.sbf-law.com
                                  Contact:           Mark Freeman                         835 0690
                                                                                          656 9747 (Mobile)
                                                                                          freeman@sbf-law.com
                                                     David James                          658 7204
                                                                                          892 0696 (Mobile)
        80                                                                                djames@sbf-law.com
e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 111 of
      BEIJING China
      Huatai Ins. Agency &      Area code:        (86-10)
      Consultant Service Ltd.   Telephone:        6657 6588
                                Facsimile:        6657 6501
                                Address:          14F China Re Building
                                                  No. 11 Jin Rong Avenue
                                                  Xicheng District
                                                  Beijing 100140 China
                                Website:          www.huatai-serv.com
                                Contact:          Ms Shan Hong                        13801 187853 (Mobile)
                                                                                      pni.bj@huatai-serv.com
                                                  Ms He Miao                          13801 098591 (Mobile)

      BEIRA Mozambique
      P & I Associates          Area code:        (258-23)
      (Mozambique) Ltda.        Telephone:        323 143
                                Facsimile:        322 916
                                Address:          Casa Infanta da Sagres
                                                  Largo Do Buzi 1/6
                                                  P.O. Box 44, Beira
                                E-mail:           marine@tdm.co.mz
                                Contact:          H. Nkomo                            (082) 501 7350 (Mobile)
                                (Please copy all e-mail correspondence to Durban: pidurban@pandi.co.za)

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                                Facsimile:        200 590
                                Address:          Selim Bustros St. Chammah Building
                                                  P.O. Box 11-0367
                                                  Riad El Solh
                                                  Beirut 1107 2040
                                E-mail:           mgmpandi@dm.net.lb
                                Contact:          Mr R. Mouracade          321 389
                                                                           (3) 621 999 (Mobile)
                                                  Mrs Mary Doueihi         (3) 736 358 (Mobile)

      Baroudi & Associates      Area code:        (961-1)
      (Lawyers)                 Telephone:        428777/428778
                                Facsimile:        423582
                                Address:          Achrafieh 5585 Building
                                                  P. Gemayal Avenue
                                                  Palais de Justice District
                                                  P.O. Box 11-7236, Beirut
                                E-mail:           baroudi@baroudilegal.com
                                Website:          www.baroudilegal.com
                                Contact:          Mr S. Baroudi              (4) 406 734
                                                                             (3) 601 009 (Mobile)
                                                  Mr J. Baroudi              (1) 219 088
                                                                             (3) 323 252 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 112 of
     BELEM Brazil
     Williams Brothers Ltda.   Area code:         (55-91)
                               Telephone:         222 4973/241 8841
                               Facsimile:         223 9432
                               Address:           Rua Santo Antonio 316
                                                  Conj 501 Centro
                                                  66010 090 Belem PA, Brazil
                               E-mail:            willbel@williams.com.br
                               (Please contact Recife for after office hours numbers)

     BELIZE CITY Belize
     Michael Bell Co.          Area code:         (501)
                               Telephone:         225 2167
                               Facsimile:         225 2565
                               Address:           P.O. Box 268
                               Contact:           Mr M. Bell                            225 2167
                                                                                        mickbell@BTL.NET

     BENGHAZI Libya                                                                     See Tripoli
     Shtewi Legal & Pandi
     Services

     BERBERA Somalia
     Omer Ali Dualeh & Co.     Area code:         (252)
                               Telephone:         751 2085
                               Facsimile:         274 0186
                               Address:           Commercial Street, P.O. Box 144
                                                  Berbera, Somalia
                               E-mail:            omaarco@yahoo.com
                               Contact:           Mr Abjula Kadir O. Ali     2442 7016 (Mobile)
                                                  Mr A. Mahmoud              2444 6096 (Mobile)
                                                  Mr O. Ali Dualeh           966 50 335 0639 (Mobile)
                               (In case of difficulty contact Jeddah office Tel: 9662 698 4296, Fax: 9662 619 6965. After hours:
                               966 50 335 0639. All mail to the following address: c/o P.O. Box 3050, Jeddah 21471, Saudia Arabia)

     BERGEN Norway
     Fjeld Consultant AS       Area code:         (47)
                               Telephone:         5559 7900
                               Facsimile:         5559 7901
                               Address:           Damsgaardsveien 135
                                                  P.O. Box 567
                                                  Laksevag, Bergen 5162
                               Contact:           Mr J. R. Terwindt                     944 99195 (Mobile)
                                                                                        jan.roar.terwindt@fjeld-consultant.no
                                                  Capt. B. Fjeld                        900 23117 (Mobile)
                                                                                        fc@fjeld-consultant.no




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 113 of
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                                  Telephone:         435 4530
                                  Facsimile:         435 4538/435 4539
                                  Address:           Alameda de Mazarredo 9
                                                     48001 Bilbao
                                  E-mail:            bereincua@bereincua.com
                                  Contact:           Capt. J. Apraiz         4305 955
                                                     Ms I. Zorriqueta        4558 076
                                                     Capt. J. I. Beitia      4110 362
                                  (Emergency Mobile No. (34) 659 948 460)

      Agencia Maritima Artiach    Area code:         (34-94)
      Zuazaga S.L.                Telephone:         423 6661
                                  Facsimile:         423 7973
                                  Address:           P. Campo Volantin 24 prai
                                                     48007 Bilbao
                                  E-mail:            amazsa@amazsa.com
                                  Website:           www.amazsa.com
                                  Contact:           S. Sainz                              944 158 969
                                                                                           609 425 566 (Mobile)
                                                     A. Arrese                             946 081 485
                                                                                           699 983 072 (Mobile)
                                                     J. Castillo                           946 080 151
                                                                                           699 983 073 (Mobile)
                                                     M. Delgado                            946 760 032
                                                                                           699 940 377 (Mobile)

      BINTULU Sarawak, Malaysia
      Harrisons Trading           Area code:         (60-86)
      (Sarawak) Sdn. Bhd.         Telephone:         252 988/252 922
                                  Facsimile:         252 933
                                  Address:           P.O. Box 83
                                                     97007 Bintulu
                                  Contact:           Mr Y. H. Guan                         269 848
                                  (All correspondence to Kota Kinabalu)

      BISSAU Guinea-Bissau
      T.C.I. (Africa)             Area code:         (245)
                                  Telephone:         202 162/203 332
                                  Facsimile:         205 897/202 623
                                  Address:           BP 290, Bissau
                                  Contact:           Mr F. Tavares                         325 63 66
                                                                                           691 62 38 (Mobile)
                                                                                           720 20 62 (Mobile)
                                                                                           tavares@eguitel.com
                                                     Mr G. Malu                            674 01 04 (Mobile)
                                                                                           589 79 56 (Mobile)
                                                                                           transmar@eguitel.com
                                  (Please copy all correspondence to TCI Dakar office and in case of difficulty contact Managers Eltvedt
                                  & O’Sullivan in Marseille (33-4) 9114 0460. After office hours: R. Godfrey (33) 613 621 389 or consult
                                  website www.eltvedtosullivan.com for full details of emergency nos.)




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     BIZERTA Tunisia
     T.I.P.I.C.                  Area code:   (216-72)
                                 Telephone:   432 638/432 648
                                 Facsimile:   433 599
                                 Address:     Bizerta Center
                                              Quai Tarak Ibn Ziad
                                              Bizerta 7018
                                 E-mail:      exploitation.pi@planet.tn
                                 Contact:     Mr J. Abdennebi             766 878
                                                                          98 32 15 71 (Mobile)
                                                                          dg.tipic@planet.tn
                                              Mr M. Mejri                 535 151
                                                                          98 34 67 43 (Mobile)
                                                                          makram.mejri@tipic.com.tn
                                              Mr R. Kochbati              98 34 67 42 (Mobile)

     BLUEFIELDS Nicaragua                                                 See Guatemala

     BLUFF New Zealand                                                    See Wellington
     P & I Services

     BOGOTA Colombia
     A&A Multiprime              Area code:   (57-1)
                                 Telephone:   530 3529
                                 Facsimile:   218 2682
                                 Address:     Cra 11 No. 82-38 Of. 203,
                                              Bogota
                                 E-mail:      bogota@aamultiprime.com
                                 Website:     www.aamultiprime.com
                                 Contact:     Ms A. Gast                (57) 315 333 5072 (Mobile)
                                              Mr S. Moreno-Andrade (57) 314 284 4799 (Mobile)
                                              Ms N. Mina                (57) 310 304 8650 (Mobile)

     A1 Aquamar Pandi Services   Area code:   (57-1)
     Ltda.                       Telephone:   (315) 344 6999 (24 Hours)
                                 Address:     Calle 127D
                                              #19-25 Apto 503
                                              Bogota
                                 E-mail:      aquamarpandi@gmail.com
                                              a1aquamarpandi@gmail.com
                                 Contact:     Mr J. Cordoba             (575) 665 0494 (24 Hours)
                                                                        (315) 344 699 (Mobile)

     BOMA Democratic Republic of Congo                                    See Kinshasa

     BONAIRE Netherlands Antilles                                         See Curacao




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      BORDEAUX France
      Hi Mallet & Cie           Area code:        (33-5)
                                Telephone:        57 57 33 33
                                Facsimile:        57 57 33 18
                                Address:          447 Boulevard Alfred Daney
                                                  33075 Bordeaux
                                E-mail:           general@mallet-pandi.com
                                Contact:          Mr F. Voogt                5677 1309
                                                                             (33-6) 0992 1909 (Mobile)
                                                                             frans.voogt@mallet-pandi.com
                                                  Mr F. Schuster             (33-6) 8064 5552 (Mobile)
                                                  Mr J.-J. Alujas            (33-6) 0930 0373 (Mobile)
                                (24 Hours Emergency Line (33-5) 57 57 33 57)

      BOSTON Mass., U.S.A.
      Charles Taylor P&I        Area code:        (1-212)
      Management (Americas),    Telephone:        809 8085
      Inc                       Facsimile:        968 1978
                                Address:          80 Broad Street, 32nd Floor
                                                  New York, New York 10004
                                E-mail:           p&i.newyork@ctcplc.com
                                Contact:          Mr L. Lambert               (973) 444 2683 (Mobile)
                                                  Mr O. Hutchings             (917) 412 1773 (Mobile)
                                                  Mr R. Puttick               (646) 321 1494 (Mobile)

      Clinton & Muzyka, P.C.    Area code:        (1-617)
      (Lawyers)                 Telephone:        723 9165
                                Facsimile:        720 3489
                                Address:          88 Black Falcon Avenue
                                                  Suite 200, Boston 02210
                                E-mail:           c&m@clinmuzyka.com
                                Contact:          Mr T. J. Muzyka              (508) 785 2275
                                                  Mr T. Clinton                (781) 599 7359

      BOULOGNE-SUR-MER France
      Philippe Demonchy         Area code:        (33-3)
                                Telephone:        2130 4615
                                Facsimile:        2183 5024
                                Address:          Quai de I’Europe
                                                  P.O. Box 373, Le Portel
                                                  62205 Boulogne Sur Mer Cedex
                                Contact:          Mr P. Demonchy           2187 5309
                                                                           (0)6 6005 4615 (Mobile)
                                                                           demonchy@nordnet.fr
                                                  Mr D. Secquepee          2183 0125




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     BOURGAS Bulgaria
     Kalimbassieris Maritime      Area code:        (359-56)
                                  Telephone:        84 04 42
                                  Facsimile:        84 04 43
                                  Address:          46, Han Krum Street
                                                    8000 Bourgas
                                                    Bulgaria
                                  E-mail:           kalmar_bu@digicom.bg
                                  Website:          www.kalimbassieris.com
                                  Contact:          Y. Mladenov                       30 021
                                                                                      888 32 13 84 (Mobile)
                                                                                      bourgas@kalimbassieris.com
                                                    S. Zagorchev                      66 39 07
                                                                                      888 63 61 86 (Mobile)
                                  (24 Hours Emergency contact number via Greece (0030) 694 45 41 622)

     Omur Marine Ltd.             Area code:        (359-56)
                                  Telephone:        812 340
                                  Facsimile:        812 341
                                  Address:          124 Sheynovo Str., Et. 2
                                                    8000 Bourgas
                                  Contact:          R. Uzunov                         812 340
                                                                                      887 260 844 (Mobile)

     BRAILA Romania                                                                   See Bucharest

     BRAKE Germany                                                                    See Bremen

     BREMEN Germany
     Pandi Services J & K Brons   Area code:        (49-421)
     GmbH                         Telephone:        308 870
                                  Facsimile:        308 8732
                                  Address:          Otto-Lilienthal-Str.29
                                                    DE-28199 Bremen
                                  E-mail:           corresp@pandi.de
                                  Contact:          Mr R. J. Hermes                   602 8534
                                                                                      (0171) 885 7940 (Mobile)
                                                    Mr H. J. Schmude                  (0171) 885 7941 (Mobile)
                                                    U. Thalmann                       (0171) 885 7942 (Mobile)
                                  (Stowaway hotline No: 00 49180 378 6929)

     Claas W. Brons (GmbH &       Area code:        (49-421)
     Co.) KG                      Telephone:        320 875
                                  Facsimile:        324 558
                                  Address:          Rembertistrasse 76
                                                    28195 Bremen
                                  E-mail:           bremen@cwbrons.de
                                  Contact:          Mr C. H. Brons                    (4183) 975872 (Mobile)
                                                    Mr J. W. Brons                    (4183) 777869 (Mobile)
                                                    Mr W. Kuhn                        (4297) 940 (Mobile)
                                                                                      walter.kuehn@cwbrons.de
                                                    Mr J. Diepenbroek                 (421) 376647
                                                                                      jens.diepenbroek@cwbrons.de



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      BREMERHAVEN Germany                                                              See Bremen

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      s.a.r.l.                    Telephone:        9844 4995
                                  Facsimile:        9843 3020
                                  Address:          38 Quai de la Douane
                                                    29200 Brest
                                  E-mail:           brokers@wanadoo.fr
                                  Contact:          Mr J. P. Caradec                   (6) 1225 9436 (Mobile)
                                                    Mr Y. Caradec                      (6) 0901 1794 (Mobile)
                                                    M. Le Goasduff                     (6) 1156 2863 (Mobile)

      BRINDISI Italy
      Il Capitano Cargo Control   Area code:        (39-0831)
      SRL                         Telephone:        529 612
                                  Facsimile:        211 369
                                  Address:          Corso Garibaldi 53
                                                    72100 Brindisi
                                  E-mail:           studio.ilcapitano@tiscalinet.it
                                  Contact:          Capt. F. Scagliarini         564062
                                                                                 (336) 82500 (Mobile)
                                                    Dr L. D. Scagliarini         411294
                                                                                 (346) 5867881 (Mobile)
                                                    Capt. O. Baldassarre         (347) 4290384 (Mobile)
                                                    P. N. O. Frallonardo         (320) 2282778 (Mobile)

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                                                                                       (348) 6005 926 (Mobile)
                                                                                       marrazza@tin.it
                                  Contact:          Mr A. Mordiglia                    (335) 7042105 (Mobile)
                                                    Mr M. Mordiglia                    010 311793
                                                                                       (335) 6142435 (Mobile)

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      Bayside Shipping Services   Area code:        (61-2)
      Pty Ltd.                    Telephone:        9918 8306
                                  Facsimile:        8324 6486
                                  Address:          P.O. Box 692, Avalon, Sydney, NSW 2107
                                  Contact:          S. Robertson               420 982411 (Mobile)
                                                                               steve@baysideshipping.com
                                  (In case of communication difficulty, please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                  Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)




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                                               G.P.O. Box 245
                                               Brisbane Q 4001
                                  E-mail:      transport@thymac.com.au
                                  Website:     www.thymac.com.au
                                  Contact:     Mr F. Turner            3378 3302
                                                                       3878 1613 (Fax)
                                                                       (0419) 702416 (Mobile)
                                               Mr M. Fisher            3844 0964
                                                                       (0408) 735653 (Mobile)

     BROOME Australia                                                     See Perth

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     Management (Americas),       Telephone:   840 1642 (24 Hours)
     Inc                          Facsimile:   840 8030
                                  Address:     2100 West Loop South
                                               13th Floor, Houston, Texas 77027
                                  E-mail:      p&i.houston@ctcplc.com
                                  Contact:     Ms S. Smith                 202 5576 (Mobile)

     Royston, Rayzor, Vickery &   Area code:   (1-956)
     Williams                     Telephone:   542 4377
     (Lawyers)                    Facsimile:   542 4370
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                                               55 Cove Circle
                                               Texas 78523-3509
                                  E-mail:      royston@roystonlaw.com
                                  Contact:     Mr K. Uhles                (956) 831 6667
                                               Mr J. Hunter Jr.           (956) 350 3416
                                                                          (956) 495 5100 (Mobile)
                                               Mr J. Gonzalez             (956) 541 0114
                                                                          (956) 490 3328 (Mobile)
                                               Mr E. Sikes                (956) 546 0082

     BRUNSBUTTEL Germany                                                  See Kiel

     BRUNSWICK Ga., U.S.A.                                                See Savannah




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      BUCHAREST Romania
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                                  Contact:          Capt. Miguel Antonio Caro
                                                                              555 4197
                                                                              (315) 5638457 (Mobile)
                                  (24 Hours service numbers: (57) 314 284 4799/(57) 315 333 5072)

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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 120 of
     BUNBURY Australia
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     Williams Brothers Ltda.     Area code:         (55-83)
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                                 Facsimile:         228 1092
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                                                    58310 Cabedelo
                                 E-mail:            willcbd@williams.com.br
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                                 Facsimile:         212 656
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                                                    Mr F. Ferrer                      (607) 636569 (Mobile)
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                                 Contact:           Ugo Vincenzini             (0583) 926404
                                                                               (335) 6260538 (Mobile)
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                                                                               (335) 607 8261 (Mobile)
                                                    Silvia Del Corso           (0586) 809699
                                                                               (348) 7827112 (Mobile)
        90
e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 121 of
      CAGLIARI Sardinia continued
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                                    Facsimile:        304 705
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                                    Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)

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                                    Contact:          Mr B. D. White              4057 8444
                                                                                  4057 9041 (Fax)
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     CALLAO Peru                                                          See Lima

     CALVI Corsica                                                        See Marseille

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                                   Website:     www.pandi.co.za
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                                                Mr M. Tucker                794 8909
                                                                            27-826582808 (Mobile)
                                                Ms F. Stewart               788 5061
                                                                            27-826584857 (Mobile)




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                                                    emorenovzla@cantv.net
                                  Website:          www.emorenoconsultores.com
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                                                    No. 3-04 Piso 2
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                                                    aquamarpandi@gmail.com
                                  Contact:          Mr J. Cordoba                665 0494 (24 Hours)
                                                                                 (57315) 3446999 (Mobile)

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                                                    Cartegena
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                                  E-mail:           somadef@defmar.com
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 124 of
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                                            95030 Catania
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                               Contact:     Mr S. Garbutt           (90) 393 034
                                                                    (347) 685 4837 (Mobile)
                                                                    (347) 330 4042 (Mobile)
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                                                                    (348) 476 8551 (Mobile)

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     CHANARAL Chile                                                    See Valparaiso

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                                            Mr O. Hutchings             (917) 412 1773 (Mobile)
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 125 of
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                                              South Carolina 29401
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                                              Mr J. H. Hines             852 9170
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                                              Mr S. D. Houseal           437 6620
                                              Mr D. M. Collins           723 0817

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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 126 of
     CHICAGO Ill., U.S.A. continued
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                                  Website:     www.snydermcgovern.com
                                  Contact:     Michael Snyder               (630) 841 4849 (Mobile)
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                                               Agrabad Commercial Area
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                                                                        171 3101044 (Mobile)
                                                                        bkc@JFbdltd.com
                                               Mr Md. S. Chowdhury      718056
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     Charles Taylor Consulting
     Mexico S.A. de C.V.

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                                  E-mail:      rayrob@rayrobcle.com
                                  Contact:     Mr D. R. Denny              (216) 642 3375 (Mobile)
                                               Ms J. R. Brouhard           (216) 591 0192 (Mobile)
                                               Mr R. T. Conaim             (440) 933 6877 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 127 of
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      Charles Taylor Consulting
      Mexico S.A. de C.V.

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                                                     Kerala
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                                  Contact:           Robert William              2750427
                                                                                 94471 50427 (Mobile)
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                                  Facsimile:         30432 095
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                                                     Rue Ka 028-BP, 3591 Conakry
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                                  Contact:           M. T. Bah                63 403 451 (Mobile)
                                                                              62 009 141 (Mobile)
                                  (In case of difficulty contact Managers Eltvedt & O’Sullivan in Marseille (33-4) 9114 0460.
                                  After office hours R. Godfrey (33) 613 621 389 or consult website www.eltvedtosullivan.com
                                  for full details of emergency nos.)




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     CONAKRY Guinea continued
     Budd S.A.                   Area code:         (224)
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                                 Contact:           Mr El K. Conde          212 793
                                                                            63 402 491 (Mobile) or
                                                                            64 206 841 (Mobile)
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                                                                            64 209 311 (Mobile)
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                                 (In case of difficulty, please contact Budd’s Management in Marseilles Tel (33-4) 9133 5833,
                                 Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
                                 Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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                                 Facsimile:         611 644/616 507
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                                                    Decembrie 1989 No.41
                                                    Bloc SNC, Etaj 2, Ap 31
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                                                                             (744) 625 379 (Mobile)
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                                 Contact:           Mr H. Nissen                     3961 1927
                                                                                     4055 0572 (Mobile)
                                                    Mr L. Jensen                     4257 2966

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                                 Facsimile:         2775/2282
                                 Address:           P.O. Box 12, Corinto
                                 Contact:           Mr S. Osborio                    2408




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                                   Facsimile:         21 31 18 37
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                                                      Cotonou
                                                      Benin
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                                   Contact:           Mr V. Essou-Houinou                 21 36 01 15
                                                                                          90 04 24 01 (Mobile)
                                                                                          93 64 90 55 (Mobile)
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                                                                                          97 88 09 90 (Mobile)
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                                   for full details of emergency nos.)




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     COTONOU Benin continued
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                                                     01 BP 7746, Cotonou
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                                   Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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                                                     Cristobal, Rep. of Panama
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                                   Contact:          Mr A. Perret              399 0665
                                                                               6617 3229 (Mobile)
                                                     Mr J. Blennerhassett      470 0313
                                                                               6612 1152 (Mobile)
                                   (After hours duty mobile phone: 6614 0554)

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                                   Contact:          Mrs A. Rowell                     (348) 601 7621 (Mobile)
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                                   Facsimile:        26591
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                                                     via C. Colombo 199
                                                     88900 Crotone
                                   E-mail:           garbutt@carboymessina.com
                                   Contact:          Capt. D. Venezia        (335) 844 4397 (Mobile)
                                                                             (347) 330 4042
                                                                             (347) 685 4837 (Mobile)

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                                                     Zeelandia Curacao
                                                     P.O. Box 3677
                                   E-mail:           gorsira@gorsira.com
                                   Contact:          Joop van Vliet                    461 4656
        100
                                                                                       510 2410/510 3159 (Duty Mobiles)
e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 131 of
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      Claas W. Brons (GmbH &    Area code:         (49)
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                                Facsimile:         33 821 39 11
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                                                                           77 637 41 95 (Mobile)
                                                   Mr S. C. Fall           77 636 55 58 (Mobile)
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                                Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
                                Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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                                                   Zhongstan District
                                                   Dalian, 116001
                                E-mail:            pni.dl@huatai-serv.com
                                Contact:           Capt. Lu Tongzhe            13909 851192 (Mobile)
                                (Please direct correspondence to Huatai Beijing)




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                                                                               (12) 211 4561 (Mobile)
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     Mushtaraka Ltd.             Telephone:         826 8326/7201
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                                                                               steve@baysideshipping.com
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                                 Facsimile:         2152 112/2150 446
                                 Address:           P.O. Box 9020
                                                    291A Magore Street
                                                    Upanga
                                                    Dar Es Salaam
                                                    Tanzania
                                 Contact:           Mr A. Sutton                         255 754 304776 (Mobile)
                                                                                         alan@intafrica.com
                                                    Mr M. Mshanga                        255 754 304783 (Mobile)
                                 (In case of difficulty please contact Robmarine Shipping (Overseas) Ltd. Tel: 01444 876 940,
                                 Fax: 01444 876 941, AOH 01444 250 858, Mobile 07785 734 633)




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                                                                               steve@baysideshipping.com
                                  (In case of communication difficulty, please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                  Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)

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                                                    76300 Sotteville Les, Rouen
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                                   E-mail:            iss-dj@iss-shipping.com
                                   Contact:           Capt. S. Kalyan                        35 20 12

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     Mexico S.A. de C.V.

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     Gulf Agency Co Qatar W.L.L.   Area code:         (974)
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                                                      claims.dubai@gac.com
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                                                      44480 Donges
                                   E-mail:            donges@humtac.fr
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                                                      K. Ollivier                            684 125 384 (Mobile)
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                                   (24 Hours 33 240 45 31 31 (diverted to mobile on duty))

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                                   Facsimile:         33 43 05 71
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                                                      Douala
                                   E-mail:            budd.cameroun@budd-pni.com
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                                                                                 (237) 77 78 91 00 (Mobile)
                                                      Ms L. Leuche               (237) 33 47 06 28
                                                                                 (237) 77 60 08 37 (Mobile)
                                   (In case of difficulty, please contact Budd’s Management in Marseilles Tel (33-4) 9133 5833,
                                   Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
                                   Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)




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      DOUALA Cameroon continued
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                                     Address:           P.O. Box 1048 Douala
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                                                                                  99 91 22 68 (Mobile)
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                                                        Jebel Ali Free Zone
                                                        Dubai UAE
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                                                        A. Behnke                            50 455 4369 (Mobile)
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                                                Ms B. Laumier           (607) 165113 (Mobile)

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                                                1 Kingsmead Boulevard
                                                Kingsmead Office Park
                                                Durban 4001
                                   E-mail:      pidurban@pandi.co.za
                                   Website:     www.pandi.co.za
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                                                M. Heads                 207 2394
                                                                         (83) 453 4899 (Mobile)

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                                                                           082 443 7653 (Mobile)
                                                Mr K. Reddy                439 018
                                                                           082 443 7654 (Mobile)
                                                Mr Q. van der Merwe        466 3598
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                                                      Kati i dyte (2nd Floor) Durres, Albania
                                    E-mail:           samshqip@albaniaonline.net
                                    Webiste:          www.samer.com/durres
                                    Contact:          Mr I. Misa                    6820 24704
                                                      Mr P. Sota                    6820 21777
                                                      Mr A. Mingu                   6921 33230

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      (E.L.) Inc.                   Telephone:        7224210
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                                    Facsimile:        6375 669
                                    Address:          P.O. Box 11
                                                      New Port Area
                                                      Eilat 88100
                                    Contact:          Mr Marshevsky                      633 1456




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                                 E-mail:      yb@brons.de
                                 Contact:     Mr C. Brons              25920
                                                                       170 476 1023 (Mobile)
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     ESBJERG Denmark                                                     See Copenhagen

     ESPERANCE Australia                                                 See Perth

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                                              Famagusta
                                              North Cyprus
                                              (Mersin 10, Turkey – is the Postal address)
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                                 Contact:     Mr Tagmac Bilgehan           53 248
                                                                           533 861 1554 (Mobile)
                                              Mr Orhan Bilgehan            53 445
                                                                           533 867 1472 (Mobile)
                                              Mr Zihni Bilgehan            212 249 9966
                                                                           532 212 5122 (Mobile)

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     FIGUEIRA DA FOZ Portugal                                            See Leixoes

     FLUSHING Netherlands                                                See Rotterdam

     FORMIA Italy                                                        See Gaeta

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                                 E-mail:      p&i.newyork@ctcplc.com
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                                              Mr O. Hutchings             (917) 412 1773 (Mobile)
                                              Mr R. Puttick               (646) 321 1494 (Mobile)

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                                Facsimile:         3219 0045
                                Address:           Av. Monsenhor Tabosa 111
                                                   1st Floor, Suite 14
                                                   Edificio Vicente de Castro Neto
                                                   60165 – Fortaleza, CE, Brazil
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                                (Please contact Recife for after hours numbers)

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      Representações Ltda.      Facsimile:         3266 4069
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                                E-mail:            abacus@abacus.com.br
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                                Contact:           Mr J. C. Pires             3226 3554
                                                                              9982 1630 (Mobile)

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                                Facsimile:         4205 5239
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                                                   13270 Fos-sur-Mer
                                E-mail:            info@mcleans.fr
                                Contact:           Mrs M. Le Guen                 442 055973
                                                                                  623 394819 (Mobile)
                                                   Mr L. McLean                   607 640073 (Mobile)
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                                                   The Mall, Freeport
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                                E-mail:            p&i.houston@ctcplc.com
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     Africa Marine Services      Area code:        (232-22)
     (Sierra Leone)              Telephone:        220 974
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                                                   P.O. Box 1277
                                 Contact:          Mr M. Betts-Priddy                 231 801
                                                                                      76602123 (Mobile)
                                                   Mr K. Wilson                       607790
                                                                                      76767494 (Mobile)
                                 (24 Hour London Contact No. +44 (0)207 613 0131, E-mail: africamarine@aol.com)

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                                 Facsimile:        229513
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                                                   45 Cline Street
                                 E-mail:           nsc@sierratel.sl
                                 Contact:          Mr S. B. Fomba       263412
                                                                        76601558 (Mobile)
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                                                                            (0417) 959 935 (Mobile)
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     FUJAIRAH United Arab Emirates                                                    See Dubai




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 141 of
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                                                Mr H. Ferreira             96 627 16 10 (Mobile)
                                                Mr D. Almada               96 945 98 93 (Mobile)
                                                Mr L. Teixeira             96 627 17 80 (Mobile)

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                             Facsimile:         270 504
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                                                Gabes 6000
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 142 of
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                                                    80-563 Gdansk
                                  Website:          www.mag.gdynia.pl
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                                                                              j.legowski@mag.gdynia.pl
                                                    Mr K. Kuchta              781 0299
                                                                              (603) 650 494 (Mobile)
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 143 of
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                                                                               steve@baysideshipping.com
                                  (In case of communication difficulty, please contact Alex Evered, Tel: +61(0) 3 9699 3332,
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                                  Contact:          Capt. A. Talarico                  (335) 640 9443 (Mobile)
                                                    Capt. S. Galleano                  (335) 640 9444 (Mobile)
                                                    Capt F. Pescaglia                  (335) 1258507 (Mobile)
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 144 of
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                                            Georgetown
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                               Contact:     T. Jonas                  623 3967 (Mobile)

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     Surveyors) Ltd.           Facsimile:   946 3612/947 3289
                               Address:     P.O. Box 2584 GT.
                                            3 Drumblade Apts
                                            94A Aspiration Drive
                                            Grand Cayman
                                            Cayman Islands, B.W.I.
                               E-mail:      lbwhorms@candw.ky
                               Contact:     Capt. Mike Pickthorne     949 9210
                                                                      916 1765 (Mobile)

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      GHENT Belgium
      Langlois & Co.               Area code:        (32-9)
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                                   E-mail:           gent@langlois.be
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                                                                               473 845774 (Mobile)
                                                     Mr H. Vanhoutte           369 6093
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                                   (24 Hours duty mobile 447 349 410)

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     GIOIA TAURO Italy continued
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 147 of
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      HAGATNA Guam                                                                          See Guam




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                                                       Oren Building
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                                                                                            87751 572 (Fax)
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 149 of
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                                                     Mr J. W. Brons            (4183) 7778690 (Mobile)
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                                 Website:     www.castren.fi
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                                Facsimile:   219854/211 533/238 269
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                                             Hodeidah
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                                                                            252 3989 (Mobile)
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      ILYICHEVSK Ukraine                                                  See Odessa

      IMPERIA Italy                                                       See Genoa

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                                   E-mail:      inchonhs@hyopsung.co.kr
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                                                                         (11) 755 7947 (Mobile)
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      P & I Services Ltd.

      IQUIQUE Chile                                                       See Valparaiso




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                                 Facsimile:         463 2047
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                                                    Mr R. Puttick               (646) 321 1494 (Mobile)




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                                                   75461 Kharg Island
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      KHERSON Ukraine                                                                     See Odessa

      KHOR FAKKAN United Arab Emirates                                                    See Dubai

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                                Facsimile:        1 408 8695973
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                                E-mail:           budd.congoRDC-kinshasa@budd-pni.com
                                Contact:          Mr R. Kasangu          (9999) 27086 (Mobile)
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                                (In case of difficulty, please contact Budd’s Management in Marseilles Tel (33-4) 9133 5833,
                                Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
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                                                                                    41 643 926 (Mobile)
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     Hi Mallet & Cie             Area code:        (33-5)
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                                 Contact:          Mr F. Voogt              567 71309
                                                                            (6) 099 21909 (Mobile)
                                                   Mr F. Schuster           (6) 8064 5552 (Mobile)
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     Ferpandi S.r.l.

     LA UNION El Salvador                                                      See Acajutla




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                                 Marseille (33-4) 9114 0460 or consult website www.eltvedtosullivan.com for full details of emergency
                                 nos. London liaison contact: J. Woodward (33) 6 09580695

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      Limited




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     Elias Marine Consultants                                               See Tartous

     LAUNCESTON Australia                                                   See Sydney

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     Pacific Agencies (Fiji) Ltd.   Area code:   (679)
                                    Telephone:   6660 77
                                    Facsimile:   6662 985
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                                                 117 Queens Wharf Road
                                                 P.O. Box 49
                                                 Lautoka
                                                 Fiji
                                    E-mail:      info@pacshipfiji.com.fi
                                    Contact:     Mr M. O’Connor             999 8959 (Mobile)
                                                                            martin@pacshipfiji.com.fi
                                                 Mr B. Bower                999 8870 (Mobile)

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     Charles Taylor Consulting
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                                   Facsimile:   23521 3303
                                   Address:     55 rue de Pont VI
                                                76600 Le Havre
                                   Contact:     Mr C. Boutigny            3520 6501
                                                                          608 54 51 34 (Mobile)
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                                   Facsimile:   23525 2009
                                   Address:     Centre Routier
                                                Route Industrielle
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                                   E-mail:      mail@eltvedtosullivan.com
                                   Contact:     Mr S. Saillard             3538 8993
                                                                           611 322 179 (Mobile)
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                                   Facsimile:   996 7387
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                                                4450 676 Leca da Palmeira
                                                Matosinhos
                                   Website:     www.pintobasto.com
                                   Contact:     Mrs M. H. C. Ribeiro       831 6515
                                                                           (91) 937 0541 (Mobile)
                                                                           maria.helena@pintobasto.com
                                                Mrs B. N. Santos           609 0861

      LES SABLES D’OLONNE France                                          See Donges

      LIANYUNGANG China                                                   See Beijing




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     LIBREVILLE Gabon
     T.C.I. (Africa)             Area code:         (241)
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                                                    700 091 (Direct Line)
                                 Facsimile:         701 207
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                                                                            jean-pierre.david@ga.dti.bollore.com
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                                 Website:           www.tagliaviapandi.it
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                                                                                        ann.rowell@tagliaviapandi.it
                                                    Mr G. Tagliavia                     (348) 601 7625 (Mobile)

     LIEPAJA Latvia                                                                     See Riga

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                                 Telephone:         475 2930/475 2938/475 2584
                                 Facsimile:         475 2936/224 4820
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                                                    (ex Calle 12) No 160
                                                    Lima 27
                                 E-mail:            interlog@interlog.com.pe
                                                    farcap@interlog.com.pe
                                 Contact:           Mr F. Arca               344 2812
                                                                             975 85105 (Mobile)
                                                    Ms C. Paoli              358 0433
                                                                             9353 9273 (Mobile)

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                                 Facsimile:         800 801
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                                                    3020 Limassol
                                 E-mail:            emco@eliasmarine.com
                                 Website:           www.eliasmarine.com
                                 Contact:           Mr I. Elias                         385 587
                                                                                        99 625 818 (Mobile)
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                                                                                        99 436 985 (Mobile)
                                                    M. Caramondanis                     710158
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                                                                                        99 645 760 (Mobile)
e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 165 of
      LIMASSOL Cyprus continued
      Francoudi & Stephanou Ltd.    Area code:   (357-25)
                                    Telephone:   867000
                                    Facsimile:   561892
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                                                 141, Omonia Avenue
                                                 P.O. Box 51490
                                                 3506 Limassol
                                                 Cyprus
                                    E-mail:      mail@francoudi.com
                                    Contact:     Mr T. Papartemis

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                                    Facsimile:   347 1231
                                    Address:     Avenida 24 de Julho 1-1
                                                 1200-478 Lisbon
                                                 Apartado 21339-1331 Lisbon
                                    Website:     www.pintobasto.com
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                                    Contact:     Giorgio Vincenzini         (0583) 920149
                                                                            (335) 6078261 (Mobile)
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                                                                            (348) 7827112 (Mobile)

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      Pinto Basto (Angola) or
      Budd (Angola)



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     Budd c/o Groupe GATO      Area code:        (228-2)
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                                                                        9041 110 (Mobile)
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                               Facsimile:        436 7416
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                                                 P.O. Box 1730
                                                 Long Beach 90801-1730
                               E-mail:           info@kyl.com
                               Contact:          Mr W. H. Collier, Jr              989 2988
                                                                                   (310) 487 8849 (Mobile)
                                                                                   william.collier@kyl.com
                                                 Mr A. E. Peacock III              (310) 373 0325
                                                                                   (310) 902 8565
                                                 Ms E. P. Beazley                  (714) 965 0026
                                                                                   (310) 963 9885 (Mobile)
                                                 Mr J. A. Walsh II                 (714) 543 6456
                                                                                   (310) 650 1242 (Mobile)

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                                                 CA 92101
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                               Contact:          Mr B. Arnold               (619) 247 3782 (Mobile)
                                                 Ms L. Meade                (619) 666 3416 (Mobile)
                                                 Ms V. Schmid               (310) 521 1911 (Mobile)

     LORIENT France                                                                See Donges




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      LOS ANGELES Cal., U.S.A.                                                       See Long Beach

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                                                   Lojas L M&N
                                                   Luanda
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                                 Website:          www.pintobasto-angola.com
                                 Contact:          Mr B. Soares              923 598 475 (Mobile)
                                                                             bsoares@pintobasto-angola.com
                                                   A. Posser de Andrade      925 136 950 (Mobile)
                                                                             pandrade@pintobasto-angola.com
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                                                   R. Cruz                   934 783 229 (Mobile)

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                                 Facsimile:        222 432348
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                                                   Cruzeiro, Luanda
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                                 Contact:          Filipe Bonfim               91250 0503 (Mobile)
                                                                               filipe.bonfim@budd-pni.com
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                                                                               emile.sossou@budd-pni.com
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                                 Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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      LYTTLETON New Zealand                                                          See Wellington
      P & I Services Ltd.

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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 168 of
     MACEIO Brazil
     Williams Brothers Ltda.    Area code:         (55-82)
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                                Facsimile:         221 9710
                                Address:           Rua Barao De Jaragua
                                                   P.O. Box 1009, 57025.140 – Maceio
                                                   A.L., Brazil
                                E-mail:            willmcz@williams.com.br
                                Contact:           Mr A. Nascimento          325 1120
                                                                             976 6323 (Mobile)
                                (Or contact Recife for after hours numbers)

     MADRAS India                                                                   See Chennai

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     Hunt, Deltel & Co. Ltd.    Area code:         (248)
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                                Facsimile:         225367
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                                                   Mahe
                                E-mail:            hundel@seychelles.net
                                Contact:           Mr P. Grandcourt                 515 000 (Mobile)
                                                                                    percy.grandcourt@huntdeltel.com
                                                   Mr E. Houareau                   516 239 (Mobile)
                                                   Mr C.E. Houareau                 513 475 (Mobile)

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                                Facsimile:         333 090 568
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                                                   P.O. Box 983 Malabo
                                E-mail:            budd.ecuatorial-guinea@budd-pni.com
                                                   general.marseille@budd-pni.com
                                Contact:           Mr A. Lopez                222 241374 (Mobile)
                                                   Mr J. Sanchez              222 603310 (Mobile)
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                                                   29001 Malaga
                                E-mail:            admin@thwilson.com
                                                   thomaswilson@vnet.es
                                Contact:           Mr T. M. R. Tuite          (67) 062 4193
                                                   M. J. Rico                 661 250 163 (Mobile)




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      MALMO Sweden
      P&I Services Scandinavia    Area code:   (46-40)
                                  Telephone:   691 1340 (24 Hours)
                                  Facsimile:   691 1337
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                                               S-216 16 Malmo
                                  E-mail:      pandi.swe@pandiscan.com
                                  Contact:     Mr B. Julius            159 834
                                                                       10 298 1668 (Mobile)

      MANAGUA Nicaragua
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                                  Facsimile:   278 6187
                                  Address:     Centro Ejecutivo San Marino A-202
                                               Apartado Postal 3513
                                  Contact:     Mr A. Griffith Sr.         278 4145
                                               Mr A. Griffith Jr.         277 1867

      MANAUS Brazil                                                      See Recife
      Williams Brothers Ltda.     		

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                                               Edificio Atrium – sala 607
                                               69079-210 Manaus – AM
                                  E-mail:      proinde.manaus@proinde.com.br
                                  Contact:     Capt. J. P. Nascimento     91793674 (Mobile)

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      James Mackintosh & Co.      Area code:   (91-824)
      Pvt. Ltd.                   Telephone:   245 1312
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                                               Kottara, Mangalore- 575 006
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                                                                         npai@jamesmackintosh.com




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     MANILA Philippines
     Claims Services               Area code:         (63-2)
     P&I Management Co., Inc.      Telephone:         524 1846/48/522 7173
                                   Facsimile:         521 1987
                                   Address:           Room 1102
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                                                      Malate, Manila
                                                      Philippines 1000
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                                                      Ms C. Origenes             (0928) 505 2432 (Mobile)
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                                   Facsimile:         323 026
                                   Address:           Praco dos Trabalhadores 51
                                                      P.O. Box 292
                                   Website:           www.pandi.co.za
                                   Contact:           H. Madeira                 (082) 304 3280 (Mobile)
                                   (In case of difficulties contact P & I Associates, Durban (2783) 250 3398 (24 Hours mobile))

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                                                      maracaibo@3dmarine.com
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      MARIUPOL Ukraine
      Azovlloyd Pandi Services   Area code:   (380-629)
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                                 Contact:     Mr A. Nikityuk             310 182
                                                                         (067) 621 1006 (Mobile)
                                              Mr I Filatov               532165
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                                 Telephone:   413364
                                 Facsimile:   373 649
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                                              P.O. Box 17010
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                                 E-mail:      info@mcleans.fr
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                                                                         (607) 792028 (Mobile)
                                              Mr A. McLean               (614) 349860 (Mobile)
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     Budd c/o Safety Marine      Area code:         (243)
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                                                    Ville Basse
                                                    Matadi
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                                                    Mr S. Dialungana       819 057411 (Mobile)
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                                 Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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                                 (In case of communication difficulty, please contact Steve Robertson, Tel: +61(0) 2 9918 8306,
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                                                                                         robert.springall@hfw.com
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                                 Address:           Nusretiye Mah. Uray Cad.
                                                    Guvenc Is. Merkezi, B. Blok
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                                  Contact:          Mr S. Garbutt           393 034
                                                                            (347) 685 4837 (Mobile)
                                                                            (347) 330 4042 (Mobile)
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                                  Facsimile:        3000 1889
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                                                    Del. Cuauhtemoc
                                                    C.P. 06700, Mexico D.F.
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                                                    Mr O. Hutchings             (917) 412 1773 (Mobile)
                                                    Mr R. Puttick               (646) 321 1494 (Mobile)




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     MIAMI Fla., U.S.A. continued
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                                    Website:           www.houckanderson.com
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                                                       Mr A. A. Anderson        (954) 755 8574
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                                                       Ms M. O. Valdes          (305) 978 8345 (Mobile)
                                    (24 Hours contact no. 305 794 9941)

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                                                       Milwaukee
                                                       Wisconsin 53202-6613
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                                                       Mr D. W. Neeb               (262) 784 0937
                                                       Mr L. F. Raymond            481 3356

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     (Sarawak) Sdn Bhd              Telephone:         651 011/655 233
                                    Facsimile:         655 858/98007
                                    Address:           P.O. Box 174
                                                       98007, Miri
                                    Contact:           Mr Y. H. Guan              (88) 269 848
                                    (All correspondence to Kota Kinabalu)

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     Shtewi Legal & Pandi
     Services

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                                                       13th Floor, Houston, Texas 77027
                                    E-mail:            p&i.houston@ctcplc.com
                                    Contact:           Ms S. Smith                 202 5576 (Mobile)

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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 175 of
      MOBILE Alabama., U.S.A. continued
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      Omer Ali Dualeh & Co.      Area code:         (252-1)
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                                                    Mogadishu
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                                 Contact:           Mr Abdul Kadir O. Ali        2442 7016 (Mobile)
                                 (In case of difficulty, contact Jeddah office Tel: 9662 698 4296, Fax: 9662 619 6965, e-mail:
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                                 c/o P.O. Box 3050, Jeddah, 21471, Saudi Arabia)

      MOJI AND WESTERN JAPANESE PORTS Japan                                             See Tokyo

      MOKHA Yemen                                                                       See Hodeidah

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      Indemnity Kenya Ltd.       Facsimile:         222 0511
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                                                    Moi Avenue
                                                    P.O. Box 99342
                                 E-mail:            pandi@africaonline.co.ke
                                 Website:           www.pandi.co.za
                                 Contact:           Capt. M. M. Ittiso         249 2372
                                                                               (0) 733 803 226 (Mobile)

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                                                    MC 98000 Monaco
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      MONFALCONE Italy                                                                  See Trieste



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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 176 of
     MONGSTAD Norway
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                                                  N-5954 Mongstad
                                E-mail:           oro@oro.no
                                Contact:          Mr A. Ozsoy                        55 59 03 61
                                                                                     99 20 25 26 (Mobile)
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                                                  Liberia
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                                Website:          www.africamarineserv.com
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                                E-mail:           mutual@chw.com.uy
                                Contact:          Capt. A. Laborde                   711 5219
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                                                                                     (598-95) 65 91 15 (Mobile)

     MONTOIR France                                                                  See Donges




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 177 of
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                                               Montreal
                                               H3B 5H4
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     MORMUGAO India
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                                               Goa 403 803
                                  E-mail:      hoinsurance.cb@chowgule.co.in
                                  Website:     www.chowgulebros.com
                                  Contact:     Mr K. K. Vijayakumar    2512771
                                                                       098 2212 0799 (Mobile)
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                                               Moscow 117105
                                  E-mail:      moscow@cispandi.com
                                  Contact:     Capt A. Baskakov          916 997 1874 (Mobile)

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                                               109147 Moscow
                                  E-mail:      jurin@jurinflot.ru
                                               jurinflot-ermolaev@lawyer.com
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                                                                          763 0382 (Mobile)
                                               Mr V. A. Mednikov          343 9816
                                                                          743 4861 (Mobile)

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                                  Address:     P.O. Box 24
                                               Mt. Wara
                                  Contact:     Mr H. A. Ngoma            2592




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      MUMBAI India
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      (Private) Ltd.               Telephone:         6638 3535
                                   Facsimile:         2261 5725
                                   Address:           P.O. Box 123
                                                      ‘Darabshaw House’
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                                                      Ballard Estate
                                                      Bombay 400 001
                                   E-mail:            p&i@jamesmackintosh.com
                                   Website:           www.jamesmackintosh.com
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                                                                               98 200 44780 (Mobile)
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                                                                               98 200 44781 (Mobile)
                                                      Mr G. Jacob              (0250) 2381 382
                                                                               98 200 76119 (Mobile)
                                                      Mr S. D’Souza            (0250) 238 2941
                                                                               98 204 51713 (Mobile)
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                                                      Murmansk 183038
                                   E-mail:            pandi@fromru.com
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                                   Facsimile:         2478 6320/2479 7994
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                                                      Al Noor Street, Way 3109,
                                                      Block131 – Ruwi
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                                                                                9931 5968 (Mobile)
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                                                      Divya Bhat                9217 0895 (Mobile)
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      NAGOYA Japan                                                                          See Tokyo




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 180 of
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                           E-mail:              nakhodka@cispandi.com
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                                                Mr G. Mikheev                          713 2686 (Mobile)
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                           E-mail:              holmemarine@holme.it
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                                                                                       0335 6973324 (Mobile)
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                                                    Mr G. Borriello           (348) 305 6692 (Mobile)
                                                    Mr V. Sotunde             (348) 5900937 (Mobile)
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                                                    Mr A. Serino                   4288197
                                                                                   (335) 7535855 (Mobile)
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                                                                                   (335) 7535851 (Mobile)

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                                 Facsimile:         393 6807
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                                                    P.O. Box 8181
                                 E-mail:            dturnco@gmail.com
                                 Contact:           Mrs Frederica
                                                    G. McCartney                   322 5320
                                                    Mrs C. Lashley                 325 2404
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                                 Facsimile:         3221 2337
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                                                    Codem – Riberia
                                                    59010.700 – Natal, RN, Brazil
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                                 (Please contact Recife for after hours numbers)

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     NEW JERSEY U.S.A.                                                                See New York

     NEW MANGALORE India                                                              See Mangalore

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                                 E-mail:           p&i.houston@ctcplc.com
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                                 Contact:          Mr R. H. Murphy             834 8466
                                                                               495 2042 (Mobile)
                                                   Mr C. L. Whited, Jr.        899 4997
                                                   Mr P. Tompkins              899 1052
                                                                               451 3640 (Mobile)
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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 183 of
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                                              Newcastle, N.S.W. 2300
                                              Australia
                                 Contact:     Mr M. Crameri              4950 9495
                                                                         (0419) 214243 (Mobile)
                                                                         mark@ossad.com.au
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      Hull Blyth Araouzos Ltd.   Area code:   (357-22)
                                 Telephone:   673132
                                 Facsimile:   672793
                                 Address:     Leoforos Evagorou 17
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                                              P.O. Box 21244
                                              1504 Nicosia
                                 E-mail:      shipping@hba.com.cy
                                 Website:     www.hba.com.cy
                                 Contact:     Mr L. Loizou               25326495
                                                                         99440211 (Mobile)
                                              Mrs T. Kritikos            99615669 (Mobile)
                                              Mr J. Economou             25879777
                                                                         99674300 (Mobile)

      Elias Marine Consultants   		                                      See Limassol
      Limited

      NINGBO China                                                       See Beijing

      NORDENHAM Germany                                                  See Bremen

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                                 E-mail:      p&i.newyork@ctcplc.com
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     NORFOLK Va., U.S.A. continued
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                                Facsimile:         446 8670
                                Address:           500 World Trade Center
                                                   Norfolk, Va. 23510-1699
                                Website:           www.vanblk.com
                                Contact:           Mr M. Coberly                       436 3626
                                                                                       (757) 676 6771 (Mobile)
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                                                   Mr E. J. Powers                     496 0370
                                                                                       287 6788 (Mobile

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     NOUAKCHOTT Mauritania
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                                Telephone:         5256 894
                                Facsimile:         5253 287
                                Address:           B.P. 3033
                                                   T038/039 – Tevragh Zeina
                                                   Nouakchott
                                E-mail:            tciafrnktt@mauritel.mr
                                Contact:           Mr M. Lemine             5251 256
                                                                            630 51 60 (Mobile)
                                                                            641 55 30 (Mobile)
                                                                            234 57 89 (Mobile)
                                (In case of difficulty contact Managers Eltvedt & O’Sullivan in Marseille (33-4) 9114 0460.
                                After office hours: R. Godfrey (33) 613 621 389 or consult website www.eltvedtosullivan.com
                                for full details of emergency nos.)

     Budd Mauritania            Area code:         (222)
                                Telephone:         5250 702
                                Facsimile:         5291 754
                                Address:           BP 6426
                                                   Nouakchott
                                Contact:           Mr Mah                              6304 386 (Mobile)
                                                                                       mah@mauritel.mr
                                (In case of difficulty, please contact Budd’s Management in Marseilles Tel (33-4) 9133 5833,
                                Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
                                Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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     McLeans (New Caledonia)    Area code:         (687)
     c/o ALB NAVAL              Telephone:         376915
                                Facsimile:         348328
                                Address:           2 Allee Bellevue
                                                   Baie de Citrons, BP 8745
                                                   98807 Noumea Sud
                                                   New Caledonia
                                E-mail:            jackalain@gmail.com
                                Contact:           Capt. A. Le Breton                  78 1084 (Mobile)
                                (Also via Paris Mrs T. Mauduit +33 140 399293, +33 680 030402 mobile)




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      NOVOROSSIYSK Russia
      CIS Pandi Services    Area code:         (7-8617)
                            Telephone/
                            Facsimile:         711533
                            Address:           P.O. Box 139
                                               95 Fabritchnaya Street
                                               353923 Novorossiysk
                            E-mail:            novo@cispandi.com
                            Contact:           Mr O. Shashkin                       711883
                                                                                    9887 627 563 (Mobile)
                                               Mrs I. Ketova                        928 4150 157 (Mobile)
                            (Alternatively call CIS head office in Cyprus on 00 3572 5763 340)

      NYKOLAYEV Ukraine                                                             See Odessa

      ODESSA Ukraine
      Dias Co. Ltd.         Area code:         (380-482)
                            Telephone:         377 696/344 377
                            Facsimile:         373 873
                            Address:           1 Bazarnaya Str.
                                               65014 Odessa
                            E-mail:            company@dias-co.com
                            Website:           www.dias-co.com
                            Contact:           Igor Cherezov                        345 095
                                                                                    067 480 3434 (Mobile)
                                               Elena Trofanyuk                      373 419
                                                                                    067 483 8231 (Mobile)
                                               Dmitriy Gololobov                    (487) 772 079
                                                                                    067 480 4899 (Mobile)
                                               Dennis Burlak                        659 729
                                                                                    067 484 2566 (Mobile)
                                               Natalia Bondaryuk                    (487) 748656
                                                                                    067 484 8656 (Mobile)

      CIS Pandi Services    Area code:         (380-482)
                            Telephone:         376 915
                            Facsimile:         348328
                            Address:           76 Bazarnaya Street
                                               Suite 7
                                               65011 Odessa
                            E-mail:            odessa@cispandi.com
                            Contact:           Mr P. Svertilov                      (67) 4846884 (Mobile)
                                               Mr G. Markov                         (50) 3166536 (Mobile)




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     OLBIA Sardinia
     Tagliavia & Co. s.r.l.      Area code:   (39-091)
                                 Telephone:   587377
                                 Facsimile:   322435
                                 Address:     Casella Postale 58
                                              07046 Porto Torres
                                 E-mail:      info@tagliaviapandi.it
                                 Website:     www.tagliaviapandi.it
                                 Contact:     Mrs A. Rowell              (348) 601 7621 (Mobile)
                                                                         ann.rowell@tagliaviapandi.it
                                              Mr G. Tagliavia            (348) 601 7625 (Mobile)
                                              Ms J. Hawthorne            (339) 808 9130 (Mobile)

     Studio Legale Vincenzini    Area code:   (39-0789)
     (Lawyers)                   Telephone:   23920
                                 Facsimile:   24935
                                 Address:     via Garibaldi 37
                                              07026 Olbia
                                 E-mail:      studio.legale@vincenzini.it
                                 Contact:     Ugo Vincenzini              (0583) 926404
                                                                          (335) 6260538 (Mobile)
                                              Giorgio Vincenzini          (0583) 920149
                                                                          (335) 6078261 (Mobile)
                                              Silvia Del Corso            (0586) 809699
                                                                          (348) 7827112 (Mobile)

     OPORTO Portugal                                                     See Leixoes
     Pinto Basto Comercial Lda

     ORAN Algeria                                                        See Algiers

     OSAKA Japan                                                         See Tokyo

     OSLO Norway
     Tirco-Wesmans AS            Area code:   (47)
                                 Telephone:   40 00 43 88 (24 Hours)
                                 Facsimile:   60 20 46 69
                                 Address:     Voyensvingen 21A, N-0458
                                              Oslo
                                 E-mail:      office@tirco-wesmans.no
                                 Contact:     K. E. Presterud          91 30 41 04 (Mobile)
                                              T. E. Johansen           97 13 21 86 (Mobile)

     OSTEND Belgium                                                      See Ghent

     OWENDO Gabon                                                        See Libreville




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      PAGO PAGO Samoa Island
      William H. Reardon          Area code:   (684)
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                                  Facsimile:   633 1537
                                  Address:     Faga’ Alu Park
                                               P.O. Box 3452, Pago Pago
                                  Contact:     Mr W. Reardon            633 4004
                                                                        reardon@samoatelco.com

      PALAMOS Spain
      Felix Ribera e Hijos S.A.   Area code:   (34-972)
                                  Telephone:   314 400/314 404/314 666
                                  Facsimile:   315 450
                                  Address:     C/Pages Oritz 94
                                               P.O. Box 4
                                               17230 Palamos
                                  E-mail:      info@fribera.es
                                  Contact:     Mr Ribera               (610) 430 783 (Mobile)
                                               Mr Collell              (630) 020 599 (Mobile)

      PALERMO Italy
      Tagliavia & Co. s.r.l.      Area code:   (39-091)
                                  Telephone:   333 850/587 377
                                  Facsimile:   322 435/580 495
                                  Address:     8 Via Emerico Amari
                                               90139 Palermo
                                  E-mail:      info@tagliaviapandi.it
                                  Website:     www.tagliaviapandi.it
                                  Contact:     Mrs A. Rowell             (348) 601 7621 (Mobile)
                                                                         ann.rowell@tagliaviapandi.it
                                               Dr. C. Tagliavia          (348) 601 7620 (Mobile)
                                               Mr G. Tagliavia           (348) 601 7625 (Mobile)

      PALMA DE MALLORCA Spain
      A.M. Transhispanica S.A.    Area code:   (34-971)
                                  Telephone:   727 141/727 147
                                  Facsimile:   710 017
                                  Address:     Plaza Lonja 1 y 2
                                               P.O. Box 71
                                               07012 – Palma de Mallorca
                                  Contact:     Mrs M. P. Frontera        760 071
                                                                         616 264 662 (Mobile)

      PAPEETE Tahiti
      Agence Maritime de          Area code:   (689)
      Fare Ute                    Telephone:   425 561/434 774
                                  Facsimile:   428 608
                                  Address:     B.P. 9100 Mota Uta
                                  E-mail:      general@amfu.pf
                                  Contact:     Mr L. Jacques             431 257
                                               Ms A. Grand-Dupay         (689) 170687 (Mobile)




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 188 of
     PARAMARIBO Republic of Surinam
     Independent Maritime       Area code:   (597)
     Bureau (Suriname) N.V.     Telephone:   473512
                                Facsimile:   472473
                                Address:     Dominestraat 34
                                             P.O. Box 2924
                                Contact:     Mr Hugo Bromet           427228 (24 Hours)
                                                                      8806518 (Mobile)
                                                                      hbromet@sr.net

     PARANAGUA Brazil
     van Herp & Frumento        Area code:   (55-41)
     (P&I Services) Ltda.       Telephone:   3422 5512/9978 2564 (Mobile)
                                Facsimile:   3423 1691
                                Address:     P.O. Box 355
                                             Centro Historico 83.203-970
                                Website:     www.pandi-png.com.br
                                Contact:     Mr J. H. Frumento Filho 3422 5505
                                                                       9978 2564 (Mobile)
                                                                       frumento@pandi-png.com.br
                                             Mr E. Digiovanni Filho    3422 5123
                                                                       9118 4118 (Mobile)
                                                                       digiovanni@pandi-png.com.br
                                             Mr A. Abreu               3425 5520
                                                                       9903 9631 (Mobile)
                                                                       abreu@pandi-png.com.br

     PARIS France
     Budd SA                    Area code:   (33-1)
                                Telephone:   4256 3612
                                Facsimile:   4561 0980
                                Address:     35 Avenue des Champs Elysees
                                             75008 Paris
                                E-mail:      budd.paris@budd-pni.com
                                Contact:     Mr J. Budd               (6) 0777 4117 (Mobile)
                                             Mr G. Beszotot           (6) 8067 0577 (Mobile)

     Charles Taylor Adjusting   Area code:   (33-1)
                                Telephone:   5343 0030
                                Facsimile:   5330 0040
                                Address:     3 Rue Scribe
                                             75009 Paris
                                Contact:     C. G. Cole               68666 5558 (Mobile)
                                                                      christopher.cole@charlestayloradj.com

     PASAJES Spain                                                    See Bilbao




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      PENANG Malaysia
      CTC Services (M) Sdn. Bhd.   Area code:        (60-3)
                                   Telephone:        7781 2260
                                   Facsimile:        7781 2261
                                   Address:          602, 6th Floor, Menara Mutiara Majestic
                                                     15 Jalan Othman, 46000 Petaling Jaya
                                                     Selangor
                                   Contact:          Capt. S. Divakaran         (12) 207 2519 (Mobile)
                                                                                siva.divakaran@charlestayloradj.com

      PENSACOLA Fla., U.S.A.
      Charles Taylor P&I           Area code:        (1-713)
      Management (Americas),       Telephone:        840 1642 (24 Hours)
      Inc                          Facsimile:        840 8030
                                   Address:          2100 West Loop South
                                                     13th Floor, Houston, Texas 77027
                                   E-mail:           p&i.houston@ctcplc.com
                                   Contact:          Ms S. Smith                 202 5576 (Mobile)

      PERTH & FREMANTLE Australia
      Bayside Shipping Services    Area code:        (61-2)
      Pty Ltd.                     Telephone:        9918 8306
                                   Facsimile:        8324 6486
                                   Address:          P.O. Box 692, Avalon, Sydney, NSW 2107
                                   Contact:          S. Robertson               420 982411 (Mobile)
                                                                                steve@baysideshipping.com
                                   (In case of communication difficulties please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                   Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)

      Cocks, Macnish               Area code:        (61-8)
      (Lawyers)                    Telephone:        9321 6676
                                   Facsimile:        9322 1543/9481 6518
                                   Address:          Box 513, West Perth 6872
                                                     7 Ventnor Avenue
                                                     West Perth 6005
                                   E-mail:           cocmac@cocksmacnish.com.au
                                   Contact:          Mr T. E. Cocks           9335 1749, 9530 3249 (Fax)
                                                                              (0418) 925 546 (Mobile)
                                                     Mr A. H. Nichols         9279 4469
                                                                              (0417) 959 935 (Mobile)

      PHILADELPHIA Pa, U.S.A.
      Charles Taylor P&I           Area code:        (1-212)
      Management (Americas),       Telephone:        809 8085
      Inc                          Facsimile:        968 1978
                                   Address:          80 Broad Street, 32nd Floor
                                                     New York, New York 10004
                                   E-mail:           p&i.newyork@ctcplc.com
                                   Contact:          Mr L. Lambert               (973) 444 2683 (Mobile)
                                                     Mr O. Hutchings             (917) 412 1773 (Mobile)
                                                     Mr R. Puttick               (646) 321 1494 (Mobile)




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     PHILADELPHIA Pa, U.S.A. continued
     Fox, Rothschild LLP         Area code:   (1-215)
     (Lawyers)                   Telephone:   299 2000
                                 Facsimile:   299 2150
                                 Address:     2000 Market Street
                                              Tenth Floor, Philadelphia
                                              Pa. 19103-3291
                                 Contact:     Mr J. F. Young              (610) 941 1160
                                                                          (215) 840 3154 (Mobile)
                                              Mr A. R. Degen              (610) 783 5201
                                                                          (215) 620 0869 (Mobile)
                                                                          adegen@foxrothschild.com
                                              Mr K. Thornton              (609) 884 4815
                                                                          (609) 602 4907 (Mobile)
                                              Mr B. Chacker               (215) 523 8922
                                                                          (215) 498 5189 (Mobile)

     PHNOM PENH Cambodia                                                  See Sihanoukville

     PIRAEUS Greece
     Charles Taylor & Co. Ltd.   Area code:   (30-210)
     c/o Richards Hogg Lindley   Telephone:   429 0733
     (Hellas) Ltd.               Facsimile:   429 0818/429 0950
                                 Address:     85, Akti Miaouli
                                              185 38 Piraeus
                                 E-mail:      p&i.piraeus@ctcplc.com
                                 Contact:     Mr H. Smith                 (6949) 075 074 (Mobile)
                                                                          hunter.smith@ctcplc.com
                                              Ms C. Soulaki               (6948) 531 613 (Mobile)
                                              Mr K. Katsoulieris          (6941) 587 277 (Mobile)
                                              Ms A. Doumeni               (6951) 006 764 (Mobile)

     N. Goyios – A. Nassikas     Area code:   (30-210)
     (Lawyers)                   Telephone:   429 2904/429 2640
                                 Facsimile:   429 3129
                                 Address:     Livanos Building
                                              47-49 Akti Miaouli
                                              Piraeus, GR 185 36
                                 E-mail:      goynas@otenet.gr
                                 Contact:     Mr N. Goyios                816 1047
                                                                          6944 274548 (Mobile)
                                              Mr A. Nassikas              671 6817
                                                                          6944 283809 (Mobile)
                                              Mr A. Koutsofios            417 2152




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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 191 of
      POINTE A PITRE Guadeloupe
      McLeans FWI                 Address:           Maison Petrel
                                                     Dorville
                                                     Baie Mahault
                                                     97122 Guadeloupe FWI
                                  E-mail:            mcleansfwi@mcleans.fr
                                  Contact:           Mr L. Petrelluzzi                   33 690 357 023 (Mobile)
                                                     Mr L. Urcun                         33 690 552 128 (Mobile)
                                                     Mr P. Garo                          33 607 792 028 (Mobile)

      POINTE DES GALETS Reunion Island                                                   See Port Reunion

      POINTE NOIRE Congo
      T.C.I. (Africa)             Area code:         (242)
                                  Telephone:         664 42 15/94 76 08
                                  Facsimile:         94 28 60
                                  Address:           B.P. 5 178
                                                     Pointe Noire
                                  E-mail:            exmatra@yahoo.fr
                                                     tcipointenoire@yahoo.fr
                                                     tcicongo@yahoo.fr
                                  Contact:           Mr I. Tall                          6 64 42 15
                                                                                         6 62 62 53 (Mobile)
                                                                                         5 63 81 98 (Mobile)
                                  (In case of difficulty contact Managers Eltvedt & O’Sullivan in Marseille (33-4) 9114 0460.
                                  After office hours: R. Godfrey (33) 613 621 389 or consult website www.eltvedtosullivan.com
                                  for full details of emergency nos.)

      PONTA DELGADA Azores
      Albano de Oilveira Sucr.    Area code:         (351 296)
      Ltda.                       Telephone:         282 638/284 313
                                  Facsimile:         283 746
                                  Address:           P.O. Box 153
                                                     Av. Infante D. Henrique 5-1°
                                                     9500-762 Ponta Delgada
                                  E-mail:            albano.agency@mail.telepac.pt
                                  Website:           www.albano-agency-azores.com
                                  Contact:           Mr F. Raposo                 636540
                                                                                  917 287275 (Mobile)
                                                     Mr A. Raposo                 636540
                                                                                  917 765828 (Mobile)
                                                     Mr R. Paulino                281479
                                                                                  917 205230 (Mobile)

      PORT ALFRED Canada                                                                 See Quebec

      PORT ARTHUR Texas, U.S.A.                                                          See Beaumont




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     PORT AU PRINCE Haiti
     Antoine Hogarth S.A.          Area code:          (509)
                                   Telephone:          260 5510/558 0192/260 5511
                                   Facsimile:          244 5880
                                   Address:            1 Rue Assad Turgeau
                                                       P.O. Box 1255
                                                       Port Au Prince
                                   Contact:            Mr A. Hogarth           510 7771
                                                                               anthogarth@acn2.net
                                                       Mr M. Hogarth           558 0192 (Mobile)
                                   (In case of difficulty contact USA office (954) 961 5892)

     PORT CANAVERAL Fla., U.S.A.
     Charles Taylor P&I            Area code:          (1-212)
     Management (Americas),        Telephone:          809 8085
     Inc                           Facsimile:          968 1978
                                   Address:            80 Broad Street, 32nd Floor
                                                       New York, New York 10004
                                   E-mail:             p&i.newyork@ctcplc.com
                                   Contact:            Mr L. Lambert               (973) 444 2683 (Mobile)
                                                       Mr O. Hutchings             (917) 412 1773 (Mobile)
                                                       Mr R. Puttick               (646) 321 1494 (Mobile)

     Lau, Lane, Pieper, Conley &   		                                                          See Tampa
     McCreadie
     (Lawyers)

     PORT CARTIER Canada                                                                       See Quebec

     PORT CHALMERS New Zealand                                                                 See Wellington
     P & I Services Ltd.

     PORT DE BOUC France                                                                       See Fos

     PORT ELIZABETH South Africa                                                               See Durban
     P & I Associates
     Bowman Gilfillan Inc          Area code:          (27-41)
     (Lawyers)                     Telephone:          373 3640
                                   Facsimile:          373 2296
                                   Address:            46 Roosevelt Road
                                                       Glendinningvale
                                                       Port Elizabeth 6001
                                   Website:            www.bowman.co.za
                                   Contact:            G. Charnock                             82 806 6006 (Mobile)
                                                       C. Cunninghanm                          82 806 6001 (Mobile)
                                                                                               c.cunningham@bowman.co.za
                                                       J. Prain                                72 596 7658 (Mobile)
                                                                                               j.prain@bowman.co.za
                                   (24 Hours Emergency response +27 21 480 7920)

     PORT EVERGLADES Fla., U.S.A.                                                              See Ft. Lauderdale




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      PORT GENTIL Gabon
      T.C.I. (Africa)             Area code:         (241)
                                  Telephone:         55 35 11/55 35 16 (Direct Line)
                                  Facsimile:         55 56 42/55 56 43
                                  Address:           B.P. 518 Port-Gentil
                                  Contact:           P. Jarry                    07 361 331 (Mobile)
                                                                                 philippe.jarry@bollore.com
                                  (In case of difficulty contact Managers Eltvedt & O’Sullivan in Marseille (33-4) 9114 0460.
                                  After office hours: R. Godfrey (33) 613 621 389 or consult website www.eltvedtosullivan.com
                                  for full details of emergency nos.)

      PORT HARCOURT Nigeria                                                              See Lagos
      T.C.I. (Africa) Lagos       (In case of communication difficulty please contact the Managers in Marseille (33-4) 9114 0460
                                  or consult website www.eltvedtosullivan.com for full emergency Nos. London liaison contact:
                                  J. Woodward (33) 6 0958 0695)

      Africa Marine Services      Area code:         (234-1)
      (Nigeria)                   Telephone:         587 2882/545 8709
                                  Facsimile:         587 2882/545 8709
                                  Address:           13A Bishop Dimiere Road
                                                     GRA Phase III
                                                     Port Harcourt
                                  Contact:           Mr Iain Marsh                       803 323 6039 (Mobile)
                                  (24 Hours London Contact No. +44 (0) 207 613 0131, E-mail: africamarine@aol.com)

      PORT HEDLAND Australia
      Bayside Shipping Services   Area code:         (61-2)
      Pty Ltd.                    Telephone:         9918 8306
                                  Facsimile:         8324 6486
                                  Address:           P.O. Box 692, Avalon, Sydney, NSW 2107
                                  Contact:           S. Robertson               420 982411 (Mobile)
                                                                                steve@baysideshipping.com
                                  (In case of communication difficulties please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                  Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)

      PORT KELANG Malaysia
      Charles Taylor Marine       Area code:         (60-3)
      SDN. BHD                    Telephone:         7781 2260
                                  Facsimile:         7781 2261
                                  Address:           602, 6th Floor, Menara Mutiara Majestic
                                                     15 Jalan Othman
                                                     46000 Petaling Jaya
                                                     Selangor
                                  Contact:           Capt. S. Divakaran         (12) 207 2519 (Mobile)
                                                                                siva.divakaran@charlestayloradj.com

      PORT KEMBLA Australia
      Bayside Shipping Services   Area code:         (61-2)
      Pty Ltd.                    Telephone:         9918 8306
                                  Facsimile:         8324 6486
                                  Address:           P.O. Box 692, Avalon, Sydney, NSW 2107
                                  Contact:           S. Robertson               420 982411 (Mobile)
                                                                                steve@baysideshipping.com
                                  (In case of communication difficulties please contact Alex Evered, Tel: +61(0) 3 9699 3332,
                                  Fax: +61(0) 3 9699 3330, Mobile: +61(0) 438 663 466, e-mail: service@baysideshipping.com)




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     PORT LA NOUVELLE France                                                            See Sete

     PORT LOUIS Mauritius
     Blyth Bros. & Co. Ltd.       Area code:         (230)
                                  Telephone:         202 7127
                                  Facsimile:         208 0879
                                                     208 5814
                                  Address:           8 Ferriere Street, Port Louis
                                  E-mail:            claims@iblgroup.com
                                  Contact:           Capt. J. Goilot               696 5981
                                                                                   423 7224 (Mobile)
                                                     Mr J. F. Victor               405 5649 (Mobile)

     PORT MORESBY Papua New Guinea
     Brian White and Associates   Area code:         (675)
     (Lawyers)                    Telephone:         311 2311
                                  Facsimile:         325 5007
                                  Address:           P.O. Box 698
                                                     Port Moresby
                                                     Papau New Guinea
                                                     1st Floor, Investwell Building
                                                     off Cameron Road, Gordons Industrial Estate
                                  E-mail:            moresby@bwamarine.com
                                  Website:           www.bwamarine.com
                                  Contact:           Mrs M. Aria                   7380 3481 (Mobile)
                                  (24 Hours Emergency contact no. +617 4031 4711. In case of communication difficulties contact the
                                  Cairns office)

     PORT OF SPAIN Trinidad
     Teal Pandi & Marine          Area code:         (1-868)
     Services Limited             Telephone:         632 0506
                                  Facsimile:         633 1688
                                  Address:           P.O. Box 1407,
                                                     Port of Spain
                                  E-mail:            mail@tealpandi.com
                                  Contact:           Mr P. Taylor                       868 678 8518 (Mobile)
                                                     Ms D. Taylor                       868 678 8085 (Mobile)
                                                     Ms L. Farrell                      868 684 6754 (Mobile)

     PORT REUNION Reunion
     Indoceanic Services Ltd.     Area code:         (262)
                                  Telephone:         262 438 585/262 433 333
                                  Facsimile:         262 420 310/262 431 515
                                  Address:           7 r Ambroise Croizat
                                                     BP 186 – 97825 Le Port Cedex
                                  E-mail:            pandit@indoceanic.com
                                                     indoceanic@wanadoo.fr
                                  Contact:           Mr H. J. Thomson          692 448 383
                                                                               692 852 929 (Mobile)
                                                     Ms D. Thomson             692 017 777 (Mobile)
                                                     Mr G. Philippe            692 019 999 (Mobile)




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      PORT SAID Egypt
      Abou Ali                   Area code:         (20-66)
      (Lawyers)                  Telephone:         3328 859/3325 356
                                 Facsimile:         3324 032
                                 Address:           45 Abdel Salaam Aref Street
                                                    Al Hana Bldg. First Floor
                                                    P.O. Box 456
                                                    Port Said
                                                    Egypt
                                 E-mail:            abouali@abouali-law.com
                                 Contact:           Mr M. G. Abou Ali          (2) 2290 0221
                                                                               (12) 215 7691 (Mobile)
                                                    Mr A. G. Abou Ali          (2) 2792 4101/2/3
                                                                               (12) 211 4561 (Mobile)
                                                    Mr T. G. Abou Ali          3327 184
                                                                               (12) 215 7937 (Mobile)
                                                    Mr K. G. Abou Ali          3381 706
                                                                               (12) 215 3156 (Mobile)

      PORT SAINT LOUIS DU RHONE France                                                   See Fos

      PORT SALAJAH Sultanate of Oman                                                     See Muscat

      PORT SUDAN Sudan
      Mutual Marine Services &   Area code:         (249-311)
      Transport Al Mushtaraka    Telephone:         827 656/827 754/833 308
      Ltd.                       Facsimile:         827 660
                                 Address:           A1 Bohein Building, 1st Floor
                                                    P.O. Box 1022
                                 E-mail:            abbasdahab@hotmail.com
                                                    claims.sudan@mushtaraka.com
                                 Contact:           Osman Badawi                 9123 34920 (Mobile)
                                                                                 osman.badawi@mushtaraka.com
                                                    Amir Hassan                  9125 18463 (Mobile)
                                                                                 amir.hassan@mushtaraka.com
                                 (In case of difficulties in communication with Port Sudan, please contact Al Mushtaraka, Jeddah,
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      PUNTARENAS Costa Rica                                             See San Jose

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     ROSARITO Mexico                                                                   See Mexico City

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      SAN JUAN DEL SUR Nicaragua                                                           See Managua




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                                                    San Pedro
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                                 Fax (33-4) 9133 1331, AOH Sarah Wright-Lawson Tel (33-4) 9179 1083, Mobile (33-6) 0810 9949,
                                 Fax (33-4) 9180 5137 or consult website www.budd-pni.com for full details of emergency nos.)

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                                                    Boulevard du Port
                                                    San Pedro
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                                 Contact:           Mr M. Taoule                  0781 0556
                                 (In case of difficulty contact Managers Eltvedt & O’Sullivan in Marseille (33-4) 9114 0460.
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     A&A Multiprime              		                                                     See Bogota

     A1 Aquamar Pandi Services   		                                                     See Cartagena
     Ltda.




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      SAVONA Italy                                                       See Genoa
      Ferpandi S.r.l.

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     SKAGWAY Alaska, U.S.A.                                              See Juneau

     SOFIA Bulgaria                                                      See Varna

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e 2:10-md-02179-CJB-DPC Document 4457-20 Filed 11/01/11 Page 215 of
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      TACOMA Wa., U.S.A.                                                               See Seattle




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     TALCAHUANO Chile                                                              See Valporaiso

     TALIEN China                                                                  See Dalian

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                            Website:           www.pandibalt.lv
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      TAMPA Fla., U.S.A.
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      Management (Americas),      Telephone:   809 8085
      Inc                         Facsimile:   968 1978
                                  Address:     80 Broad Street, 32nd Floor
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                                               Mr O. Hutchings             (917) 412 1773 (Mobile)
                                               Mr R. Puttick               (646) 321 1494 (Mobile)

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      and McCreadie, P.A.         Telephone:   229 2121
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                                               Tampa Fla. 33602
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                                                                         240 7910 (Mobile)
                                               Mr N. G. W. Pieper        286 1653
                                                                         220 1524 (Mobile)
                                               Mr T. C. Conley           287 8011
                                                                         240 8760 (Mobile)

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                                  Contact:     Mr O. M. Mikidadi          3147

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                                                                              (348) 262 6072 (Mobile)
                                                 Capt. G. De Tullio           (335) 532 4141 (Mobile)

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                                                 Associates SNC
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                               (24 Hours Emergency Mobile 335 7942297)

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                               Facsimile:        224 468
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                               Fax (963-11) 2314946)




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      TARTOUS Syria continued
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                                  E-mail:            emco.sy@eliasmarine.com
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                                  Facsimile:         881 3052
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                                                     Tema
                                 E-mail:             tci-tema@tci-africa.com
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                                                     S. Sakyl                    (24) 31 50823 (Mobile)
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                                 Facsimile:          206 540
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                                 E-mail:             wiltex@idngh.com
                                 Website:            www.wiltexghana.com
                                 Contact:            Mr T. Appiah                          (20) 811 5703

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                                                     Apartado 1203
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                                 E-mail:             bldtf@teleline.es
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                                                                                (34-669) 898481 (Mobile)

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                                 Contact:            Mr C. Kakamoukas                      307 417
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                                                     Toamasina 501
                                  E-mail:            tcimada_tve@yahoo.com
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                                                                                   320 44 4205 (Mobile)
                                                                                   331 14 2761 (Mobile)
                                                                                   cpt.dali@netclub.mg
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                                                     Chiyoda-Ku
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     TOLEDO Ohio, U.S.A.                                                                See Cleveland

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     Tagliavia & Co. Srl.

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                                   E-mail:           pandi@samer.com
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                                                     Capt. Nereo Castelli         281 047
                                                                                  355 7536937 (Mobile)
                                                     Ms D. Gozzi                  335 243341




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                                  Facsimile:         334 1589/444 2261 (Tel/Fax)
                                  Address:           207 Amehamed
                                                     El Margrif Street
                                                     Second Floor
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                                                                              (91) 212 22 84 (Mobile)
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      TRONDHEIM Norway                                                                    See Bergen

      TUAPSE Russia                                                                       See Novorossiysk
      CIS Pandi Services

      TUMACO Colombia
      A&A Multiprime              		                                                      See Bogota

      A1 Aquamar Pandi Services   		                                                      See Cartagena
      Ltda.

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      T.I.P.I.C.                  Area code:         (216-71)
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                                                     950 589/950 599
                                  Facsimile:         950 650
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                                                     Rue 8300 Montplaisir
                                                     P.O. Box 5
                                                     1002 Tunis
                                  E-mail:            dg.tipic@planet.tn
                                                     exploitation.pi@planet.tn
                                  Website:           www.tipic.com.tn
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                                                     Mr R. Kochbati            098 34 67 42 (Mobile)
                                                     Mr K. Chalghaf            726 020
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     TUNIS Tunisia continued
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                                  Address:           106 bis Rue de Palestine
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                                                     Capt. S. Miladi          98 302557 (Mobile)

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     A1 Aquamar Pandi Services    		                                                    See Cartagena
     Ltda.

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     Charles Taylor Consulting
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                                  Address:           P.O. Box 692, Avalon, Sydney, NSW 2107
                                  Contact:           S. Robertson               420 982411 (Mobile)
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                                  (In case of communication difficulty, please contact Alex Evered, Tel: +61(0) 3 9699 3332,
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                                  Facsimile:         240 3963/243 3755
                                  Address:           Port Administration Office
                                                     Umm Qasr New Port
                                  E-mail:            inchcape.iraq@iss-shipping.com
                                  Contact:           Mr M. Wallbanks            984 3940 (Mobile)
                                                                                mike.wallbanks@iss-shipping.com
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                                                   Mr J. D. Buhagiar           2157 6774
                                                                               9944 2703 (Mobile)
                                                   Mr J. Bugeja                2144 3020
                                                                               7904 7880 (Mobile)
                                                   Ms N. Dunford               2148 7967
                                                                               9920 1919 (Mobile)

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                                                   11th Floor Office, 111 Valparaiso,
                                                   Casilla 1455, Chile
                                 E-mail:           claims@cave.cl
                                 Website:          www.cave.cl
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                                 (24 Hours Emergency telephone no. 225 8564)




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                                 Address:           44 Georgia Wynd
                                                    Delta, B.C.
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                                                    Mr W. G. Wharton          921 6978
                                                                              970 5369 (Mobile)
                                                    Mr T. S. Hawkins          984 0417
                                                                              889 5732 (Mobile)
                                                    Mr H. P. Swanson          921 7974
                                                                              649 5874 (Mobile)
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                                 Contact:           Mr B. Georgiev              88 8925825 (Mobile)
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                                  Contact:     Capt. R. Conz              615 820
                                               Mr A. Conz                 530 1354
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      & Associati                 Address:     S. Marco 5355,
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      VERACRUZ Mexico                                                    See Mexico City
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      Mexico S.A. de C.V.

      VIANA DO CASTELO Portugal                                          See Leixoes

      VIBO MARINA Italy                                                  See Messina




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                                                     Ed. Centro Empresarial Enseada
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                                                                                   9989 3834 (Mobile)
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                                  (In case of difficulties contact the CIS coordinating office in Cyprus on 00 3572 5763 340)

     VLISSINGEN Netherlands                                                                See Rotterdam

     VOSTOCHNYJ Russia                                                                     See Vladivostok
     CIS Pandi Services

     VYBORG Russia                                                                         See St. Petersburg




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      WALVIS BAY Namibia                                                    See Cape Town or Durban
      P & I Associates (Pty) Ltd.

      WARRI Nigeria                                                         See Port Harcourt
      Africa Marine Services
      (Nigeria)

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                                    Facsimile:   473 5745
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      WILHELMSHAVEN Germany                                                 See Emden

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      Inc                           Facsimile:   968 1978
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                                                 Mr O. Hutchings             (917) 412 1773 (Mobile)
                                                 Mr R. Puttick               (646) 321 1494 (Mobile)

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                                                                            753 1675 (Mobile)
                                                 Mr F. P. DeGiulio          (610) 891 9322
                                                                            (215) 808 2028 (Mobile)

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     WILMINGTON N.C., U.S.A. continued
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     Bryan L.L.P.                Telephone:           762 8743
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                                 E-mail:              cneclaw@netscape.net
                                 Contact:             Mr J. R. Newton             791 2642
                                                                                  520 2223 (Mobile)
                                                      Mr D. T. Evans Jr.          452 4260
                                                                                  262 3762 (Mobile)

     WISMAR Germany                                                               See Rostock

     XIAMEN China
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     Consultant Service Ltd.     Telephone:           2681 203/230/231
                                 Facsimile:           268 1235
                                 Address:             P.O. Box 1703
                                                      Room 1707-1708
                                                      PICC Building
                                                      68 Hubin Bei Road
                                                      Xiamen, 361012
                                 E-mail:              pni.xm@huatai-serv.com
                                 Website:             www.huatai-serv.com
                                 Contact:             Mr D. ZY Liu                138 060 86967 (Mobile)
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      YANTAI China
      Huatai Ins. Agency and    Area code:         (86-535)
      Consultant Service Ltd.   Telephone:         625 4509
                                Facsimile:         625 4538
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                                                   Yantai 264000
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                                                   pni.dl@huatai-serv.com
                                Contact:           Capt. Lu Tongzhe (Dalian) 13909 851192 (Mobile)
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      YOKOHAMA Japan                                                                   See Tokyo

      YUZHNYY Ukraine                                                                  See Odessa

      ZEEBRUGGE Belgium                                                                See Ghent

      ZHANJIANG China                                                                  See Beijing

      ZURICH Switzerland
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                                                                                       44 79 200 4743 (Mobile)




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